Case 01-01139-AMC   Doc 22766-8   Filed 08/13/09   Page 1 of 71




             EXHIBIT 6
          Case 01-01139-AMC   Doc 22766-8   Filed 08/13/09   Page 2 of 71


                                                                            Page 1
 1                IN THE UNITED STATES BANKRUPTCY COURT

 2                     FOR THE DISTRICT OF DELAWARE

 3

 4
     In Re:                       )
 5                                ) Chapter 11
     W.R. GRACE & CO., et al,     )
 6                                ) Case No. 01-1139 (JKF)
                Debtors.          )
 7   _____________________________) Volume I

 8

 9

10
              VIDEOTAPED DEPOSITION OF ALAN C. WHITEHOUSE, M.D.
11
                  Taken at the instance of the Debtors
12

13

14

15
                                               March 19, 2009
16
                                               8:30 a.m.
17
                                               818 W. Riverside Avenue
18
                                               Spokane, Washington
19

20

21

22
                   BRIDGES REPORTING & LEGAL VIDEO
23                  Certified Shorthand Reporters
                       1312 N. Monroe Street
24                   Spokane, Washington 99201
                  (509) 456-0586 - (800) 358-2345
25
                            Case 01-01139-AMC                 Doc 22766-8         Filed 08/13/09                 Page 3 of 71

                                                                  Page 2                                                                          Page 4
 1             BE IT REMEMBERED that the videotaped                        1               APPEARANCES (Cont'd):
                                                                           2
 2    deposition of ALAN C. WHITEHOUSE, M.D., was taken in
                                                                           3    For Asbestos Claimants BARNARD S. BAILOR, ESQ.
 3    behalf of the Debtors pursuant to the Federal Rules of                    Committee:             Caplin & Drysdale
 4    Civil Procedure before William J. Bridges, Certified                 4                      Attorneys at Law
 5    Shorthand Reporter for Washington, Idaho and Oregon, on                   (via telephone)       One Thomas Circle N.W.
 6    Thursday, the 19th day of March, 2009, at the law offices            5                       Suite 1100
                                                                                                  Washington, D.C. 20005
 7    of Evans, Craven & Lackie, 818 W. Riverside Avenue, Suite            6                      (202) 862-5049
 8    250, Spokane, Washington, commencing at the hour of 8:30                                    bsb@capdale.com
 9    a.m.                                                                 7
10                                                                         8
                                                                                For Equity Committee:    DAVID E. BLABEY, JR., ESQ.
11            *              *              *                              9                     Kramer, Levin, Naftalis &
12                                                                              (via telephone)        Frankel
13                       APPEARANCES:                                      10                    Attorneys at Law
14                                                                                               1177 Avenue of the Americas
                                                                           11                    New York, New York 10036
15    For W.R. GRACE & CO.:                                                                      (212) 715-9248
16                                                                         12                    dblabey@kramerlevin.com
                            BRIAN THOMAS STANSBURY, ESQ.                   13
17                          Kirkland & Ellis                               14
                                                                                For Continental Casualty ELIZABETH M. DeCRISTOFARO
                            Attorneys at Law                               15   Company:               Ford, Marrin, Esposito,
18                          655 Fifteenth Street N.W.                                             Witmeyer & Gleser
                            Washington, D.C. 20005                         16   (via telephone)        Attorneys at Law
19                          (202) 879-5969                                                        88 Pine Street
                                                                           17                      23rd Floor
                            bstansbury@kirkland.com                                               New York, New York 10005-1809
20                                                                         18                     (212) 269-4900
21                                                                                                emdecristofaro@fmew.com
                            KAREN F. LEE, ESQ.                             19
                                                                           20
22                          Kirkland & Ellis                               21   For Property Damage      ALAN RICH, ESQ.
                            Attorneys at Law                                    Future Claimant       Law Offices of Alan Rich
23                          655 Fifteenth Street N.W.                      22   Representatives:      Attorney at Law
                            Washington, D.C. 20005                                               1401 Elm Street
                                                                           23   (via telephone)        Suite 4620
24                          (202) 879-5969
                                                                                                 Dallas, TX 752202
                            kflee@kirkland.com                             24                    (214) 744-5100
25                                                                         25



                                                                  Page 3                                                                          Page 5
1                 APPEARANCES (Cont'd):                                    1                  APPEARANCES (Cont'd)
2                                                                          2
3    For Libby claimants:    JON L. HEBERLING, ESQ.
                                                                           3    For the State of           DALE R. COCKRELL, ESQ.
                       McGarvey, Heberling, Sullivan &
4                        McGarvey                                               Montana:                  Christensen, Moore, Cockrell,
                       Attorneys at Law                                    4                           Cummings & Axelberg
5                      745 South Main                                                                 Attorneys at Law
                       Kalispell, MT 59901                                 5                          145 Commons Way
6                      (406) 752-5566                                                                 Kalispell, MT 59901
                       jheberling@mcgarveylaw.com
7
                                                                           6                          (406) 751-6003
8                                                                                                     dcockrell@cmccalaw.com
9    For Arrowwood:          TANCRED V. SCHIAVONI, ESQ.                    7
                       O'Melveny & Myers                                   8
10                     Attorneys at Law                                    9
                       Times Square Tower
                                                                                Also present:             GREG GLOVER, videographer
11                     7 Times Square
                       New York, New York 10036                            10                         Bridges Reporting & Legal Video
12                     (212) 326-2000                                                                 1312 North Monroe
                       tschiavoni@omm.com                                  11                         Spokane, WA 99201
13                                                                                                    (509) 456-0586
14                                                                         12
15   For Future Claimants     JONATHAN P. GUY, ESQ.
                                                                           13
     Representatives for     Orrick, Herrington & Sutcliffe
16   P.I. Claims:         Attorneys at Law                                 14
                       1152 15th Street N.W.                                                          TIM FITZSIMMONS
17   (via telephone)       Washington, D.C. 20005-1706                     15
                       (202) 339-8516                                      16
18                     jguy@orrick.com                                     17
19
20
                                                                                                      MORGAN ROHRHOFER
     For Maryland Casualty    LAURA G. STOVER, ESQ.                        18
21   Company and Zurich        Eckert, Seamans, Cherin &                   19
     American Insurance         Mellot                                     20
22   Company:              Attorneys at Law                                21
                      1747 Pennsylvania Avenue N.W.                        22
23   (via telephone)       Washington, D.C. 20006-4604
                      (202) 659-6629                                       23             *             *              *
24                    lstover@eckertseamans.com                            24
25                                                                         25


                                                                                                                                          2 (Pages 2 to 5)
                                     (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                           Case 01-01139-AMC                        Doc 22766-8         Filed 08/13/09                   Page 4 of 71

                                                                        Page 6                                                                                  Page 8
1                          I N D E X:                                            1    No:              Identification:              Page:
2                                                                                2
                                                                                 3    11 X-ray Report, 1/25/99, St. John's Lutheran                99
3    W.R. GRACE & CO., et al                                                             Hospital, Bates L550-464-R-MRC-00007
4                                                                                4
     Case No. 01-1139 (JKF)                                                      5    12 Imaging Report, 3/23/08, St. John's Lutheran              101
5                                                                                        Hospital, Bates 2009-L550-494_0009011
6    March 19, 2009                                                              6
                                                                                 7    13 X-ray Report, 1/25/99, Raymond Siefke, St.                101
7                                                                                        John's Lutheran Hospital
8                                                                                8
9                                                                                9    14 Exercise Stress Test, 11/16/94, Raymond Siefke 102
                      TESTIMONY                                                          St. John's Lutheran Hospital
10                                                                               10
                                                                                 11   15 Office Chart, 2/28/01, Raymond Siefke, by Dr.             103
11   ALAN C. WHITEHOUSE                                    PAGE NO:                      Whitehouse
12                                                                               12
            Examination by Mr. Stansbury                   12 - 271              13   16 Cardiac Clinic Note, 3/15/95, Raymond Siefke              118
13                                                                                       St. John's Lutheran Hospital
14                                                                               14
                                                                                 15   17 Office note, 3/13/02, Raymond Siefke, by Dr.              109
15                                                                                       Whitehouse
16                                                                               16
17                                                                               17   18 Certificate of Death, Raymond Siefke, State of ---
18                                                                                       Montana
                      PRODUCTION REQUESTS:                                       18
                                                                                 19   21 Article, "The Morbidity and Mortality of            125
19                                                                                       Vermiculite Miners and Millers Exposed to
20                                                                               20      Tremolite-Actinolite: Part I, Exposure
     X-rays or CT's for Raymond Siefke in Dr.         117                                Estimates," American Journal of Industrial
21   Whitehouse's possession or CARD Clinic's possession                         21      Medicine, 1987, Bates 2009_05546 - 59
22                                                                               22
                                                                                      25 Mortality in Libby, Montana, 1979-1998   135
23                                                                               23      Executive Summary, Bates ASD2000001 - 34
24                                                                               24
25                                                                               25


                                                                        Page 7                                                                                  Page 9
1                    E X H I B I T S:                                            1    No:            Identification:          Page:
2                                                                                2
3    No:              Identification:           Page:                            3    26 Review of Asbestos-Related Abnormalities Among 146
                                                                                         a Group of Patients from Libby, Montana, A
4
                                                                                 4       Pilot Study of Environmental Cases, Final
5    1     Notice of Deposition, Dr. Alan C. Whitehouse    16                            Report, August 2002, Bates 2009_01594 - 638
            March 19, 2009                                                       5
6                                                                                6    27 Letter, 3/21/01, Dr. Whitehouse to Jon         147
7    2     Libby Claimants' Preliminary Objections to     16                             Heberling, Bates 2009_00531
            First Amended Joint Chapter 11 Plan,                                 7
8           Bates 2009_08086 - 93                                                8    28 Deposition of Dannie C. Middleton, 8/12/02         149
9                                                                                        USA vs. W.R. Grace & Company, et al, Bates
     3     3-ring binder, Expert Report by Dr. Alan C    75                       9      2009_00806 - 90
                                                                                 10
10          Whitehouse, with CD's and 24 exhibits attached
                                                                                      30 Libby Claimants' Disclosure of Potential      155
11                                                                               11      Expert Witnesses, 8/21/06
     4     Imaging Report, 2/23/06, St. John's Lutheran    82                    12
12          Hospital, Bates 2009-L550-512_0008177                                     31 Letter, Bruce Case to Donna Rossie, ATSDR           156
13                                                                               13      with draft peer review document, Bates
     5     Imaging Report, 4/2/08, St. John's Lutheran     83                            2009_05838 - 49
14          Hospital, Bates 2009-L550-481_0008987                                14
15                                                                               15   34 Consensus Report, Asbestos, Asbestosis, and         163
                                                                                         Cancer; the Helsinki criteria for diagnosis
     6     Imaging Report, 7/7/08, St. John's Lutheran     85
                                                                                 16      and attribution, Bates 2009_04731 - 36
16          Hospital, Bates 2009-LP006_0009251                                   17
17                                                                                    35 Asbestos-Related Disease Associated with           168
     7     X-ray Report, 3/12/01, St. John's Lutheran     85                     18      Exposure to Asbestiform tremolite, American
18          Hospital, Bates L550-093-R-MRC-00005                                         Journal of Industrial Medicine, 1994, Bates
19                                                                               19      2009_08075 - 85
     8     Imaging Report, 8/11/08, St. John's Lutheran    86                    20
20          Hospital, Bates 2009-L550-015_0009095                                     36 The Diagnosis of Nonmalignant Diseases Related 173
                                                                                 21      to Asbestos, American Thoracic Society, Bates
21
                                                                                         2009_00053 - 58
     9     Imaging Report, 6/25/07, St. John's Lutheran    89                    22
22          Hospital, Bates 2009-L550-426_0009133                                23   37 Diagnosis and Initial Management of        175
23                                                                                       Nonmalignant Diseases Related to Asbestos,
     10 Imaging Report, 10/27/08, St. John's Lutheran          98                24      American Thoracic Society Documents, Bates
24      Hospital, Bates 2009-L550-219_0009172                                            2009_00661 - 85
25                                                                               25


                                                                                                                                                        3 (Pages 6 to 9)
                                   (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                          Case 01-01139-AMC                      Doc 22766-8           Filed 08/13/09       Page 5 of 71

                                                                        Page 10                                                          Page 12
1    No:            Identification:           Page:                                1               THE VIDEOGRAPHER: Good morning. Here
2
3    44 Asbestos-Related Pleural Disease Due to        192                         2   begins the deposition of Dr. Alan C. Whitehouse in
        Tremolite Associated With Progressive Loss                                 3   regarding W.R. Grace & Co. in the United States
4       of Lung Function: Serial Observations in 123
        Miners, Family Members, and Residents of                                   4   Bankruptcy Court for the District of Delaware. The case
5       Libby, Montana, American Journal of Industrial                             5   number is 01-1139 (JKF).
        Medicine, 2004, Bates 2009_01096 - 102
6                                                                                  6            Today's date is March 19, 2009. The time is
7    46 Libby Expert's Response to Dr. Weill report     195                        7   approximately 8:32. The deposition is being taken at
        by Dr. Whitehouse and Dr. Frank, 5/8/07,
8       Bates 2009-01103 - 30                                                      8   Evans, Craven & Lackie, 818 West Riverside, Suite 250,
9                                                                                  9   Spokane, Washington.
     56 Videotaped Deposition of Dr. Whitehouse          204
10      10/18/07, Bates 2009_00237 - 505                                          10            The videographer is Greg Glover, the court
11                                                                                11   reporter is William Bridges, both here on behalf of
     57 Letter, 12/14/95, Dr. Whitehouse, Bates         206
12      LP072-ME-MRC-00002 - 3
                                                                                  12   Bridges Reporting and Legal Video located at 1312 North
13                                                                                13   Monroe, Spokane, Washington, 99201.
     58 Letter, 12/14/95, Dr. Whitehouse to Jon    207
14      Heberling, Bates L550-493-ME-MRC-00014 - 15
                                                                                  14            Would counsel and all present please identify
15                                                                                15   yourselves and state whom you represent.
     59 Letter, 10/30/95, Jon Heberling to Dr.  208
16      Whitehouse, Bates L550-493-ME-MRC-00059
                                                                                  16               MR. STANSBURY: Brian Stansbury of
17                                                                                17   Kirkland & Ellis, and I represent W.R. Grace & Company.
     60 Handwritten note given to Dr. Whitehouse by       209
                                                                                  18               MR. HEBERLING: Jon Heberling of
18      Nurse Kimberly Rowse at the CARD Clinic
19                                                                                19   McGarvey, Heberling, Sullivan & McGarvey, representing
     61 Letter, 8/13/97, Dr. Whitehouse to blank, Bates 209                       20   the Libby claimants.
20      LP055-ME-MRC-00004, 2009_03262
21                                                                                21               MR. SCHIAVONI: Good morning, Doctor.
     62 Letter, 8/13/97, Dr. Whitehouse to blank, Bates 210                       22   Tancred Schiaoni from O'Melveny & Myers. I represent
22      LP055-ME-MRC-00004, 2009_03262
23                                                                                23   Arrow Wood.
     63 Letter, 9/25/96, Dr. Whitehouse to blank, Bates 213                       24               MS. LEE: Karen Lee, Kirkland & Ellis,
24      LP076-ME-MRC-00002, 2009_03403
25                                                                                25   representing W.R. Grace.

                                                                        Page 11                                                          Page 13
1    No:               Identification:                Page:                        1               MR. STANSBURY: People on the phone,
2                                                                                  2   could you introduce yourselves please, again, for the
3    64 Letter, 9/25/96, Dr. Whitehouse to Jon Heberling 213
        Bates L550-538-ME-MRC-00045, 2009_03465                                    3   benefit of the court reporter.
4                                                                                  4               MS. STOVER: Laura Stover, Eckert
5    65 Letter, 12/14/95, Dr. Whitehouse to Jon                 215                5   Seamans, Cherin & Mellot, representing Maryland Casualty
        Heberling, Bates 2009_04351 - 52
                                                                                   6   Company and Zurich American Insurance Company.
6
7    66 Chart note, 2/14/01, Dr. Whitehouse, Bates               249               7               MR. BAILOR: Bernard Bailor from Caplin &
        LP098-ME-MRC-00015                                                         8   Drysdale, Washington, D.C., representing the Asbestos
8                                                                                  9   Claimants Committee.
9    69 Chart notes, 4/18/89, 4/24/89, Dr. Whitehouse             254
        Bates LP029-ME-MRC-00002                                                  10               MR. GUY: Jonathan Guy, Orrick,
10                                                                                11   Herrington & Sutcliffe, representing the Future Claimants
11   70 Series "ATS/ERS Task Force: Standarisation               255              12   Representatives for P.I. claims.
        of Lung Function Testing," Interpretative
                                                                                  13               MR. BLABEY: David Blabey, Kramer, Levin,
12      strategies for lung function tests, European
        Respiratory Journal, Bates 2009_08391 - 411                               14   Naftalis & Frankel, representing the Equity Committee.
13                                                                                15               MS. DeCRISTOFARO: Elizabeth
14                                                                                16   DeCristofaro, Ford, Marrin, Esposito, Witmeyer & Gleser,
15
16                                                                                17   for Continental Casualty Company.
              *             *             *                                       18               THE VIDEOGRAPHER: Would the court
17                                                                                19   reporter please swear in the witness.
18
                                                                                  20
19
20                                                                                21           (ALAN C. WHITEHOUSE, called as a witness by
21                                                                                22   the Debtors, being first duly sworn to tell the truth,
22                                                                                23   the whole truth and nothing but the truth, was examined
23
24
                                                                                  24   and testified as follows:)
25                                                                                25

                                                                                                                              4 (Pages 10 to 13)
                                      (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8         Filed 08/13/09       Page 6 of 71

                                                      Page 14                                                          Page 16
 1                   EXAMINATION                             1            A.    Yes.
 2                                                           2            Q.    Okay. Now, I'm going to hand you what's been
 3   BY MR. STANSBURY:                                       3       marked as Exhibit 2. And this document is entitled Libby
 4       Q.    Good morning, sir.                            4       Claimants' Preliminary Objections to First Amended Joint
 5       A.    Good morning.                                 5       Chapter 11 Plan.
 6       Q.    Could you please state your name for the      6                 Have you ever seen this document before?
 7   record?                                                 7                               (Pause in the proceedings).
 8       A.    Alan Whitehouse.                              8            A.    I have not seen this specific document. I am
 9       Q.    And you are a medical doctor, right?          9       familiar with what's in it, though.
10       A.    I am.                                        10            Q.    All right.
11       Q.    Dr. Whitehouse, my name is Brian Stansbury.  11            A.    But I am reading it right now.
12   I represent W.R. Grace.                                12            Q.    All right. The reason I present this to you
13            Before we get started, I wanted to go over a  13       is it is my understanding that the Libby claimants are
14   few background issues just to make sure we were on the 14       objecting to the proponents' plan.
15   same page. I know this isn't your first time at the    15                 And on page 2 there's a list of criticisms.
16   rodeo. But I wanted to ask you a few questions.        16       And I think you may have opinions with respect to some of
17            First of all, I'm going to assume you         17       them. And I wanted to ensure that you do or do not.
18   understand my question, unless you say otherwise.      18                 The first, and I'll read, and tell me if I am
19            Is that fair?                                 19       reading this correctly, "The TDP excludes legitimate
20       A.    That's fair. I have some hearing problems,   20       Libby claims by requiring the blunting of the
21   though.                                                21       costophrenic angle as a criterion for disease level."
22       Q.    Okay. Please let me know if at any time I'm  22                 Do you see that?
23   talking too fast or you do not understand my question. 23            A.    Yes.
24   Okay?                                                  24            Q.    Did I read that correctly?
25       A.    Okay.                                        25            A.    Yes.


                                                      Page 15                                                          Page 17
 1       Q.     Additionally, I will ask that when I am          1       Q.    Do you agree with that statement?
 2   asking a question, that you will allow me to finish the     2       A.    I do.
 3   question before answering, and I will strive to do the      3       Q.    Okay. Next statement. "The TDP excludes
 4   same when you are answering the questions. That way the     4   legitimate Libby claims by requiring a minimum three
 5   court reporter keeps the record clear.                      5   millimeter pleural thickening as a criterion for disease
 6             Does that sound good?                             6   level."
 7       A.     Okay.                                            7            Do you see that statement?
 8       Q.     Additionally, when answering questions, I        8       A.    Yes.
 9   will ask that you answer with an audible yes or no, as      9       Q.    Do you agree with that?
10   opposed to a nod, just, again, so the record is clear.     10       A.    Yes.
11             Is that fair?                                    11       Q.    Okay. Next, "The TDP excludes legitimate
12       A.     Yes.                                            12   Libby claims by requiring pleural thickening coverage of
13       Q.     Are you under any medication today that would   13   over 25 percent as a criterion for disease level."
14   affect your ability to answer questions?                   14            Did I read that correctly?
15       A.     I don't think so.                               15       A.    Yes.
16       Q.     Okay. All right. Dr. Whitehouse, I'm            16       Q.    Do you agree with that statement?
17   handing you what's been marked as Exhibit 1. And this is   17       A.    I do.
18   a deposition notice for today.                             18       Q.    Next, "The TDP excludes legitimate Libby
19             And you are Dr. Alan C. Whitehouse, correct?     19   claims by not permitting the use of DLCO to establish
20       A.     That's correct.                                 20   severity and impairment of asbestos-related disease."
21       Q.     Okay. And you intend to offer expert            21            Did I read that correctly?
22   testimony in the matter of In re: W.R. Grace & Company,    22       A.    Yes.
23   correct?                                                   23       Q.    Do you agree with that statement?
24       A.     I do.                                           24       A.    I do.
25       Q.     Okay. And it is March 19th, 2009, correct?      25       Q.    Next, "The TDP excludes legitimate Libby

                                                                                                            5 (Pages 14 to 17)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09       Page 7 of 71

                                                       Page 18                                                          Page 20
 1   claims by requiring an FEV1/FVC ratio over 65 percent as     1   pleural disease that is distinct from individuals who
 2   a criterion for disease level."                              2   have been exposed to other forms of asbestos?
 3             Did I read that correctly?                         3       A.    "Distinct" is a difficult word to use in that
 4       A.     Yes.                                              4   situation.
 5       Q.     And do you agree with that statement?             5             There are manifestations of it that are
 6       A.     I do.                                             6   frequently different. They are much more severe in
 7       Q.     Now, you intend to offer opinions at a            7   general. Any of these findings may be seen in other
 8   hearing related to the disease that various Libby            8   types of asbestos. It is just the degree. We have to
 9   claimants have, is that correct?                             9   clarify what we are talking about.
10       A.     That's correct.                                  10       Q.     All right. Well, let's clarify what we are
11       Q.     And based on these statements, it is your        11   talking about, just so we are clear. Do you believe
12   belief that the current mechanism for assessing claims      12   that people who have been exposed to winchite,
13   does not properly characterize Libby disease?               13   richterite, tremolite from Libby have a more severe form
14             Is that true?                                     14   of pleural disease than people exposed to, let's say,
15                 MR. HEBERLING: Objection. Calls for a         15   chrysotile?
16   legal conclusion.                                           16       A.    Yes. Clearly.
17                 THE WITNESS: Basically -- Repeat the          17       Q.     Okay. Do you believe that people exposed to
18   question again.                                             18   winchite, richterite, tremolite from Libby have a more
19                 MR. STANSBURY: Would you read back the        19   severe pleural disease than people exposed to amosite?
20   last question, please sir.                                  20       A.    That's not been totally established,
21                                   (Record read).              21   because there's -- You might want to use the term
22                 THE WITNESS: I agree.                         22   amphiboles. Okay?
23       Q.     (BY MR. STANSBURY:) And just so I am clear,      23       Q.     Okay. Let me back up, just so that I am
24   when we are talking about disease and Libby, are we         24   clear.
25   talking primarily about the interstitial disease in Libby   25       A.    Why don't you back it up, put it into a

                                                       Page 19                                                          Page 21
 1   or the pleural disease in Libby?                             1   category that works.
 2       A.    We are talking about everything, but               2        Q.    Sure. Sure. So, on the -- and maybe this is
 3   predominantly the pleural disease.                           3   important, then. So, perhaps it's not winchite,
 4       Q.    So, your objection is really to the way we         4   richterite, tremolite that it creating the more severe
 5   are dealing with pleural disease, is that correct?           5   pleural disease, it is all amphiboles in general, is that
 6       A.    Not entirely.                                      6   correct?
 7       Q.    Primarily?                                         7        A.   There's two parts -- There's more than one
 8       A.    Primarily.                                         8   part of the answer to that.
 9       Q.    And do you believe that the pleural disease        9             One is that all amphiboles seem to have more
10   suffered by people in Libby exposed to tremolite from       10   pleural disease, and that's true from the Australian
11   Libby is distinct from pleural disease other people         11   studies and other studies.
12   exposed to other asbestos may have?                         12             But in addition, it would appear as if Libby
13       A.    Well, to begin with, your statement is            13   asbestos, and this is somewhat preliminary, is worse than
14   incorrect, because it's not tremolite that we are talking   14   amosite, not yet established whether it's worse than
15   about. We are talking about winchite, richterite and        15   Australian crocidolite. It may very well be.
16   tiny amounts of tremolite.                                  16        Q.    All right. So, you've said a lot there, and
17            So, we're talking about a different category       17   let's unpack that.
18   of asbestos, in part.                                       18             Chrysotile you firmly believe does not cause
19       Q.    And so I am clear, that that mixture of           19   the same severe pleural disease that winchite,
20   minerals has been referred to in the past as the Libby      20   richterite, tremolite does, correct?
21   amphibole, is that correct?                                 21        A.   Yes.
22       A.    That's correct.                                   22        Q.    Okay. And as you just said, amosite likely
23       Q.    Okay. So, with that caveat, is it your            23   does not cause as severe pleural disease as winchite,
24   belief that people who have been exposed to this            24   richterite, tremolite do, is that correct?
25   winchite, richterite, tremolite hybrid are -- have a        25        A.   When you look at the studies of, like,

                                                                                                             6 (Pages 18 to 21)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09       Page 8 of 71

                                                      Page 22                                                           Page 24
 1   insulators, they were exposed to both chrysotile and         1   disease that is as severe as the pleural disease caused
 2   amosite, because that was the mixture that was in most of    2   by exposure to winchite, richterite and tremolite, is
 3   the asbestos on the East Coast.                              3   that right?
 4             So, how you distinguish those two clearly,         4        A.   I suspect it is.
 5   one from the other, is difficult to do, because you can't    5        Q.    Okay. Now, let's talk about your basis for
 6   do both exposures at the same time.                          6   that.
 7             To my knowledge, there are a few studies           7             May I ask you what you have in front of you,
 8   relative to amosite alone. I'm not really very familiar      8   sir?
 9   with those.                                                  9        A.   My exert report.
10       Q.     Okay. So, you're more familiar, then, with       10        Q.    Okay. Could I see a copy of that, please?
11   studies involving chrysotile, crocidolite, and I believe    11        A.   And Arthur Frank's is in there, too.
12   you mentioned --                                            12        Q.    Okay. I'm going to mark this as an exhibit.
13       A.    Uh-huh.                                           13   And this is the expert report of Dr. --
14       Q.     -- the experience with it when you were in       14        A.   Are you planning to take that with you?
15   Australia?                                                  15        Q.    Well, we will copy it and you can keep the
16       A.    Yes.                                              16   original.
17       Q.     And those are studies authored be Cookson, is    17        A.   You've already got a copy.
18   that correct?                                               18        Q.    No. I understand. But we are going to have
19       A.    And others.                                       19   a file copy for the court reporter.
20       Q.     And others. But Cookson has written studies      20             So, this is a binder that contains CD's, and
21   about -- -                                                  21   the CD's listed are 123 patients for Whitehouse 2004;
22       A.    Cookson, and other people.                        22   Libby studies as of 12/08; Whitehouse References, 12/08;
23       Q.     So, you don't necessarily have an opinion at     23   Whitehouse Progression Films, Exhibit 6; Mortality Study,
24   this time as to how pleural disease from exposure to        24   Medical Records, 116, Exhibit 7; Mortality Study, Death
25   winchite, richterite, tremolite, compares to amosite,       25   Certificates, 85, Exhibit 7; Mortality Study,

                                                      Page 23                                                           Page 25
 1   correct?                                                     1   Spreadsheets, Exhibit 7; Libby Mesos, Exhibit 9; Weill
 2        A.    Pure amosite?                                     2   Comparison, Exhibit 19; CARD PFT Comparison, Exhibit 23.
 3        Q.    Pure amosite. Correct.                            3            Are there any other CD's in this binder other
 4        A.    The amosite that's related to chrysotile, I       4   than those that I have just listed?
 5   had a fair amount of experience. But there is amosite in     5       A.    No, not that I know of.
 6   the chrysotile that most of the insulators were exposed      6       Q.    And is this your complete expert report?
 7   to.                                                          7       A.    Yeah.
 8        Q.    And, so, those people who were exposed to         8       Q.    Okay. Do you intend to offer any opinions at
 9   this mixture of chrysotile and amosite, they do not have     9   this hearing that are not contained in this report?
10   the same severe pleural disease that people who were        10                MR. HEBERLING: Brian, we have issued a
11   exposed to winchite, richterite and tremolite?              11   supplemental expert report at this point.
12        A.    No. They have very different                     12                MR. STANSBURY: The one that was
13   characteristics of their disease and death rates and        13   served --
14   things like that.                                           14                MR. HEBERLING: Rebuttal opinions and so
15        Q.    All right. So, the chrysotile, amosite           15   forth.
16   exposures are different from the winchite, richterite       16                MR. STANSBURY: Okay.
17   tremolite exposures, correct?                               17       Q.    So, other than rebuttal opinions, do you
18        A.    I believe it is.                                 18   intend to offer any other opinions?
19        Q.    With respect to pleural disease, correct?        19       A.    It depends on what you ask me.
20        A.    With respect to the extent of pleural disease    20       Q.    Okay.
21   and probably the potency. But some of that, I think         21       A.    If you ask me things that are out of that
22   based upon known exposure levels of the insulators, yes,    22   scope, and I could answer them, then I will.
23   it is very different.                                       23       Q.    Okay. Now, let me ask you this, then: With
24        Q.    Okay. I understand. But with respect to          24   respect to your opinions regarding Libby pleural
25   crocidolite, crocidolite exposures may cause pleural        25   disease --

                                                                                                             7 (Pages 22 to 25)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                    Case 01-01139-AMC            Doc 22766-8          Filed 08/13/09       Page 9 of 71

                                                       Page 26                                                          Page 28
 1             First of all, other than the characterization      1       A.    So, the FEV1/FVC ratio and the DLCO, those to
 2   of Libby pleural disease, is there any other aspect of       2   begin with are the more obvious. There are a whole bunch
 3   the Grace medical criteria that you have examined that       3   of other ones.
 4   you find objectionable?                                      4       Q.    All right. So let's list those. With
 5       A.     Yes.                                              5   respect to the definition of diffuse pleural thickening,
 6       Q.     What is that?                                     6   or DPT, is it often called that?
 7       A.     Oh, some of the references -- I don't know if     7       A.    Yes.
 8   these are actually written in the entire scope of it, but    8       Q.    Okay. You object to requiring blunting of
 9   objections to obstructive disease as relates to              9   the costophrenic angle, correct?
10   asbestosis.                                                 10       A.    Yes.
11       Q.     Okay.                                            11       Q.    And what is the costophrenic angle?
12       A.     Objections relative to smoking. Other            12       A.    That's the angle of the lowest part of the
13   diseases. There's a whole host of things --                 13   lung laterally, inferiorly, where the diaphragm meets the
14       Q.     Let's --                                         14   chest wall.
15       A.     -- that don't make sense medically.              15       Q.    Okay. You also object to the requirement
16       Q.     Let's flush this out, just so we are clear.      16   that the pleural fibrosis cover 25 percent of the pleura,
17   First, as we were discussing, pleural disease.              17   is that correct?
18       A.     Right.                                           18       A.    Yes.
19       Q.     And you believe that the plan as proposed        19       Q.    You also object to the requirement of a three
20   does not properly compensate people who have been exposed   20   millimeter thickness, is that correct?
21   to winchite, richterite and tremolite, correct?             21       A.    Yes.
22                 MR. HEBERLING: Objection. Calls for a         22       Q.    What else do you object to with respect to
23   legal conclusion. Ask him about the medical criteria.       23   the definition of diffuse pleural thickening?
24       Q.     (BY MR. STANSBURY:) Dr. Whitehouse, you can      24                MR. HEBERLING: Objection, unfair
25   answer the question.                                        25   question. He does not have the definition in front of


                                                       Page 27                                                          Page 29
 1        A.    Repeat the question.                              1   him.
 2        Q.    You believe that the Grace plan adequately        2                THE WITNESS: Actually, I think it would
 3   compensates people for pleural disease who were exposed      3   be a good idea if you would give me the definitions, the
 4   to winchite, richterite and tremolite?                       4   whole plan, so I don't have -- I have most of them in my
 5        A.    No, clearly --                                    5   head, but I want to make sure I don't miss something.
 6                MR. STANSBURY: Objection. It calls for          6       Q.    (BY MR. STANSBURY:) I don't believe I have
 7   legal conclusion.                                            7   the entire list with me right now.
 8                THE WITNESS: From my standpoint, it             8            If we could just kind of go through the
 9   clearly does not adequately compensate them.                 9   medical side, in terms of what medical criteria you think
10        Q.    (BY MR. STANSBURY:) Because of the medical       10   are flawed, and to the extent that we locate the list, we
11   criteria?                                                   11   can circle back, if necessary. So far we have listed
12        A.    Because the medical criteria are very flawed.    12   blunting of the costophrenic angle, the requirement that
13        Q.    Let's make a list of those medical criteria      13   it cover 25 percent of the pleura, the three millimeter
14   right now. What are the criteria that you find              14   thickness requirement.
15   problematic with respect with pleural disease?              15       A.    Uh-huh.
16                MR. HEBERLING: Objection, overbroad. He        16       Q.    What else do you find objectionable with
17   doesn't have the criteria in front of him.                  17   respect to the definition of diffuse pleural thickening?
18                THE WITNESS: That is true. And I might         18       A.    The FEV1 --
19   forget one. But I will --                                   19                MR. HEBERLING: Objection, overbroad,
20             First off, the ones that are listed here.         20   unfair question. He doesn't have the criteria in front
21        Q.    (BY MR. STANSBURY:) Okay. The ones we just       21   of him.
22   listed?                                                     22       Q.    (BY MR. STANSBURY:) You said --
23        A.    Yeah. Related to thickness of blunted            23       A.    FEV1/FVC ratios.
24   angles, extent --                                           24       Q.    Now, is that with respect to the definition
25        Q.    So, let me see.                                  25   of diffuse pleural thickening, or is that more of an

                                                                                                             8 (Pages 26 to 29)
                                      DR. ALAN WHITEHOUSE - by Mr. Stansbury
                          (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC            Doc 22766-8           Filed 08/13/09       Page 10 of 71

                                                       Page 30                                                          Page 32
 1   impairment issue?                                            1       Q.    Okay. And so, somebody who has a lower
 2       A.     Well, it's an impairment issue, but it is all     2   FEV1/FVC ratio is not exhaling as much in the first
 3   part of the same package.                                    3   second as he or she is throughout the total test,
 4       Q.     Okay. So, to the extent that they require         4   correct?
 5   showing a restricted defect to recover for diffuse           5       A.    No. But don't try to equate that
 6   pleural thickening --                                        6   necessarily to obstructive disease by itself.
 7       A.     Yeah. They require showing a restrictive          7       Q.    But is that true, though?
 8   defect, where it's been shown that the obstructive defect    8       A.    That's true.
 9   is more common.                                              9       Q.    Okay. And there are people in your
10       Q.     Okay.                                            10   profession who use that measurement to assess whether
11       A.     And they just leave that out. They just          11   there is an obstructive component to observed impairment,
12   choose to ignore that.                                      12   correct?
13       Q.     And the FEV1/FVC ratio is a method of            13       A.    That's correct.
14   determining whether a defect is restrictive or              14       Q.    Okay. So, it is not -- the FEV1/FVC ratio is
15   obstructive, correct?                                       15   not some far-out concept that you've never used, correct?
16       A.     Well, it is and it isn't. The problem is,        16       A.    No.
17   that this is not that simple. And you can put something     17       Q.    Okay.
18   like that in legal terms and write all of these numbers     18       A.    Use it all the time.
19   down and everything else, and you will find out that half   19       Q.    Right. And in your practice, if you see
20   the patients already fall out of it, because it's a thing   20   somebody who has an FEV1/FVC ratio of 35, let's say,
21   that's very much judgment issues, it's based on all kinds   21   would that suggest that they may have an obstructive
22   of criteria, rather than just a single set of written       22   defect?
23   down --                                                     23       A.    Now, you are talking about the extreme levels
24       Q.     Well, let's unpack the FEV1/FVC ratio. The       24   of that. When you are talking about 65 percent, people
25   FEV1 measures the amount of air exhaled in the first        25   over the age of 70, their normal predicted FEV1/FVC ratio


                                                       Page 31                                                          Page 33
 1   second of a spirometry test, correct?                        1   is very close to that.
 2       A.     Correct.                                          2       Q.     Okay.
 3       Q.     And the FVC is the force vital capacity,          3       A.     And, so, you've allowed virtually zero margin
 4   correct?                                                     4   beyond that point.
 5       A.     That's correct.                                   5       Q.     Now, this objection with respect to the
 6       Q.     That is the entire level of air that's            6   application of the FEV1/FVC ratio, is that something that
 7   exhaled, is that correct?                                    7   you think is specific to people who have been exposed to
 8       A.     That's the volume that's exhaled, yes.            8   winchite, richterite, and tremolite, or would you say
 9   That's the volume from maximal inspiration to maximal        9   this is a criticism you have with respect to the
10   expiration.                                                 10   application of this ratio generally across all claimants?
11       Q.     And so, this ratio compares the amount of air    11       A.     Basically, I consider it generally across all
12   exhaled in the first second with the total volume of the    12   the asbestos. It is possible in any patient with
13   air that is exhaled, correct?                               13   asbestos disease.
14       A.     That's correct.                                  14       Q.     All right. So, you do not think that
15       Q.     And just so I'm clear, the notion of the         15   somebody who is exposed to chrysotile should be treated
16   FEV1/FVC ratio, the reason it's instructive to a            16   differently from somebody who has been exposed to
17   pulmonologist is that it determines what level of air is    17   winchite, richterite or tremolite with respect to the
18   getting out in the first second compared to the amount of   18   FEV1/FVC ratio, correct?
19   air exhaled total, correct?                                 19       A.     That's not able to be answered as a yes or
20       A.     That's correct.                                  20   no.
21       Q.     And if there's an obstructive defect, it         21       Q.     Well, why not?
22   might take a person a little while to exhale, as opposed    22       A.     Why not? Because of the fact that you've got
23   to somebody who does not have an obstructive defect, is     23   so many other factors that go into this. You haven't
24   that correct?                                               24   mentioned the things that are really important, is, is
25       A.     That's true.                                     25   there a combined restrictive defect, is there an elevated

                                                                                                             9 (Pages 30 to 33)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09      Page 11 of 71

                                                       Page 34                                                          Page 36
 1   residual volume, what's the total lung capacity. These       1   make that objection.
 2   things don't occur in absentia.                              2       Q.      So is not Libby specific. Let's talk about
 3       Q.    Okay.                                              3   DLCO. What is DLCO?
 4       A.    When you do pulmonary function studies, you        4       A.     Diffusion capacity for carbon monoxide in
 5   don't look at one single number. You look at the whole       5   milliliters per minute, per millimeter mercury barometric
 6   study as it relates to age. And then in addition to          6   pressure.
 7   this, you've got a whole bunch of different authors for      7       Q.      And earlier that was among -- I think that
 8   normal predicted numbers.                                    8   was the fourth list on Exhibit -- fourth item on the list
 9       Q.    All right.                                         9   in Exhibit 2, was the "TDP excludes legitimate Libby
10       A.    So, you have to define who you are going to       10   claims by not permitting the use of DLCO to establish
11   use. I think there's at least 11, to my latest              11   severity impairment of asbestos-related disease."
12   knowledge, and it keeps changing. So, how are you going     12              Correct?
13   to define whose you are going to use?                       13       A.     That's correct.
14       Q.    Okay. I understand that. But just so I am         14       Q.      And you feel very strongly about this,
15   clear, everything you've said just now, you would make      15   correct?
16   that same argument if you were talking about somebody who   16       A.     Oh, yeah. Very strong about it.
17   had been exposed to chrysotile as you would somebody who    17       Q.      You think that if somebody has a decrement in
18   had been exposed to winchite, richterite, tremolite,        18   DLCO, that that could be attributed to their asbestos
19   correct?                                                    19   disease, correct?
20       A.    I might, that particular argument, yes.           20       A.     Yes.
21       Q.    All right. With respect to the diffuse            21       Q.      Now, so, you would suggest using DLCO as one
22   pleural thickening we were speaking of earlier, that's an   22   measurement to determine whether somebody has an
23   issue that is more specific to the people that have been    23   asbestos-related disease, and more specifically,
24   exposed to the winchite, richterite, tremolite amphibole,   24   impairment associated with that disease, correct?
25   correct?                                                    25       A.     Yes.

                                                       Page 35                                                          Page 37
 1       A.    Clearly more, because of the extent of the         1       Q.     Do you believe that DLCO is a more
 2   pleural disease --                                           2   specific -- Strike that.
 3       Q.    All right.                                         3             Do you believe that DLCO is a more effective
 4       A.    -- in that group.                                  4   lung function measurement for assessing lung disease in
 5       Q.    I just wanted to make sure we were clear on        5   Libby, amongst people exposed to winchite, richterite and
 6   that. So, the definition of the diffuse pleural              6   tremolite, as opposed to people exposed to chrysotile?
 7   thickening, that is something that is much more of a         7       A.    There is no one measurement. There are a
 8   Libby-specific issue, correct?                               8   number of problems associated with that.
 9       A.    I think generally related to the fact that we      9             We know the reason for why the DLCO's are
10   have so much pleural disease there, which is not seen       10   decreased. Okay? They are due to subpleural fibrosis
11   nearly to that extent with chrysotile.                      11   and they're frequently not present on the plain chest
12       Q.    Okay. FEV1/FVC issue. We have discussed           12   films.
13   this. Now, you disagree with the use of this metric, so     13             You can see lots of stuff in the literature
14   to speak. Is that the right way, metric?                    14   concerning DLCO decreases in pleural disease alone, and
15       A.    No.                                               15   some of those articles relate to chrysotile. There's not
16       Q.    You would disagree with the use of that lung      16   a huge number of articles on that. But DLCO has been
17   function measurement as the way --                          17   known to be reduced for years, and people for God knows
18       A.    No. We use that measurement. I disagree           18   what reason have chosen to ignore it.
19   with putting an absolute number on it in absentia of        19       Q.     Now, the fact that DLCO can be used to assess
20   other aspects of it.                                        20   impairment amongst people exposed to asbestos, you
21       Q.    Okay. And that objection you just made is         21   believe that people exposed to winchite, richterite and
22   universal across anybody exposed to asbestos?               22   tremolite are more likely to have a decrement in DLCO
23       A.    Yes.                                              23   than somebody who was exposed to chrysotile?
24       Q.    It is not Libby-specific?                         24       A.    Yeah. I think so.
25       A.    Any competent chest physician is going to         25       Q.     Okay. So, DLCO, the use of DLCO to determine

                                                                                                           10 (Pages 34 to 37)
                                      DR. ALAN WHITEHOUSE - by Mr. Stansbury
                          (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC            Doc 22766-8           Filed 08/13/09      Page 12 of 71

                                                       Page 38                                                         Page 40
 1   whether there is impairment, that is especially important    1   in the absence of interstitial disease cause a decrement
 2   when assessing somebody exposed to winchite, richterite      2   in DLCO?
 3   and tremolite, correct?                                      3       A.     That's a very interesting question, and one
 4       A.    Oh, I'm not saying it's especially important.      4   that I actually would really like to answer.
 5   All of these things are important, taken in their            5            My suspicions are, based upon looking at
 6   context.                                                     6   hundreds of CT-scans with diffuse pleural thickening, is
 7             You're trying to make one single thing more        7   that the DLCO decreases are usually associated with
 8   important, this more important, this more important.         8   subpleural interstitial disease right adjacent to the
 9   That's now how it's looked at.                               9   areas of fibrosis.
10       Q.     Well, let's look at it --                        10            You can't see it on the plane chest x-ray.
11       A.    That's not how it should be looked at.            11   It varies in degree. And even on CT it is not a perfect
12       Q.     All right.                                       12   test.
13       A.    Physicians don't look at it that way.             13            So, you see pleural thickening and a low
14   Remember, I'm a practicing physician. I am not an           14   DLCO. Interstitial disease is probably there, but you
15   academician up there making rules for the world. Okay?      15   may not see it. It depends on the technique. It depends
16       Q.     Understood.                                      16   on the quality of the equipment. There's a myriad of
17       A.    I'm looking at real people and their real         17   factors that go into it.
18   problems and their pulmonary function abnormalities.        18       Q.     So, we just might not be able to see it.
19       Q.     And one of the reasons we want to use DLCO in    19       A.     You may not be able to see it at that point.
20   your opinion is we do not want to overlook somebody who     20   Or you may see minimal degrees of it. And it may be a
21   has impairment, correct?                                    21   lot more than that.
22       A.    No. Absolutely. In fact, we have people           22            Most of the time we see it.
23   that are on continuous oxygen with low DLCO's in normal     23       Q.     Do you think you are more adept at
24   spirometry and normal lung volumes, and that's their only   24   recognizing this, as you call it, subpleural fibrosis,
25   isolated abnormality.                                       25   than a different physician would be?

                                                       Page 39                                                         Page 41
 1       Q.    Okay.                                              1       A.    No, not necessarily. I think the other two
 2       A.    And we have the radiographic evidence to back      2   physicians that work up in the CARD clinic, Dr. Black,
 3   it up --                                                     3   and Dr. Heppe, both recognize that just as well as I do.
 4       Q.    So, we have --                                     4            I would dare say, though, that there are a
 5       A.    -- on top of it.                                   5   limited number of people in this country that really
 6       Q.    So, we have people who have normal FVC and         6   understand the significance of that, and those are the
 7   normal TLC, but reduced DLCO, correct?                       7   people that work, and generally are pulmonologists who
 8       A.    Yes.                                               8   work all the time with people with asbestos disease.
 9       Q.    And people who, you say, have radiographic         9       Q.    What is Dr. Heppe's first name?
10   evidence of pleural disease, correct?                       10       A.    Mark.
11       A.    Yeah, on CT-scan generally.                       11       Q.    Mark. And what is his background?
12       Q.    On CT-scan. What about x-ray?                     12       A.    He's an internist.
13       A.    You don't see the interstitial stuff on the       13       Q.    What is an internist?
14   x-rays. You see, it is the interstitial stuff that gives    14       A.    That's a physician that practices general
15   you the low DLCO, not the pleural disease by itself.        15   internal medicine. He's done that for years. He's very
16       Q.    Okay. Well, let's back up a second. That's        16   experienced. And he's been at the clinic for a couple of
17   important.                                                  17   years. And he's also been seeing this stuff for years in
18            My understanding was we were talking about         18   the emergency room at the hospital.
19   diffuse pleural thickening earlier --                       19       Q.    Did he do a residency in pulmonology?
20       A.    Uh-huh.                                           20       A.    No.
21       Q.    -- and how to define it, correct?                 21       Q.    Did he do a residency in radiology?
22       A.    Uh-huh.                                           22       A.    No.
23       Q.    Could you answer yes or no, sir?                  23       Q.    Did he do a residency in occupational
24       A.    Yes.                                              24   medicine?
25       Q.    Okay. Now, does diffuse pleural thickening        25       A.    No.

                                                                                                           11 (Pages 38 to 41)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC             Doc 22766-8           Filed 08/13/09       Page 13 of 71

                                                       Page 42                                                          Page 44
 1        Q.    Did he do a fellowship in radiology?              1   exposure?
 2        A.   No. All of these questions are going to be         2      A.    I do in the past, but I don't know now.
 3   no, and you know it, even before you ask me.                 3      Q.    Do you know about the levels of past
 4        Q.    Well, I just want to make sure, just so he        4   community exposures?
 5   have this understanding.                                     5      A.    Yes, I do.
 6        A.   Well, you're making the assumption that            6      Q.    And what were the highest levels?
 7   because you had all of this particular training, that you    7      A.    Well, the levels at the hospital in downtown
 8   can't see things, you know.                                  8   and around the mill were about, as I recall the highest I
 9             Competent physicians with an open mind who         9   saw was a little bit over 1.5 fiber per cc.
10   are inquisitive see these things. And they understand.      10      Q.    Fiber per cubic centimeter, is that correct?
11   And it doesn't take them very long. They read the           11      A.    That's correct.
12   literature. And we have a wealth of literature up there     12      Q.    And when was that measurement taken?
13   available to us. And they get it.                           13      A.    Late '70s.
14        Q.    So, Dr. Heppe has not completed a residency      14      Q.    Late '70s?
15   or fellowship in radiology, pulmonology or occupational     15      A.    Or early '80s.
16   medicine, correct?                                          16      Q.    Or early '80s.
17        A.   No.                                               17      A.    I think it was the late '70s.
18        Q.    Okay. The other physician is Dr. Brad Black,     18      Q.    Late '70s. Well, let's say 1980, to be
19   is that correct?                                            19   conservative. So, somebody who had been exposed at the
20        A.   That's correct.                                   20   age of one to that measurement in 1980 --
21        Q.    And Dr. Brad Black has not completed a           21      A.    Uh-huh.
22   residency or a fellowship in radiology, pulmonology or      22      Q.    -- would be 30 years old now?
23   occupational medicine, correct?                             23      A.    Close to it, yeah.
24        A.   That's correct.                                   24      Q.    Okay. Do you have any specific measurements
25        Q.    His primary training is a pediatrician,          25   post-1980 regarding community exposure?


                                                       Page 43                                                          Page 45
 1   correct?                                                     1       A.    No. I know there are some, but I don't have
 2       A.   Originally, yes.                                    2   them. I haven't seen them.
 3       Q.   Okay. But correct, yes?                             3       Q.     So, you sitting here, you can't offer an
 4       A.   Yes. That's correct.                                4   opinion about the levels of exposure, correct?
 5       Q.   Okay. And asbestos disease is not very              5       A.    No. You know, we went through in the
 6   common in children, is it?                                   6   criminal trial about all of this, you know.
 7       A.   I'm not so sure about that anymore. But             7       Q.     Right.
 8   probably not.                                                8       A.    What is, is.
 9       Q.   When they --                                        9       Q.     What is, is.
10       A.   We're going to find that out in about 10           10       A.    What is, is. If you have the disease, you
11   years.                                                      11   were exposed -- and you lived in Libby, you did get the
12       Q.   We're going to find that out in 10 years.          12   exposure.
13   Why is that?                                                13       Q.     If you have which disease?
14       A.   Because we've got a ton of children that have      14                 MR. HEBERLING: Objection. Please let
15   been exposed to this stuff.                                 15   him finish. That was one of the agreements at the
16       Q.   When? Do you know?                                 16   beginning.
17       A.   All along here.                                    17                 THE WITNESS: If you were exposed to --
18       Q.   All along?                                         18   If you have asbestos changes in your radiograph and you
19       A.   But particularly, all along from, regardless       19   have -- you lived in Libby, you were exposed to asbestos.
20   of when they were born. But in the last 10, 20 years, as    20             Now, you have to do a good exposure history.
21   well.                                                       21             But you may not be able to find out exactly
22       Q.   Currently, ongoing?                                22   which exposure was the worst, whether it was the track,
23       A.   Probably. But I don't know the extent of it        23   piles of stuff that were left around somebody's attic,
24   now.                                                        24   whatever. I mean, this stuff is still in attics all
25       Q.   Do you know anything about the levels of           25   over Libby.

                                                                                                           12 (Pages 42 to 45)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC            Doc 22766-8          Filed 08/13/09      Page 14 of 71

                                                     Page 46                                                         Page 48
 1             So, if you show up with asbestos disease, I      1       A.    Right in the subpleural region, yes.
 2   don't really care what the exposure levels were. It        2       Q.     But it would be within the interstitium, the
 3   doesn't matter. It was enough to give them disease.        3   actual lung itself?
 4       Q.     (BY MR. STANSBURY:) And by "disease," you       4       A.    Yes.
 5   mean interstitial fibrosis, for example?                   5       Q.     So, that would be interstitial fibrosis,
 6       A.     No. I mean any asbestos things.                 6   correct?
 7       Q.     But --                                          7       A.    I guess, if you want to call it that way.
 8       A.     This is all a spectrum, all the way from a      8   Although we don't quite use that term. Because you get
 9   plaque to interstitial disease. And you've seen it         9   all of these definitions in the past that have evolved
10   already. You saw it on the board in Judge Molloy's        10   around plain chest x-rays.
11   courtroom. You saw x-rays that went from a plaque to      11             Now we are talking about CT's. We're not
12   interstitial disease. You now have two of them on CD      12   talking about chest x-rays. This is stuff that we are
13   that you can look at. They're the same thing. And I've    13   not seeing on chest x-ray. We are seeing only on the
14   got dozens more, if necessary, probably.                  14   high resolution CT's.
15       Q.     This is interesting. But I want to kind of     15       Q.     So, you --
16   close out what we were first talking about real quick     16       A.    And actually we are only seeing it since we
17   before we move on to --                                   17   really got an upgrade in the last three years or so.
18       A.     I think I just closed it off. Okay?            18       Q.     And the "we" would be you, Dr. Heppe and Dr.
19       Q.     DLCO, this discussion began as we were         19   Black?
20   talking about, whether it was caused by the diffuse       20       A.    And Dr. Becker.
21   pleural thickening --                                     21       Q.     And Dr. Becker.
22       A.     Uh-huh.                                        22       A.    And a couple radiologists in Kalispell also.
23       Q.     -- or, as you call it, subpleural              23       Q.     And what are their names?
24   interstitial fibrosis.                                    24       A.    Oh -- Well, there's McDonald. I don't
25       A.     Subpleural fibrosis is what we refer to it     25   remember the other names.

                                                     Page 47                                                         Page 49
 1   as.                                                       1        Q.    Okay. So, Dr. Becker can --
 2       Q.     Subpleural fibrosis, correct?                  2        A.    And Gordon Teel, also, of course, who I've
 3       A.     Yes.                                           3    worked with for years.
 4       Q.     Okay. And it is your belief that it is not     4        Q.    Gordon Teel.
 5   the pleural fibrosis but the subpleural fibrosis, and     5        A.    Although I haven't been working with him more
 6   that would be fibrotic changes within the lung itself,    6    recently. He's well aware of this, also.
 7   correct?                                                  7        Q.    What about Dr. Lynch at National Newish? He
 8       A.     Yes. Although, you know, you have to           8    can see this, correct?
 9   consider other things that go along with this. Many       9        A.    Correct. And Dr. Newell who also looks at
10   times there's lung entrapped in pleural thickening.      10    these as well.
11             And, so, that may be a shunt for oxygen        11        Q.    What about Dr. Shipley at Cincinnati?
12   uptake, and that may order the DLCO in itself.           12        A.    I think Dr. Shipley is incompetent when it
13             And, so, it is possible, even though you       13    comes to looking at these -- at the Libby asbestos
14   don't see interstitial fibrosis, that there's enough     14    pleural disease.
15   alteration in the ventilation profusion ratios in that   15        Q.    Shipley is incompetent with respect to the
16   area right around the pleura that it would affect the    16    Libby asbestos pleural disease?
17   DLCO.                                                    17        A.    I believe that, yes. Because I think that --
18       Q.     So, that would be an example where a pleural 18     And all of us have felt that same way about it.
19   fibrotic change in and of itself could affect DLCO?      19        Q.    Okay. What about Dr. Molina at North
20       A.     I think it's possible. I think more often     20    Carolina?
21   than not, though, we see subpleural fibrosis.            21        A.    He's very spotty. I mean, these are the two
22       Q.     More often than not it's subpleural fibrosis? 22    guys that Grace's insurance plan sends all of the x-rays
23       A.     I think for the most part, yeah.              23    to. And Molina is sort of on and off. Sometimes he sees
24       Q.     So, that's fibrotic changes within the        24    things, sometimes he doesn't.
25   interstitium, correct?                                   25        Q.    So, he's not incompetent, he's on and off, is

                                                                                                         13 (Pages 46 to 49)
                                    DR. ALAN WHITEHOUSE - by Mr. Stansbury
                        (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC            Doc 22766-8           Filed 08/13/09      Page 15 of 71

                                                       Page 50                                                          Page 52
 1   that correct?                                                1   point for now.
 2       A.     Yeah.                                             2       A.    Uh-huh.
 3       Q.     What about Dr. Pistorese, and I'll help you       3       Q.    It is, in your opinion, the decrement in DLCO
 4   with the spelling, I believe it's P-I-S-T-O-R-E-S-E, in      4   can be caused either by fibrotic changes of the pleura,
 5   Kalispell?                                                   5   or subpleural interstitial changes that you often
 6       A.     You know, you're asking me to make statements     6   recognize on CT but not on x-ray --
 7   about physicians who are actively in private practice.       7       A.    Yes.
 8   And I'm not going to do that. Okay? I don't mind             8       Q.    -- that occur in connection with the diffuse
 9   talking about Shipley.                                       9   pleural thickening, is that correct?
10            But I'm not going to make comments like that       10       A.    Yes. And there are other causes for a
11   in a public purview concerning physicians who are           11   decreased DLCO that we haven't gotten into, though.
12   sometimes doing what they think are right, but with whom    12       Q.    Non-asbestos-related causes, or asbestos-
13   many of us disagree.                                        13   related causes?
14            And, so, I'm not willing to say anything           14       A.    Non-asbestos-related causes. But they
15   other than the fact that we frequently disagree with him.   15   coexist.
16       Q.     Okay. Well, I'm not asking you to use the        16       Q.    Okay. So, there are certainly other causes
17   word incompetent. That was your word with respect to Dr.    17   in decrement in DLCO that have nothing to do with
18   Shipley.                                                    18   asbestos?
19       A.     I know it was. That's right.                     19       A.    Yes. That's right.
20       Q.     With respect to Dr. Pistorese, and this is       20       Q.    Such as smoking? Correct?
21   not a pejorative inquiry, but simply a question as to       21       A.    Well, assuming that you have -- Usually that
22   whether Dr. Pistorese recognizes this subpleural fibrotic   22   occurs with very severe obstructive airway disease in the
23   change that you were discussing --                          23   absence of any asbestos disease, yeah.
24       A.     I don't --                                       24       Q.    What else can cause a decrement in DLCO?
25       Q.     If I could finish.                               25       A.    All kinds of other interstitial lung

                                                       Page 51                                                          Page 53
 1             -- that causes the decrement in DLCO.              1   diseases. I mean, there's only about, I think there's
 2        A.    I have no idea, because I don't know that         2   probably 500 or so listed in causes of interstitial lung
 3   he's even seen any of these. He hasn't seen any of the       3   disease.
 4   Libby patients for a number of years. For whatever           4       Q.    So, there's potentially 500 different causes
 5   reason, we have not seen his name on things for a long       5   of a decrement in DLCO?
 6   time.                                                        6       A.    Who knows? I don't know what the actual
 7        Q.    What about Dr. Obermiller, also in Kalispell?     7   number is. It may not be that many. But there's a very
 8   Same question.                                               8   large number of interstitial lung diseases, all of which
 9        A.    I don't know whether he does or not.              9   are capable of producing a decrease in DLCO.
10        Q.    So, you do not know whether he is capable of     10       Q.    So, certainly a decrement in DLCO is not
11   recognizing this subpleural change that --                  11   dispositive for the presence of an asbestos-related
12        A.    Oh, I am sure he is capable of it.               12   disease, correct?
13        Q.    Let me just finish.                              13       A.    Well, not by itself, no.
14        A.    All right.                                       14       Q.    And this phenomena that we've discussed
15        Q.    You do not know whether Dr. Obermiller           15   earlier with respect to either the pleural change or the
16   recognizes this subpleural change that causes the           16   subpleural interstitial change causing the decrement in
17   decrement in DLCO?                                          17   DLCO, is that a specific finding with respect to those
18        A.    I think he probably does. But I can't give       18   exposed to winchite, richterite and tremolite, or is that
19   you a specific example. I don't -- I haven't seen very      19   a general finding for people exposed to chrysotile
20   much from him either recently.                              20   asbestos, as well?
21        Q.    Okay.                                            21       A.    I can't answer your question, because I have
22        A.    Although I must admit he almost tends to         22   not looked at large numbers of high resolution CT-scans
23   disagree with everything that's done in the CARD Clinic     23   on people that are just solely chrysotile exposed.
24   all the time.                                               24       Q.    Do you believe that people who have
25        Q.    Okay. Now, just to kind of wrap up the DLCO      25   chrysotile exposures -- Let me start that over.

                                                                                                           14 (Pages 50 to 53)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09       Page 16 of 71

                                                       Page 54                                                          Page 56
 1             Do you believe that people with chrysotile         1   one, correct?
 2   exposures who develop pleural changes have a decrement in    2       A.     Yeah. I think so.
 3   DLCO?                                                        3       Q.     The DLCO one certainly is applicable to both
 4       A.     I have seen that --                               4   those exposed to winchite, richterite, tremolite, as well
 5       Q.     Okay.                                             5   as those exposed to chrysotile, but the frequency and
 6       A.     -- in some patients with chrysotile exposure,     6   extent with which you observed this phenomenon is greater
 7   but not a large number.                                      7   in those exposed to winchite, richterite and tremolite --
 8       Q.     If you treat somebody who has a chrysotile        8       A.     Correct.
 9   exposure and they have normal FVC, normal TLC, but a         9       Q.     -- correct? That's correct?
10   decreased DLCO, with fibrotic changes of the pleura, and    10       A.     Yes. I would agree.
11   no changes apparent on x-ray, would you believe that the    11       Q.     Okay. And again, the DPT issue, the diffuse
12   decrement in DLCO was caused by the asbestos pleural        12   pleural thickening issue, that is much more of a Libby-
13   disease?                                                    13   specific issue, correct, insofar as those exposed to
14       A.     Yes.                                             14   winchite, richterite, tremolite develop --
15       Q.     Okay. So, this is not necessarily a Libby        15       A.     Do you mean as far as the --
16   specific issue? Again, just like FEV1/FVC, we are not       16                MR. HEBERLING: Objection. Objection,
17   seeing some unique phenomenon in Libby which makes DLCO     17   unclear as to what the DPT issue is.
18   an applicable lung function measurement whereas it would    18       Q.     (BY MR. STANSBURY:) Let me rephrase that for
19   not be with respect to other exposed cohorts, correct?      19   you. The issues we discussed earlier with respect to
20       A.     Probably not. Although I think the frequency     20   diffuse pleural thickening, and those would be including
21   and the extent of it in Libby is far more than what has     21   requiring of the blunting of the costophrenic angle,
22   been seen elsewhere.                                        22   coverage of over 25 percent of the pleura, and three
23             Now, to partly answer your question, also         23   millimeter thickness.
24   there's been a recent article in the last couple of years   24             Those were much more applicable, those
25   from Australia, from Wittenoom, of DLCO decreases that      25   concerns are much more applicable to those who have been


                                                       Page 55                                                          Page 57
 1   basically is along the same line of things that I am         1   exposed to winchite, richterite and tremolite as opposed
 2   saying about DLCO.                                           2   to chrysotile, correct?
 3       Q.     Who wrote that article?                           3       A.     Yes.
 4       A.    Oh, God. I knew you were going to ask me           4       Q.     Okay. Now, I believe these were the five
 5   that. I was trying to remember who it was. It's in           5   issues we discussed in Exhibit 2 at the very beginning.
 6   there.                                                       6             Now I want to ask what your basis for this
 7       Q.     It is in your expert report?                      7   belief is. And I think throughout the course of our
 8       A.    It is in there. Somewhere in there.                8   discussion it became somewhat clear, but just so we are
 9       Q.     Okay. So, just to summarize, the FEV1/FVC         9   on the same page, is it fair to say that these opinions
10   issue, that is not a Libby-specific issue? That is a        10   that you have are based in large part on your experience
11   general issue that is applicable to those exposed to        11   as a pulmonologist who has treated individuals exposed to
12   winchite, richterite and tremolite, as well as              12   winchite, richterite and tremolite?
13   chrysotile, correct?                                        13       A.     In large part, it is.
14       A.    But I think you need to put that into the         14       Q.     Okay. So, in large part this is based on
15   perspective of the extents of severe pleural disease in     15   your diagnostic practice, correct?
16   chrysotile and the frequency with which it's seen, which    16       A.     Well, it's a diagnostic practice, but also
17   is considerably less. And in addition to the fact that      17   gathering all of the data together and looking at it in
18   an awful lot of layouts in academic centers just have       18   large groups, and looking at people who died from it as
19   never bothered to do DLCO's.                                19   well. So --
20       Q.     Well, I was speaking more about the FEV1/FVC     20             But, yes, it comes from my experience. Where
21   issue, not the DLCO issue.                                  21   else would you get the experience? I mean, except for
22       A.    Oh. Well, then you had better repeat the          22   having seen, you know, 1500 or more of these people.
23   question again.                                             23       Q.     Okay. Let's kind of unpack that statement.
24       Q.     Sure. Sure. The FEV1/FVC ratio was more of       24   So, it's based in part on just the day in, day out
25   a general criticism, not necessarily a Libby-specific       25   experiences of being a diagnostic -- Strike that.

                                                                                                           15 (Pages 54 to 57)
                                      DR. ALAN WHITEHOUSE - by Mr. Stansbury
                          (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09      Page 17 of 71

                                                       Page 58                                                          Page 60
 1            Your opinions are based in part on your day         1   comparison, which was, as you said, I am looking at
 2   in, day out experiences of a pulmonologist, treating         2   Shipley, Molina, Lynch, Newell. There you are comparing
 3   these individuals, correct?                                  3   your interpretations of radiographs and CT with theirs,
 4       A.    Right. Let me -- Go ahead.                         4   correct?
 5       Q.    Your opinions are also based on these              5       A.   Yes. But what we're doing and mostly what
 6   analyses you conducted involving data obtained from          6   we did then and what we're doing now is, we continue to
 7   people in your diagnostic practice, correct?                 7   do on a regular basis, is be sure that we're on track.
 8       A.    That's correct.                                    8            And, so, we're utilizing all of our resources
 9       Q.    Now, let's identify those analyses. One            9   to have people look at films that we can. And, so,
10   would be your 2004 paper published in the American          10   that's where that data comes from.
11   Journal of Industrial Medicine, correct?                    11            And of course more recently we've got some
12       A.    That's true.                                      12   people that have been doing asbestos work for 40, 50 --
13       Q.    What was the title of that paper? It was          13   40 years or so.
14   kind of long. But just so we are clear.                     14       Q.    Now, just so I'm clear, how does the
15       A.    It was --                                         15   comparison of reads, and presumably analyses that
16       Q.    Is it Asbestos-Related Pleural Disease Due to     16   demonstrate how your reads compare to others and which
17   Tremolite --                                                17   ones may be more accurate, how does that inform your
18       A.    Yeah.                                             18   opinion as to the definition of diffuse pleural
19       Q.    -- Associated with Progressive Loss of Lung       19   thickening, the use of FEV1/FVC, or the use of DLCO to
20   Function?                                                   20   determine impairment?
21       A.    Progressive Loss of Lung Function, yes.           21       A.   That has nothing -- That's tangential to
22       Q.    Okay. That's one, correct?                        22   that.
23       A.    That's one.                                       23       Q.    Okay.
24       Q.    Would another be your CARD Mortality              24       A.   These other opinions are formed based upon
25   Analysis?                                                   25   looking at the patient.


                                                       Page 59                                                          Page 61
 1       A.    Yes.                                               1            Of course, you know, we've looked at all of
 2       Q.     And the death rates you observed in the lung      2   these patients, contrary to Grace's experts, none of whom
 3   function measurements and the radiographic abnormalities     3   have been looked at really carefully. Well, maybe a few.
 4   that you observed of the individuals in that CARD            4   But very few have been looked at by anybody else.
 5   Mortality Analysis also informs your opinion, correct?       5            We've looked at them. We've taken their
 6       A.    Yes.                                               6   histories, their exposure histories. Done physical exams
 7       Q.     Are there any other similar analogies you've      7   on them. Followed them for periods of time. Watched
 8   done of people in your patient group that informed your      8   what's happened to their x-rays. Looked at their films,
 9   opinion?                                                     9   their CT-scans, discussed it with other people.
10       A.    Well, we've been challenged many times            10            It's a lot of work that goes into what you
11   concerning radiographic readings and things like that.      11   see as a final product on a chart. And then it's done
12   So, there's studies that are in here relative to            12   year after year. And, you know, if we find something
13   comparing x-ray readings with outside sources.              13   that was wrong, we correct it.
14       Q.     So, this would be the HNA comparison?            14       Q.     So, you've actually been able to lay eyes on
15       A.    That's the HNA comparison. Comparison with        15   these people, take their vital signs, conduct physical
16   Shipley and Molina. And, you know, Lynch's, Newell's,       16   examinations, you know, be in the same room with these
17   Decker's, a radiologist in Kalispell, myself, Gordon        17   individuals, correct?
18   Teel, Brad Black, as to almost basically a scoring of who   18       A.    Oh, sure.
19   read how.                                                   19       Q.     And, so, you're able to offer opinions, in
20            And then more recently, of course, getting         20   your mind, that somebody who has not had that
21   backup from several real experts from Selikoff's lab in     21   opportunity, cannot?
22   Mt. Sinai, from Steve Lavin and Arthur Frank, who has       22       A.    Yeah. I think so.
23   basically looked at all of this stuff and have concurred    23       Q.     So, the fact that somebody, let's say, such
24   with how we read the films.                                 24   as Dr. Stephen Haber?
25       Q.     Okay. So, we're going to call this the HNA       25       A.    Stephen who?

                                                                                                           16 (Pages 58 to 61)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC            Doc 22766-8           Filed 08/13/09       Page 18 of 71

                                                       Page 62                                                          Page 64
 1       Q.    Stephen Haber. H-A-B-E-R.                          1   since the 2004 published paper which was written in 2001,
 2       A.    Is that what his first name is? I didn't           2   it is fair to say, though, that that is informative for
 3   know that was his first name.                                3   your overall opinions with respect to DPT --
 4       Q.    That fact that he has never examined any of        4        A.     Yeah. That's actually informative. And as
 5   these people limits the opinions he can reach, correct?      5   you may or may not know, 36 of those people died.
 6       A.    Very, very much so.                                6              But also it's the ongoing follow-up of the
 7       Q.    So, without that opportunity, he can't have        7   whole group of people in the clinic and the progression
 8   the same information that you have, correct?                 8   of things. And that's another paper which is in the
 9       A.    True. All he's done is chart reviews, and          9   process of being written right now.
10   looked at x-rays, and probably has not had the              10        Q.     Okay. Well, let's hold that thought for a
11   opportunity to look at everything sequentially. There's     11   second. When you mention this ongoing process, that goes
12   too much.                                                   12   back, though, to your diagnostic practice, correct?
13       Q.    All right.                                        13        A.     Well, yeah. I mean, that all started in the
14       A.    It's taken us eight years to get to this          14   '80s.
15   point, and he's up there for two days? Come on, you         15        Q.     Right. But what I'm trying to just get my
16   know.                                                       16   brain around is understanding what forms the basis of
17       Q.    But it's fair to say that the opportunity to      17   your opinion. The diagnostic practice is obviously the
18   actually examine individuals is very critical to reaching   18   backbone of this, correct?
19   informed opinion about disease, correct?                    19        A.     Sure.
20       A.    That's true.                                      20        Q.     And --
21       Q.    Okay. So -- But getting back to the point         21                 THE VIDEOGRAPHER: I'm sorry, Doctor.
22   about the basis of your opinion, you said that the HNA      22   Your hands are covering your face. Sorry.
23   comparison was, as you put it, tangential to the DPT,       23                 THE WITNESS: Sorry.
24   FEV1/FVC, and DLCO opinions, correct?                       24        Q.     (BY MR. STANSBURY:) However, you had
25       A.    That's correct.                                   25   mentioned that some analysis of individuals within your


                                                       Page 63                                                          Page 65
 1       Q.    However, the 2004 published paper, as well as      1   practice had been informative to your opinions as well.
 2   the CARD Mortality Study, those were supportive of those     2   And among those are the CARD Mortality Study, which is in
 3   opinions regarding DPT, FEV1/FEV and DLCO, is that           3   your expert report, correct?
 4   correct?                                                     4       A.    Uh-huh.
 5       A.    Well, to begin with, the 2004 paper was            5       Q.    Yes or no.
 6   actually written in 2001. It takes several years to get      6       A.    Yes.
 7   something published.                                         7       Q.    Okay. But it has not been published in the
 8       Q.    Understood.                                        8   peer review literature, correct?
 9       A.    And we've learned a hell of a lot more since       9       A.    No, it has not.
10   that time. Clearly, I have.                                 10       Q.    Okay. The 2004 paper which was published is
11            I mean, that was written about a year, year-       11   instructive to your opinions, correct?
12   and-a-half after CARD was started, before it finally got    12       A.    Right.
13   published. And this is true of all papers.                  13       Q.    Are there any other analyses that are
14            The same with that mesothelioma paper. That        14   relevant to your opinions regarding the definition of
15   had been -- that was finished almost two years ago before   15   diffuse pleural thickening, the use of FEV1/FVC, or the
16   it was published last fall.                                 16   use of DLCO?
17            So, one forms opinions as you go along.            17       A.    Well, yeah. The opinion comes about because
18            These opinions are opinions that have become       18   you look at somebody in the clinic that has -- and maybe
19   more and more evident as the criteria were published, and   19   you've already answered the question -- but you look at
20   became evident that all these people were not going to be   20   somebody in the clinic who is severely impaired, okay,
21   covered. And that's what triggered that Mortality Study.    21   and has an isolated DLCO. That's one example. Okay?
22   Because there were so many of these people that died of     22            Or they don't have blunting of the angles but
23   this disease, it wouldn't be considered to have             23   have diffuse pleural thickening otherwise. Very short of
24   compensation.                                               24   breath. Maybe on continuous oxygen.
25       Q.    So, although your understanding has evolved       25            And you look at the criteria. And you find

                                                                                                            17 (Pages 62 to 65)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09       Page 19 of 71

                                                      Page 66                                                          Page 68
 1   that, no, they aren't going to be -- there's no way that    1       A.    That's correct.
 2   they're going to fall through that -- they're going to      2       Q.    Okay. So, it's fair to say that what we've
 3   fall out when it comes time to request compensation for     3   identified, then, that is what's forming the basis of
 4   their asbestos disease.                                     4   your opinion?
 5        Q.    I understand. But that goes back again to        5                MR. HEBERLING: Objection, vague.
 6   your diagnostic practices, right?                           6                THE WITNESS: Your tone and the way you
 7        A.    It goes back to my diagnostic practice, yes.     7   say that tends to minimize what the private practitioners
 8        Q.    I'm just trying to make sure I understand.       8   do.
 9   So, the diagnostic practice, once again, critical to        9       Q.    (BY MR. STANSBURY:) I'm not attempting to
10   these opinions.                                            10   minimize it. All I'm trying to do is just get a list.
11             The 2004 paper also is informative to these      11   At this point I just want to make sure I understand what
12   opinions. The 2007 CARD Mortality Analysis is also         12   the bases are.
13   informative for your opinions on DPT, DLCO and the         13            And the diagnostic practice incudes your
14   FEV1/FVC ratio.                                            14   analyses of how many individuals?
15             Just so we're clear, are there any other         15       A.    What do you mean? In the total clinic --
16   analyses that you have done that are supportive of those   16       Q.    Yes.
17   opinions?                                                  17       A.    -- that I have seen? I don't know the exact
18        A.    There are so many analyses over the years of    18   number. We've got 1800 cases. I have seen most of them.
19   one sort or another, most of which don't get published.    19       Q.    So, there are 1800 people whose patient care
20             Certainly I have looked at an awful lot of       20   over the years is relevant to your opinions in this case?
21   people with obstructive changes who would fall out of      21       A.    Yes.
22   compensation and who's obstructive disease is solely       22       Q.    Okay. And do you know how many of those
23   related to their asbestosis, but they don't meet the 65    23   individuals for whom you have produced medical records in
24   percent requirement for FEV1/FVC ratio. They have low      24   this case?
25   residual volumes. Normal total lung capacities. Things     25       A.    Basically, how many -- It's however many are


                                                      Page 67                                                          Page 69
 1   like that. They do not meet the criteria. And we have a     1   involved in the lawsuit for the bankruptcy -- before the
 2   lot of those. And they have a lot of interstitial           2   bankruptcy was filed. I assume that's the number.
 3   disease.                                                    3       Q.    Okay.
 4       Q.     Once again, but that is an opinion you have      4       A.   And I think there's seven or eight hundred,
 5   reached based upon your diagnostic practice.                5   something like that.
 6             What I am trying to do, understand here, Dr.      6       Q.    Seven or eight hundred. But you mentioned
 7   Whitehouse, is identify the various sources of              7   1800 people, correct?
 8   information.                                                8       A.   Oh, yes. There's an awful lot of people.
 9             There is this broad category, your diagnostic     9   And we continue to diagnose people on a regular basis.
10   practice, your many years of working as a pulmonologist,   10       Q.    And in your mind you don't segment these
11   that is very fundamental to your opinions, correct?        11   seven or eight hundred people and think, this is the
12       A.     That's true.                                    12   basis of my opinion. You look at all 1800 --
13       Q.     The CARD Mortality Study, the 2004 published    13       A.   We look at them all, yeah.
14   paper. Anything else that forms the basis of these         14       Q.    Right. So, all of them are relevant to your
15   opinions?                                                  15   opinion?
16       A.     Well, the basis of the opinions concerning      16       A.   Yes.
17   radiology. We've done comparison studies not only with     17       Q.    Okay. Just want to make sure we are clear on
18   HNA but also with Dr. Weill, studies that he had done.     18   that.
19       Q.     But, again, as you mentioned earlier, that      19            So, the diagnostic history of these 1800
20   does provide information on how you're doing in terms of   20   people, the 2004 study, the CARD Mortality Analysis,
21   recognizing radiographic impairment.                       21   those are the fundamental bases of your opinions,
22             But as you said, that was tangential to the      22   correct?
23   fundamental questions of the definition of pleural         23       A.   Yes. I guess.
24   disease, use of DLCO and the use of the FEV1/FVC           24       Q.    Okay.
25   criteria, correct?                                         25       A.   That's fair enough.

                                                                                                           18 (Pages 66 to 69)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC            Doc 22766-8           Filed 08/13/09       Page 20 of 71

                                                       Page 70                                                          Page 72
 1        Q.    Thank you, sir. You also mentioned another        1   then?
 2   study that was ongoing. What was that?                       2        A.   Oh, yeah. And then he chewed it up and
 3        A.   We have progression.                               3   rewrote a bunch of things, and then I rewrote some. It's
 4        Q.    You mentioned, you were going to publish          4   sitting, waiting for more work.
 5   something soon. I just heard that.                           5        Q.   Can I see a draft?
 6        A.   Well, we've had a number of people who have        6        A.   No.
 7   rapidly progressed, which has not been reported in the       7        Q.   Why not?
 8   literature before, with asbestos diseases. And I'm in        8        A.   Because I don't have anything that's in a
 9   the process of assembling a number of cases. I've            9   position that I would give it to you.
10   actually got about 40 cases.                                10        Q.   Okay.
11        Q.    40 cases.                                        11        A.   It hasn't been introduced as evidence. And
12        A.   I think total. But I am sort of narrowing         12   I'm not going to -- Until I get ready to publish it, it's
13   them down to the ones that we can -- You know, there are    13   not your business.
14   some practical aspects, if you are going to put something   14        Q.   Okay. But these individuals, they are
15   in a paper and you want to demonstrate something with       15   individuals who have rapid pleural disease, correct?
16   x-rays so they can be seen, and you've seen x-rays in       16        A.   Yes.
17   these papers, they are hard to read. And, so, basically     17        Q.   And you're forming opinions on them, aren't
18   trying to decide which cases to use.                        18   you?
19        Q.    And how far along are you in this process?       19        A.   Yes.
20        A.   Oh, I've written a draft.                         20        Q.   Okay. And those opinions are obviously very
21        Q.    Pardon me?                                       21   relevant to how we assess pleural disease, correct?
22        A.   I've written a draft. But I keep adding           22        A.   Yes.
23   cases because I keep seeing more. And so I add a case,      23        Q.   Okay. But you do not want to share that with
24   and then I don't know what I'm going to do on it.           24   this court or any of us?
25             You know, Steve Lavin, who's involved in          25        A.   No, I'm not going to. Because it's --

                                                       Page 71                                                          Page 73
 1   that, wants me to keep it to about six cases to keep it      1              MR. HEBERLING: I'll insert an objection
 2   simple. And, so, I'm having trouble deciding which           2   also.
 3   six --                                                       3            We have a series of rapid progression cases,
 4       Q.     Understood.                                       4   which is what we're using in this litigation.
 5       A.     -- I will use.                                    5            So, as to what he publishes, you know, there
 6       Q.     And Steve Lavin was the person from               6   are rules of disclosure before publication, you know. He
 7   Selikoff's lab from Mt. Sinai?                               7   has to follow those.
 8       A.     Mt. Sinai, yeah.                                  8       Q.    (BY MR. STANSBURY:) Let's look at this list
 9       Q.     Okay. And have you sent Steve Lavin a draft?      9   real quick.
10       A.     Oh, yeah. He's seen a draft. In fact he's        10       A.    Some of the cases are in there already.
11   written part of it. In fact, he's been upset with me        11       Q.    Oh, I understand. Let's take a quick look,
12   because I haven't gotten any further along. But I've        12   just so we are on the same page. Because it sounds like
13   been doing all of this legal stuff all summer, so I         13   a study that will be very instructive to your ongoing
14   haven't had time.                                           14   opinions about pleural disease in Libby, correct?
15       Q.     When did you first send him a draft of this?     15       A.    Yeah.
16       A.     I didn't send it to him. He did it in            16       Q.    Let me make sure I find --
17   Libby. He comes out there. He hasn't been out there         17       A.    We are providing drafts. Basically, it's
18   since -- I think it was last spring. We're pushing a        18   just something you don't do until after you've got the
19   year since I've really done very much on it, except         19   thing pretty well written. I don't know what I'm going
20   collect more cases.                                         20   to take out of it, you know, especially when you have
21       Q.     Okay. But he came out spring of 2008?            21   three authors or four authors, they all have an idea of
22       A.     I think that's when it was.                      22   what to do.
23       Q.     Okay.                                            23       Q.    Will Lavin be a potential author?
24       A.     April or May, somewhere in there.                24       A.    Who?
25       Q.     All right. Did you have a draft for him          25       Q.    Lavin.

                                                                                                            19 (Pages 70 to 73)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09      Page 21 of 71

                                                      Page 74                                                          Page 76
 1      A.    Oh, Lavin will. Brad Black. Mark Heppe is          1      A.    Yes.
 2   very good at reading things.                                2      Q.     Wendy Challinor.
 3      Q.     Is this it right here?                            3      A.    Uh-huh.
 4      A.    Yeah.                                              4      Q.     Ron Masters.
 5      Q.     Exhibit 6?                                        5      A.    Uh-huh.
 6      A.    Yes. That's part of the list, yeah.                6      Q.     Larry Hill.
 7      Q.     That's part of the list.                          7      A.    Uh-huh.
 8      A.    In fact that is the whole list.                    8      Q.     Ken Moss.
 9      Q.     All right.                                        9      A.    Yep.
10      A.    And you have the names here obviously,            10      Q.     Jeff Swennes, S-W-E-N-N-E-S.
11   because most of them have legal actions.                   11      A.    Uh-huh.
12      Q.     So, if I could have that back for one moment,    12      Q.     Lonnie Kelley, K-E-L-L-E-Y.
13   please.                                                    13      A.    Uh-huh.
14      A.    Basically, to explain what's on here --           14      Q.     Clinton Hagen, H-G-E-N.
15      Q.     Sure.                                            15      A.    H-A-G-E-N.
16      A.    -- there's 22 on here out of the 40 or so         16      Q.     Excuse me. Bruce Cole. Al Dickerman.
17   that I have. And I culled out these.                       17   Andrew Wright, W-R-I-G-H-T. Dean Atkins. Jack
18            And then I've taken the dates here and put        18   Deshazer. And Deshazer is spelled, D-E-S-H-A-Z-E-R.
19   down their FVC, FEV1, DLCO sequentially in each one. And   19   Walt Torgison. Art Schauer. And Schauer is spelled
20   I'm not sure whether you have the x-rays or not.           20   S-C-H-A-U-E-R. Ruben Fellenburg, F-E-L-L-E-N-B-U-R-G.
21      Q.     I think we have some of them.                    21   And then WW.
22      A.    You may have -- you may not have all of them.     22            Those are the individuals on this list, is
23   Because then I have culled it down to about six. And       23   that correct?
24   then I've been working on it since then.                   24      A.    Six of those are dead. I think six.
25            And each time I do that, then I have to           25      Q.     Okay. And, so, by my count that's one, two,

                                                      Page 75                                                          Page 77
 1   rewrite things because I have a new history to put in       1   three, four, five, six, seven, eight, nine, 10, 11, 12,
 2   there, number of other things.                              2   13, 14, 15, 16, 17, 18 people on the list.
 3       Q.    Okay. So, this is Exhibit 6 to your report,       3       A.     Uh-huh.
 4   which is Exhibit 3 in this deposition.                      4       Q.     All right?
 5       A.    Yeah.                                             5       A.     Yep.
 6       Q.    And --                                            6       Q.     Okay. So, those are the names you've
 7       A.    I'm sorry. I forgot that was in there. I'm        7   produced to us. But you've mentioned there are up to 40
 8   sorry.                                                      8   people who may be in your paper, correct?
 9       Q.    I see 22 names on this list, some of whom, I      9       A.     No. No, no.
10   just have initials.                                        10       Q.     Oh. Let me rephrase that.
11               MR. STANSBURY: And I take it those are         11       A.     You said that wrong. What I'm saying is,
12   not your clients, Mr. Heberling, is that correct?          12   that 40 cases --
13               MR. HEBERLING: Yes. That's correct.            13       Q.     40 cases.
14               THE WITNESS: In view of, you know,             14       A.     -- I found 40 cases that meet the criteria
15   confidentiality issues.                                    15   that I originally set out, which was rapid changes within
16       Q.    (BY MR. STANSBURY:) Understood. I respect        16   five years.
17   that.                                                      17       Q.     Let me rephrase that, then. You've
18       A.    Have to obey HIPAA laws.                         18   identified 40 people who rapidly progressed from pleural
19       Q.    And the people whose names are here are          19   disease to interstitial disease, is that correct?
20   claimants, is that correct?                                20       A.     No. There's one that's developed severe
21       A.    Yes.                                             21   interstitial disease. But most of them are increasing in
22       Q.    All right. So, Robert Mack is on the list.       22   pleural disease.
23       A.    Uh-huh.                                          23       Q.     So, these are people who have had rapid
24       Q.    We have next HC, and that's obviously            24   progression --
25   somebody whose confidentiality we are protecting.          25       A.     Actually, I'm wrong about that. There are

                                                                                                          20 (Pages 74 to 77)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09      Page 22 of 71

                                                      Page 78                                                          Page 80
 1   two at least that have had rapid interstitial disease.      1   study. This relates just to patients that have Libby
 2       Q.    So, your contention --                            2   asbestos disease.
 3       A.    I'd have to look at the list again to sort it     3       Q.     Okay. So, the title of this exhibit then
 4   out.                                                        4   wouldn't be rapid progression of pleural disease only,
 5       Q.    So, your contention therefore is that these       5   correct?
 6   people have pleural disease only, with the exception of     6       A.     No. Probably not.
 7   one or two, and it's been progressing rapidly, correct?     7       Q.     This is really progression of asbestos
 8       A.    Right.                                            8   disease generally, correct?
 9       Q.    All right.                                        9       A.     Yeah. You're looking at drafts. I mean,
10       A.    Yeah. This paper is not restricted just to       10   this is the way I keep stuff on my computer.
11   pleural disease. This is rapid progression from Libby      11       Q.     Okay.
12   asbestos disease.                                          12       A.     Okay? Hopefully I can still find it. I
13       Q.    Okay. And some of these people, for example,     13   don't know if you have had that experience. But when
14   Ken Moss.                                                  14   you've got so much stuff like this, I have to put
15       A.    Uh-huh.                                          15   something in that allows me to find it relatively easily.
16       Q.    He's a former Grace worker, correct?             16       Q.     So, you mentioned earlier about the role of
17       A.    Yeah. He worked there a couple of months, I      17   the diagnostic process and your diagnostic history, the
18   believe, or maybe a year.                                  18   role that's played in forming your opinions, correct?
19       Q.    Perhaps dating back to 1973?                     19       A.     Yes.
20       A.    I think quite a while ago, yes.                  20       Q.     Okay. I want to talk a little bit about some
21       Q.    Okay. Even did work as a dry mill sweeper,       21   of your diagnostic process. You are familiar with Dr.
22   didn't he?                                                 22   Becker, correct?
23       A.    Actually, unless I have all the data on that,    23       A.     Yeah.
24   I won't remember each one individually. Okay?              24       Q.     And who is Dr. Becker?
25       Q.    But fair to say, he is a former Grace worker,    25       A.     He's a radiologist at St. John's Hospital.

                                                      Page 79                                                          Page 81
 1   correct?                                                    1       Q.     Okay. And where is St. John's Hospital?
 2        A.    Yeah.                                            2       A.    Across the street from CARD Clinic in Libby.
 3        Q.    And are you aware that in September of 2001      3       Q.     Okay. And often people will be given an
 4   Dr. Becker read a CT as finding interstitial changes for    4   x-ray or a CT by Dr. Becker, correct?
 5   him?                                                        5       A.    Yeah. He reads them. He reads for the
 6        A.    He may have. I'm not -- I'd have to look at      6   hospital.
 7   my own notes about the thing.                               7       Q.     And you get copies of his reads, correct?
 8             Yeah. No, some of these people do have            8       A.    Yes.
 9   interstitial changes.                                       9       Q.     And they're part of the diagnostic process,
10        Q.    Okay.                                           10   aren't they?
11        A.    A lot of them do.                               11       A.    That's right.
12        Q.    So, what's the progression we are talking       12       Q.     Sometimes you agree with him, sometimes you
13   about, then?                                               13   disagree, is that right?
14        A.    We're talking the whole thing. But we are       14       A.    I think that's true of medicine in general,
15   talking about rapid.                                       15   yeah.
16        Q.    So, what is rapid?                              16       Q.     All right.
17        A.    You know, you make the assumption that          17       A.    Actually our agreement with Dr. Becker
18   asbestos is a slow disease over 30 years.                  18   actually is really very high. He's actually pretty good.
19             We are talking about a period of very rapid      19   He has sometimes what we think are lapses. He likes to
20   change in a short period. Pulmonary functionalists will    20   use the word "subtle."
21   tell you -- tells you the answer about the time frame.     21       Q.     Subtle.
22             You see marked decline in pulmonary function     22       A.    Which drives me right up a tree. But then on
23   over a very short period of time. That's the -- that,      23   the other hand I have the pulmonary function that goes
24   along with the radiograph, are the two criteria. Whether   24   along with it.
25   it's interstitial or pleural doesn't matter in this        25       Q.     I'm handing you what's been marked as Exhibit

                                                                                                          21 (Pages 78 to 81)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09       Page 23 of 71

                                                      Page 82                                                          Page 84
 1   4. This is a February 2003 -- Excuse me, February 23 --     1        Q.    Again, this is probably somebody with
 2   Strike that.                                                2   asbestos disease, right?
 3             I'm handing you a February 23rd, 2006 chest       3        A.    I would assume so.
 4   x-ray read by Dr. Becker.                                   4        Q.    Okay. And, so, when you as a pulmonologist
 5        A.    Yeah.                                            5   get this read back from Dr. Becker, this is certainly
 6        Q.    And I'm reading under Impression, and tell me    6   something where you would think, okay, problem here, this
 7   if I have read this correctly. "Extensive pleural           7   person has got disease, correct?
 8   parenchymal changes, consistent with changes from           8        A.    Well, let me tell you how we use x-ray
 9   previous asbestos exposure."                                9   reports.
10             Did I read that correctly?                       10             Pulmonologists, I have been reading x-rays
11        A.    That's correct.                                 11   and reading for a very large group, I have read for a
12        Q.    This is probably somebody who's got, it looks   12   very large group since about 1977, until I retired,
13   like, interstitial changes, correct? That's what           13   reading all the films.
14   parenchymal means, right?                                  14             I read the radiologist's interpretations to
15        A.    Yeah. But I have no idea, because that may      15   be certain that there's not something that I might have
16   refer to a number of things. It may not refer to           16   missed. Because I always think it's a good idea to see,
17   something that is diffuse. It may be just something that   17   you know, second read on that may be helpful. I always
18   is localized.                                              18   look at them.
19        Q.    He says above, "There are extensive calcified   19        Q.    Uh-huh.
20   pleural-based plaques noted bilaterally," correct?         20        A.    Beyond that, I may not agree with the word
21        A.    And then he said there are "mildly prominent    21   extensive, I may not have even agreed with parenchymal,
22   interstitial markings."                                    22   if they've got a lot of en face plaquing. That's how
23        Q.    Okay. But this is somebody who has been         23   pulmonologists basically use the x-ray reports.
24   exposed to asbestos, correct?                              24             You know, general practitioners, family docs,
25                 MR. HEBERLING: Let him finish the            25   use it literally, for the most part.


                                                      Page 83                                                          Page 85
 1   answer.                                                  1           Q.    So, as a pulmonologist, when you get this
 2                THE WITNESS: No. I'm finished.              2      report back from Dr. Becker and you see language like
 3       Q.    (BY MR. STANSBURY:) This is somebody who 3            this, this suggests that this person has some asbestos
 4   has likely been exposed to asbestos, correct?            4      disease, correct?
 5       A.    Right.                                         5           A.    Yeah.
 6       Q.    He has calcified pleural plaques, right?       6           Q.    I'm going to hand you what has marked as
 7       A.    Yes.                                           7      Exhibit 6.
 8       Q.    And, you know, he says, mildly prominent, but  8           A.    Okay.
 9   there are certainly interstitial -- He says "probably    9           Q.    This is a July 7, 2008 CT read from Dr.
10   represents interstitial fibrosis," correct?             10      Becker. And again, the impression, "Extensive pleural
11       A.    Correct.                                      11      parenchymal changes consistent with previous asbestos
12       Q.    So, this is probably somebody who has         12      exposure."
13   asbestos exposure and it looks like they are developing 13                Is that correct? Am I reading that correct,
14   disease, correct?                                       14      sir?
15       A.    Well, I mean, he had fairly well developed    15           A.    Yes.
16   disease.                                                16           Q.    Once again, this suggests this person has
17       Q.    Okay. So, let's move on to Exhibit 5. I'm     17      asbestos disease, and that's how you understand Dr.
18   handing you what has been marked as Exhibit 5, and this 18      Becker's words here, correct?
19   is an April 2nd, 2008 chest x-ray, also by Dr. Becker.  19           A.    Sure.
20       A.    Uh-huh.                                       20           Q.    Okay. I'm going to put these here. I'm
21       Q.    And here the impression is "Extensive pleural 21      going to call these category A. These three exhibits are
22   parenchymal changes, consistent with previous asbestos 22       examples where you've just got clear statements from Dr.
23   exposure, stable from the prior examination."           23      Becker.
24            Do you see that, sir?                          24                Now I am going to hand you Exhibit 7. And
25       A.    Yes.                                          25      this is going to contain that language you don't like.

                                                                                                           22 (Pages 82 to 85)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC             Doc 22766-8           Filed 08/13/09      Page 24 of 71

                                                       Page 86                                                          Page 88
 1   "Impression. There are some subtle changes that could        1   reading nuances, and pick up a lot more sometimes on
 2   feasibly be due to previous asbestos exposure."              2   x-rays.
 3       A.    Uh-huh.                                            3             What he reads may or may not be due to that.
 4       Q.     I read that correctly?                            4   He doesn't want to make that diagnosis. And he
 5       A.    Yep.                                               5   shouldn't. Radiologists basically should be descriptive,
 6       Q.     And, so, that's one where you just kind of        6   maybe give you a differential diagnosis, but not make a
 7   look at that and scratch your head?                          7   definitive diagnosis.
 8       A.    No. I don't scratch my head. Dr. Becker            8       Q.     And while "consistent with" is not a
 9   actually, you know, whether he wants to call it subtle or    9   diagnosis, in category A he is saying, "pleural
10   I want to call it something else, I have more information   10   parenchymal changes consistent with previous asbestos
11   than he has.                                                11   exposure."
12            The fact, the more important thing is, the         12       A.    Yes.
13   fact that he read it.                                       13       Q.     This is certainly not as strong of language
14       Q.     Okay. Again, this read from Dr. Becker,          14   as that, is it? May or may not. Again, that is more of
15   would the word equivocal be a fair description of his       15   hedge betting --
16   read?                                                       16       A.    But if you look at his readings over a long
17       A.    That's not an equivocal read. Knowing Dr.         17   period of time, you will realize that some days he's in a
18   Becker, it is not equivocal.                                18   subtle mood and some days he's in a different mood.
19       Q.     But it is certainly not as clear. He is          19       Q.     Okay.
20   describing these as subtle. These are not as clear as       20       A.    And I don't fault him for that, you know.
21   the category A reads, right? He is hedging his bets         21       Q.     Okay.
22   here, right?                                                22       A.    There's days, you may feel crummy some days
23       A.    That may very well be, right.                     23   and some days you write differently.
24       Q.     I am handing you what's been marked as           24       Q.     I'm handing you --
25   Exhibit 8.                                                  25       A.    There's nothing wrong with that.

                                                       Page 87                                                          Page 89
 1       A.    I think hedging his bets may be a good term.       1       Q.    I'm handing you what's marked as Exhibit 9,
 2       Q.    We'll use that term, then.                         2   and this is a June 25th, 2007 read from Dr. Becker.
 3       A.    Okay.                                              3       A.    Yeah.
 4       Q.    This is a -- Excuse me. This is an August          4       Q.    And again the Impression, "Minor non-specific
 5   11, 2008 chest x-ray read, also by Dr. Becker.               5   pleural thickening. May or may not be due to previous
 6       A.    Uh-huh.                                            6   asbestos exposure."
 7       Q.    And here under the chest x-rays it says            7       A.    Uh-huh.
 8   "There is some pleural thickening noted, stable from the     8       Q.    Did I read that correctly?
 9   previous examination. No calcified plaques are noted.        9       A.    Yeah.
10   No obvious interstitial fibrosis."                          10       Q.    That's very similar to the previous three --
11            And the impression is "Pleural-based changes,      11   two reads that we just looked at, Exhibits 7 and 8,
12   may or may not be due to previous asbestos exposure."       12   correct?
13            Once again, is this a read where, as I have        13       A.    Yep.
14   said earlier, kind of hedging his bets, so to speak.        14       Q.    And, again, would it be fair to put these in
15       A.    Well, actually, not. He's correct in saying       15   a category B, where Dr. Becker is again not being as
16   may or may not be due to, because he does not have the      16   decisive or definitive, but again, as I said, more
17   information --                                              17   hedging his bets on these? Is that --
18       Q.    Okay.                                             18       A.    Oh, I don't think you should do that. I
19       A.    -- to make that diagnosis.                        19   don't think you should do it.
20       Q.    Okay.                                             20            It's a radiologic reading that shows
21       A.    And that's not his business. The radiologist      21   something that is consistent with asbestos disease. He's
22   or the general practitioners of chest radiology, they       22   done his job in the reading of that. He's not seen
23   read all kinds of things.                                   23   anything else that could be a significant problem, like a
24            Whereas people like myself or like                 24   nodule or something like that.
25   orthopedists who read bones, become very expert at          25            The reading is somewhat helpful to us in that

                                                                                                           23 (Pages 86 to 89)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09       Page 25 of 71

                                                       Page 90                                                          Page 92
 1   regard. He's done his job.                                   1   of these. Okay?
 2            It doesn't matter to me whether he reads it         2        Q.   You mentioned the possibility of him seeing
 3   as extensive or subtle. And in fact some of the ones he      3   something you did not see.
 4   will read as negative, and I disagree with him. And          4        A.   Possibly.
 5   there have rarely been occasions where I thought the         5        Q.   What about the possibility of him not seeing
 6   thing was negative and he's read something.                  6   something that you believe that you saw?
 7            I mean, that's the way it goes in this              7        A.   That may happen, too.
 8   business.                                                    8        Q.   Okay.
 9        Q.   I understand. However, if you as a                 9        A.   So what? I mean, that really doesn't make a
10   pulmonologist get this read back from the radiologist,      10   whole lot of difference to me.
11   and the first three exhibits that we looked at, what I'm    11        Q.   It makes no difference if a radiologist does
12   calling category A, we see much more, I would say, clear    12   not read a x-ray or a CT the same way you do?
13   reads in terms of the finding of an asbestos-related        13        A.   No. It doesn't make any difference to me at
14   abnormality on x-ray or CT than we saw in these category    14   all.
15   B reads.                                                    15        Q.   Why not?
16        A.   If you think that --                              16        A.   Because I am better at it.
17                MR. HEBERLING: Objection. Asked and            17        Q.   You are better than Dr. Becker?
18   answered.                                                   18        A.   Yeah. You are damn right I am.
19                THE WITNESS: If you think that makes any       19        Q.   Okay. What about Dr. Lynch?
20   difference on how I deal with anything, you're absolutely   20        A.   I don't know Dr. Lynch. He's a good
21   wrong.                                                      21   radiologist. I know that. But he's spotty, too. If you
22        Q.   (BY MR. STANSBURY:) Why?                          22   look at his reports, you'll see that he may have read
23        A.   It makes absolutely no difference.                23   four different films in that screening program from
24        Q.   Why?                                              24   ATSDR, and read changes on two and not on two other ones.
25        A.   Because I read my own x-rays, and I have          25   Okay?


                                                       Page 91                                                          Page 93
 1   pulmonary functions, I have a patient in front of me, and    1             So, technique may go into it. There's all
 2   I have their symptoms and their chest exam, and their        2   kinds of things that could go into this.
 3   complaints of pleurisy, and I have all of these other        3        Q.    Who is better than you at reading x-rays or
 4   things that I have to use.                                   4   CT's?
 5              All he's done -- You know, if he didn't read      5        A.    I'm sure there are pulmonologists that are a
 6   these x-rays at all, it wouldn't make a darn bit of          6   whole hell of a lot better than me. And there's also
 7   difference to us. When I was reading for my group, which     7   pulmonary radiologists that may be better. Gordon Teel's
 8   I did for, you know, God knows, 20-some odd years, along     8   a good example of that.
 9   with my partner, we read all of them for a group that        9        Q.    So, you would trust a Gordon Teel read? If
10   finally wound up being 27 doc's, we'd read a lot of         10   he did not see something you saw, you would second-guess
11   x-rays every day. We didn't have a radiologist being        11   your original read?
12   involved at all. We were considered competent to read       12        A.    Well, of course, what I do, and used to do
13   x-rays in their own right, as a board-certified             13   all the time, was I'd give Gordon a call, or I on several
14   pulmonologist.                                              14   occasions have taken x-rays up to the hospital and said,
15              So, whether he read these or not probably        15   "I'm not sure what we're talking about here. What I'm
16   doesn't make a whole lot of difference.                     16   seeing and what you're seeing seem to be different." And
17        Q.     So, you, as a medical professional, are not     17   then we'll hash it out.
18   interested in what the radiologist across the street has    18        Q.    How often do you do that with Dr. Becker?
19   to say?                                                     19   How often do you call Dr. Becker and say, "I'm not seeing
20        A.    I'm interested in it only because of the fact    20   this," or "You're not seeing this, let's have a meeting
21   of the possibility he may see something that I didn't       21   of the minds"?
22   see. And I think it's always a good idea, if there's        22        A.    Well, when he doesn't see something, I don't
23   something available, to look at it. I mean, I just don't    23   really pursue it particularly. If he sees something that
24   file it. I do look at it. Okay? He's required, the          24   I don't see, and particularly if I'm having some problems
25   hospital's required by law to have a radiologist read all   25   really seeing it, I get on the phone. And we both have

                                                                                                           24 (Pages 90 to 93)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09      Page 26 of 71

                                                       Page 94                                                          Page 96
 1   it on computer. So we can look at the same thing, same       1   here. Okay?
 2   x-ray at the same time.                                      2            And, yeah, maybe sometimes I have said,
 3        Q.    Now, these asbestos diseases, these are life-     3   "Well, Dr. Becker didn't see this. I think this is here.
 4   threatening diseases, correct?                               4   I'm going to get a CT and we'll talk about it." There's
 5        A.    In the long run, yes.                             5   nothing wrong with that.
 6        Q.    So, if another medical doctor, in this case,      6       Q.    But there are --
 7   a radiologist, reads a piece of radiology such that he       7       A.    You're trying to make -- you're really --
 8   does not find an abnormality --                              8   you're trying to make this into something as a wrong way
 9        A.    Uh-huh.                                           9   of practicing medicine. And it is not. This is very
10        Q.    -- suggesting that this person does not have     10   appropriate in medicine. And I think that -- especially
11   a life-threatening disease --                               11   when you are talking about minimal disease.
12        A.    Uh-huh.                                          12            So, don't try to put me on the defensive by
13        Q.    -- you wouldn't call him up to ask about         13   saying that I didn't follow through or do care properly
14   that?                                                       14   because I didn't necessarily tell the patient in the same
15        A.    No, I probably would not.                        15   terms exactly what Becker wrote.
16        Q.    Why not?                                         16       Q.    I am just --
17        A.    Because of the fact that I've got all of the     17       A.    That is wrong.
18   other information. I've probably even got old films that    18       Q.    Well, I'm just trying to understand why that
19   may have shown things and he doesn't see them on the CARD   19   is wrong.
20   film, or he is very little experienced in reading this      20       A.    I've told you why it's wrong. Because I
21   sort of stuff.                                              21   follow through with them.
22        Q.    Do you tell your patients that, that "Dr.        22       Q.    All right.
23   Becker disagreed with me"?                                  23       A.    And I've got another visit that's coming up
24        A.    Oh, sometimes I do, sometimes I don't.           24   that I may go over it with the patient, too.
25        Q.    Why wouldn't you tell a patient that another     25       Q.    But don't you believe a patient has a right

                                                       Page 95                                                          Page 97
 1   medical professional did not think you have a life-          1   to know if another medical professional has disagreed
 2   threatening disease?                                         2   with your opinion?
 3       A.    You know, that's probably -- would be the          3               MR. HEBERLING: Objection, asked and
 4   very best way to confuse an issue. Because basically if      4   answered.
 5   there is minimal changes that are hard to see, that I see    5               THE WITNESS: Yeah. I'm not even going
 6   them and he doesn't, I explain that to the patient. I        6   to answer.
 7   explain it. I say, "Look, these look a little bit            7       Q.    (BY MR. STANSBURY:) Why not?
 8   equivocal, and I'm not sure whether -- what we're            8       A.    Because I have answered it. Okay?
 9   seeing," and then I get a CT-scan.                           9       Q.    You've said --
10            And then I sit down with the patient with the      10       A.    You're pushing me to say that I'm practicing
11   CT-scan and I show him what I see.                          11   wrongly because I don't tell a patient when Dr. Becker
12            And if you look through a large series of          12   doesn't see something. Sometimes there are obvious
13   things that we've done that way, you will find that the     13   things that he doesn't see. Okay?
14   CT-scans more often than not show changes on the CT that    14            There's obvious things that a number of other
15   I read as equivocal on the x-ray and the radiologist read   15   radiologists have not seen as well, that are very
16   as negative.                                                16   apparent when I look at it.
17       Q.    Nonetheless, don't you think the patient is       17            I've got other people in that clinic that I
18   entitled to know that another medical professional does     18   can show x-rays to. I've got people all over the place
19   not think that they have disease?                           19   that I can show it to.
20       A.    You know, you're asking a question that, you      20       Q.    And that's --
21   know, I'm the one that's the person that a buck stops       21       A.    There's no reason why I have to tell them
22   with me, okay? You know, what are we talking about here?    22   that Dr. Becker didn't read this when there's something
23            We're talking about somebody that may have a       23   that's there and it's apparent. And I can show it to the
24   minimal disease at this point, when we are talking about    24   patient that it's there, and I can show it to Brad Black
25   where we disagree, like there may or may not be a plaque    25   or to Mark Heppe, and if they agree with it, or if they

                                                                                                           25 (Pages 94 to 97)
                                      DR. ALAN WHITEHOUSE - by Mr. Stansbury
                          (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09      Page 27 of 71

                                                       Page 98                                                         Page 100
 1   don't agree with it, then we are dealing with an             1                 MR. STANSBURY: Did you catch that, sir?
 2   equivocal situation.                                         2                 COURT REPORTER: Uh-huh.
 3            But you are making it out that I don't tell         3                 MR. STANSBURY: Okay.
 4   Dr. Becker, and there's something -- or tell them that       4       Q.     Are any of those statements consistent with
 5   Dr. Becker read it as negative and there's something         5   an asbestos change, just so I am clear?
 6   wrong with that.                                             6       A.     They might be.
 7            That is absolutely wrong, and you are putting       7       Q.     Emphysema is?
 8   the wrong context on that, and I am really objecting to      8       A.     Yeah. They may be. If the guy's got
 9   it.                                                          9   interstitial lung disease, he may have blebs in both
10       Q.    Okay. Well, I am going to hand you Exhibit        10   lungs.
11   10.                                                         11       Q.     So, emphysema -- You're going to have to help
12       A.    Sure. You'll show me some that say that,          12   me again, sir.
13   too, I'm sure.                                              13       A.     Emphysematous changes mean blebs.
14       Q.    Again, here we see, this is an October 27,        14       Q.     Okay. So, emphysematous changes --
15   2008 x-ray read.                                            15       A.     Yes.
16       A.    Sure.                                             16       Q.     -- could be caused by asbestos exposure?
17       Q.    This one, "No obvious pleural-based               17       A.     Yes, they can. They can be caused by an
18   thickening or plaquing is noted. The patient had some       18   asbestos interstitial disease.
19   mildly prominent chronic appearing interstitial changes."   19       Q.     And the previous paragraph, I guess the
20   And under Impression it says, "No obvious evidence to       20   second paragraph, it says, "The patient has had a
21   suggest previous asbestos exposure."                        21   previous sternotomy with sternal sutures and anterior
22       A.    Okay.                                             22   mediastinal clips from what I suspect represents a
23       Q.    This is very different from the previous two      23   coronary artery bypass."
24   categories.                                                 24             Does that mean this person has had open heart
25       A.    That's right. But if you are going to show        25   surgery?

                                                       Page 99                                                         Page 101
 1   me this one, you had better show me the chart and the        1       A.     Probably. I am sure it is, yes.
 2   x-ray.                                                       2       Q.     "There are no pleural based densities or
 3       Q.    Okay. Let's look at another example. I'm           3   calcifications."
 4   handing you --                                               4             Did I read that correctly?
 5       A.    I don't know what point you're making here.        5       A.     That is correct.
 6       Q.    I am handing you what's marked as Exhibit 11.      6       Q.     So, this person, he finds changes consistent
 7   This is a January 25th, 1999 CT read.                        7   with emphysema, this person has had previous heart
 8            Okay?                                               8   surgery, and he sees no pleural changes, is that correct?
 9       A.    Uh-huh.                                            9       A.     That's correct.
10       Q.    And on this one, this one's a little bit          10       Q.     Okay.
11   longer, the impressions are there are some, and would you   11       A.     That's what it says.
12   help me with the pronunciation of that word, just so we     12       Q.     I'm handing you what's marked as Exhibit 12.
13   are correct? Would you read the impression?                 13   This is a March 23rd, 2006 read by Dr. Becker.
14       A.    What? "Emphysematous changes in both lungs."      14       A.     Uh-huh.
15       Q.    Just wanted to make sure I had that right.        15       Q.     And again the impression. "No obvious
16   What is that?                                               16   evidence to suggest changes from previous asbestos
17       A.    Emphysema.                                        17   exposure."
18       Q.    And what is emphysema?                            18             Is that correct?
19       A.    Lung disease that may be related to smoking       19       A.     Sure. Yeah.
20   or other diseases, chronic asthma, a number of other        20       Q.     Okay. Now, I want to go back to Exhibit 11.
21   things, that creates blebs or hyperinflation.               21   I'm handing you what has been marked as Exhibit 13.
22       Q.    Could you read the next sentence, please?         22             Is Exhibit 13 the same as Exhibit 11?
23       A.    "Previous sternotomy with what appears to be      23                            (Pause in the proceedings).
24   coronary artery bypass draft. Small wedge shaped density    24       A.     I think so. The date of birth is the same.
25   in the lower left lung field is probably scarring."         25       Q.     It is also a January 25th, 1999 CT read,

                                                                                                          26 (Pages 98 to 101)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC            Doc 22766-8          Filed 08/13/09      Page 28 of 71

                                                    Page 102                                                         Page 104
 1   correct?                                                   1       A.    Uh-huh.
 2       A.    Right.                                           2       Q.    This is a medical record generated by you,
 3       Q.     And the person's name is Raymond Siefke,        3   also for Raymond Siefke.
 4   spelled S-I-E-F-K-E --                                     4       A.    Uh-huh.
 5       A.    Siefke.                                          5       Q.    The date of this report record is February
 6       Q.     Siefke?                                         6   28, 2001. And it says as follows, at the top: "Raymond
 7       A.    Uh-huh.                                          7   came back for a recheck of his asbestosis."
 8       Q.     Raymond Siefke?                                 8            Did I read that correctly?
 9       A.    Right.                                           9       A.    Yep.
10       Q.     Date of birth, October 30th, 1921. And once    10       Q.    "I first saw him in January of 1999 with
11   again, as we discussed when we were looking at Exhibit    11   significant abnormalities on his chest x-ray and on his
12   11, Dr. Becker is finding no pleural abnormalities,       12   CT-scan at that time."
13   evidence of coronary bypass surgery, and changes          13            Did I read that correctly?
14   consistent with emphysema.                                14       A.    Uh-huh.
15            Is that correct?                                 15       Q.    Yes, sir?
16       A.    That's right.                                   16       A.    Yes.
17       Q.     Okay. I'm handing you what's been marked as    17       Q.    "Dr. Becker, unfortunately, did not read the
18   Exhibit 14. Exhibit 14 is a medical record by Guy Katz.   18   CT-scan as showing abnormalities."
19       A.    Uh-huh.                                         19            Did I read that correctly?
20       Q.     It is dated November 16, 1994. It is also      20       A.    You did.
21   for Raymond Siefke, is that correct? Top left of the      21       Q.    Okay. And I believe, looking at the date of
22   page, sir.                                                22   January 1999, this is probably referring back to this
23       A.    I think it's the same one.                      23   Exhibit 13, which is a January 25th, 1999 CT read,
24       Q.     The date --                                    24   correct?
25       A.    There are a whole bunch of Siefkes in town.     25       A.    I assume it probably is, yes.

                                                    Page 103                                                         Page 105
 1       Q.    Right.                                           1        Q.    Okay. Why is it unfortunate that Dr. Becker
 2       A.    I'll grant you, it probably is.                  2   is not finding asbestosis within Raymond Siefke?
 3       Q.    Okay. And the Impression here, "Markedly         3        A.   Okay. Now, I'm not even going to answer any
 4   abnormal stress test with reduced functional aerobic       4   more questions about this, unless I have the whole chart.
 5   capacity," and then "Positive EKG" -- excuse me --         5        Q.    Okay. Well, we're under a time constraint
 6   "Positive EKG changes suggestive of ischemia."             6   here put on by your counsel.
 7            Did I read that correctly?                        7        A.   Well, I don't care about the time constraint,
 8       A.    Yes.                                             8   then.
 9       Q.    What is ischemia?                                9        Q.    This is your patient, Dr. Whitehouse.
10       A.    Lack of blood supply.                           10        A.   I know.
11       Q.    That is a heart disease, correct?               11                MR. HEBERLING: Objection, argumentative.
12       A.    Yeah. I got him a bypass, so, this is the       12   Let him finish.
13   same person obviously.                                    13                THE WITNESS: I want the whole chart
14       Q.    Right. And that can cause some serious          14   before I'm going to do this. Because I don't know what
15   problems with somebody having ischemia, correct?          15   else is written about this here. And I want the x-ray.
16       A.    Yes.                                            16   Okay? You get me the x-ray, you get me the whole chart.
17       Q.    Can cause chest pain?                           17   Because I know this guy. I know this guy real well.
18       A.    It can.                                         18        Q.    (BY MR. STANSBURY:) Okay. Can I speak now,
19       Q.    Can cause shortness of breath?                  19   sir?
20       A.    It can.                                         20        A.   Okay.
21       Q.    And this was in 1994.                           21        Q.    We were not given the x-ray or the CT for
22       A.    He had a bypass at some point in time after     22   this person. The CARD Clinic did not have it.
23   that. And my chart would indicate that.                   23             With respect to his whole chart, we are not
24       Q.    I'm handing you what's been marked as Exhibit   24   given whole charts. We have been given in drips and
25   15.                                                       25   drabs, pieces of evidence from the U.S. Government or

                                                                                                       27 (Pages 102 to 105)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09       Page 29 of 71

                                                      Page 106                                                         Page 108
 1   you, through the CARD Clinic.                                1   put in that report any other information you want on
 2            We do not have Raymond Siefke or any of these       2   Raymond Siefke.
 3   individuals' complete records. We have --                    3             At this time in my deposition, with my
 4                MR. HEBERLING: Objection.                       4   limited time, we're going to go forward. And, again, to
 5                MR. STANSBURY: -- selected records that         5   the extent that you want to supplement this in any way,
 6   have been produced to us.                                    6   you are welcome to do so in your next report, sir.
 7                MR. HEBERLING: Objection, argumentative.        7        A.   Okay.
 8   There was a production in 2006 where you obtained six or     8                MR. HEBERLING: Okay, Counsel --
 9   seven hundred charts, and we have produced hundreds of       9                MR. SCHIAVONI: I don't know that I am
10   others.                                                     10   in accord with that last point. But I'm not ratifying
11            So, I don't think it's fair to characterize        11   that. That's all.
12   this as dribs and drabs.                                    12                MR. HEBERLING: Counsel, if he has to
13       Q.    (BY MR. STANSBURY:) Dr. Whitehouse, you said      13   have his chart in front of him and certain films to
14   just a second ago you know Raymond Siefke very well.        14   answer questions, he cannot professionally answer the
15       A.    I do. But, you know, what you've done is          15   question without that. And that's the end of it.
16   you've taken a couple things out of context in the whole    16             So, if you have another deposition, you can
17   thing.                                                      17   further inquire. You will have all the charts once again
18            I took care of this gentleman for a long           18   produced all over again by that time.
19   time. Okay? If this is the same Raymond Siefke that I       19             As you know, you've asked for all the charts
20   know, he committed suicide over a worsening of his lung     20   on all the clients. So, you will have that by the time
21   disease.                                                    21   of the next deposition, and you can further inquire then.
22            I want the rest of the chart. Because there        22        Q.    (BY MR. STANSBURY:) Dr. Whitehouse, I
23   are other readings in the chart. There are readings when    23   respect your desire to look at all of the charts. We do
24   he went through screening with the ATSDR screening. I       24   have this chart. But again, if we're going to do that,
25   don't know what else there is. But I want that.             25   it's going to be either off the record or we are waiving

                                                      Page 107                                                         Page 109
 1       Q.     Dr. --                                            1   the time restriction.
 2       A.    Just because you've got a Becker reading here      2             You're not going to spend my time so you can
 3   that doesn't show anything, doesn't read anything on it,     3   familiarize yourself with a patient you know well.
 4   doesn't necessarily -- doesn't mean that I'm wrong.          4             Do you want to waive the time restrictions?
 5             What you're doing is trying to impeach me          5                MR. HEBERLING: We will not waive the
 6   over that one reading, and I won't let you do it without     6   time restrictions. You can ask the questions at the next
 7   the whole chart.                                             7   deposition.
 8       Q.     Dr. Whitehouse, we're working under a very        8                THE WITNESS: You're -- Now, wait a
 9   strict time limit.                                           9   minute. I've got something so say.
10       A.    Well, look it --                                  10       Q.     (BY MR. STANSBURY:) I'm handing you what's
11       Q.     Let me finish what I was going to say, sir.      11   been marked as Exhibit 17.
12   And you can respond. Okay?                                  12                MR. HEBERLING: Well, let him finish --
13       A.    Yeah.                                             13                THE WITNESS: I have something to say
14       Q.     We are working under very strict time limits.    14   here. Okay?
15   Okay? We do not have all the time to look at the entire     15             You are basically trying to entrap me in this
16   chart to the extent that you've produced the entire         16   by not giving me the chart. If you've got the chart, and
17   chart.                                                      17   you know you've got the chart, you should have brought it
18             However, to the extent that you're willing to     18   here along with this stuff so that I could have looked at
19   waive the time limits, I'm perfectly willing to sit down    19   it. Okay?
20   with the chart with you.                                    20             If you had the x-rays, you should have
21             However, you're not going to prevent us from      21   brought it, or you should have told me you were going to
22   moving forward with this so that you can review somebody    22   discuss this and I would have had it.
23   that you previously have stated you know well.              23                MR. STANSBURY: I would loved to have had
24             Moreover, to the extent that you want to          24   the x-ray and the CT for this person, but they are not
25   supplement your opinion, you have another report, you can   25   produced to us.

                                                                                                         28 (Pages 106 to 109)
                                      DR. ALAN WHITEHOUSE - by Mr. Stansbury
                          (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC            Doc 22766-8           Filed 08/13/09      Page 30 of 71

                                                      Page 110                                                        Page 112
 1                THE WITNESS: Hey, that's not my fault.          1   progression of his asbestosis in the last one year and
 2                MR. HEBERLING: If you wanted to discuss         2   will see him again in six months."
 3   Ray Siefke, you tell us, and we bring in the chart, we       3            Did I read that correctly, sir?
 4   bring the x-rays, and, fine, we can discuss the patient.     4        A.   Yes.
 5        Q.    (BY MR. STANSBURY:) Dr. --                        5               THE VIDEOGRAPHER: Two minutes are left
 6                MR. HEBERLING: But he's got over 800            6   on the tape, Counsel.
 7   patients that he has seen. He can't remember every           7        Q.   (BY MR. STANSBURY:) And at the bottom it
 8   single piece in every record.                                8   says, could you read that note at the bottom? I think it
 9        Q.    (BY MR. STANSBURY:) Dr. Whitehouse, I'm           9   is in your handwriting.
10   going to hand you what has been marked as Exhibit 17.       10        A.   "7-18. P.C. - told he committed suicide
11   "Ray came back for a one-year follow-up for his chest       11   several days ago (from Dr. Black)."
12   problems with a chief complaint that he can't breathe."     12        Q.   Now, Dr. Whitehouse, nowhere in here do you
13             This is dated March 13, 2002.                     13   talk about emphysema, do you?
14             "He is very short of breath. Much worse he        14        A.   No.
15   says in the last year. He said he is waking up short of     15        Q.   Okay. Nowhere in here do you talk about any
16   breath, which is a new phenomenon. He has had a little      16   lingering affects from his previous heart surgery, do
17   trouble with his prostate, troubles with Lasix when he      17   you?
18   gets it, which causes him to have a very large," is it      18        A.   No.
19   "diuresis"? "He is breathing" -- Excuse me. "He says        19        Q.   Okay. Nowhere in here do you talk about the
20   his breathing is progressively worse and he has an          20   loosening of the sternal wires, do you?
21   irritative cough. He doesn't cough much up. His sternum     21        A.   Yes, I do.
22   clicks. He has difficulty sleeping except on his left       22        Q.   Where?
23   side."                                                      23        A.   "Except for the sternal click."
24             Did I read that correctly?                        24        Q.   Okay.
25        A.    That's right.                                    25        A.   "Disruption of his sternum."

                                                      Page 111                                                        Page 113
 1       Q.     All right. Now, below Exam, you have his          1       Q.     Let me make sure I understand your language.
 2   blood pressure at 170 over 80; heart: Negative except for    2   That means the stern click, disruption of the sternum,
 3   the sternal click and the disruption of his sternum. And     3   that means loose sternal wires?
 4   it says, "His chest x-ray now shows a rather marked          4       A.    That means he disrupted his sternum at the
 5   worsening of the interstitial" --                            5   time of his surgery, yes.
 6       A.     No. You forgot something there.                   6       Q.     So, we have an individual who Dr. Becker in
 7       Q.     Oh. Sorry.                                        7   1999 read a CT as being negative with respect to pleural
 8       A.     Why don't you read about the lungs?               8   changes but having emphysema, showing prior evidence of
 9       Q.     Sure. Sure. "Reveal bilateral rales,              9   heart surgery, this person has a diagnosis of ischemia
10   bilateral rubs in both posterior bases and the extent of    10   which causes shortness of breath and chest pain, and yet
11   these is new. At one time I heard a few rales in the        11   you are focusing entirely upon the progression of his
12   past but this is a rather marked difference." Okay. So      12   asbestosis, is that correct?
13   now we see rales, bilateral rales, is that correct?         13       A.    I'll give you an explanation for all of this,
14       A.     Uh-huh.                                          14   because I don't think you understand this.
15       Q.     Okay. "His chest x-ray now shows a rather        15             To begin with, he had a bypass. I had a
16   marked worsening of the interstitial change at the left     16   bypass also. I had a bypass 10 years ago. I'm not short
17   base. He has had continuing loss of his FVC on his          17   of breath. I don't have ischemia anymore. I don't have
18   pulmonary function in spite of the fact that his            18   chest pain. That's very common.
19   diffusion seems pretty well preserved. His vital            19             You get a bypass so that you correct whatever
20   capacity is down to 76 percent. I exercised him and he      20   vessel it was. And I don't know how many graphs he had
21   drops to 84 percent with walking.                           21   at the time.
22             "I obtain oxygen for him and at night and         22             But he had a good result from that. He had a
23   when he was exercising. He is normally saturated at         23   sternum that clicks and it's an irritant, doesn't affect
24   absolute rest. I think we should check him at six weeks.    24   anything else.
25   I did talk to him about what appears to be the              25       Q.     Do you have loose sternal wires, sir?

                                                                                                         29 (Pages 110 to 113)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC             Doc 22766-8           Filed 08/13/09       Page 31 of 71

                                                      Page 114                                                         Page 116
 1               MR. HEBERLING: Objection. He may not             1   of these symptoms, he's got abnormalities, he's got
 2   have finished his answer.                                    2   rales, and the bilateral rales are consistent with this
 3               THE WITNESS: I'm not finished yet. I             3   asbestos disease.
 4   don't have loose sternal wires.                              4       Q.    He didn't read it as abnormal. He read it as
 5            But it doesn't make any difference. I have          5   normal with respect to asbestos changes. He found --
 6   dealt with these for years. I have set up the whole          6       A.    No.
 7   respiratory unit for the cardiac surgery program at          7       Q.    -- emphysema.
 8   Sacred Heart, which is probably where he had his surgery.    8               THE VIDEOGRAPHER: I'm sorry. I'm going
 9               MR. SCHIAVONI: I don't think there is a          9   to have to interrupt, or we're going to lose the tape.
10   question pending, so I would object.                        10   So, we're going to have to go off the record.
11               MR. HEBERLING: He is finishing his              11               MR. STANSBURY: All right. We will go
12   answer.                                                     12   off the record for five minutes, and we will resume then.
13               MR. SCHIAVONI: There is not a question.         13   Stop the time.
14               THE WITNESS: No. But he is trying to            14            Ken, what's the time?
15   impeach me, and I have the right to say something about     15               THE VIDEOGRAPHER: We're going to go off
16   it.                                                         16   the record. The time is approximately 10:19.
17               MR. SCHIAVONI: No. You can answer               17               MR. STANSBURY: Okay.
18   whatever questions your lawyer asks when it's his time to   18                                  (Short recess).
19   ask. But I don't think you can just make speeches.          19               THE VIDEOGRAPHER: This is tape number 2
20               MR. HEBERLING: There is a question              20   of the deposition of Dr. Alan C. Whitehouse. The date is
21   pending, and we can have it read back, if you want.         21   March 19, 2009. The time is approximately 10:32. We are
22        Q.   (BY MR. STANSBURY:) Dr. Whitehouse --             22   now back on the record.
23               MR. HEBERLING: Wait a minute. He's not          23       Q.    (BY MR. STANSBURY:) Now, Dr. Whitehouse, you
24   finished. We agreed that you would let him finish his       24   had requested the x-ray or the CT of Raymond Siefke. I
25   answers.                                                    25   would also like to get a copy, or an original of the


                                                      Page 115                                                         Page 117
 1                  MR. STANSBURY: I will respect the             1   digital versions, to the extent they exist, on CT, of the
 2   agreement.                                                   2   x-rays or the CT's.
 3                  MR. SCHIAVONI: All right. I'm just            3             Would you be willing to produce any x-rays or
 4   going to object to form, that this is not an answer, it's    4   CT's for Raymond Siefke in your possession or CARD
 5   just a speech.                                               5   clinic's possession?
 6                  MR. STANSBURY: Duly noted.                    6                 MR. HEBERLING: There is a procedure for
 7                  MR. SCHIAVONI: There is no question           7   that. Please send us your request.
 8   pending, and I move to strike.                               8                 MR. STANSBURY: We have requested them.
 9                  MR. HEBERLING: Go right ahead and             9                 THE WITNESS: You know, I go up there
10   finish.                                                     10   once a month now.
11                  THE WITNESS: I lost my strain of thought     11       Q.     (BY MR. STANSBURY:) Okay.
12   a little bit, too, here on top of it.                       12       A.     And I've got other things to do besides
13              He had no evidence that any of this problem      13   provide them. If you need those, you can actually make
14   with his heart was causing his problem.                     14   copies of them. They were up there making copies, what,
15        Q.     (BY MR. STANSBURY:) Okay. This is --            15   a couple weeks ago of everything that they didn't have.
16        A.     His pulmonary function abnormality, if he       16             I think you probably already have copies.
17   drops to 84 percent with walking, that's a significant      17   Nobody's trying to keep anything from you over there.
18   degree of hypoxemia. We don't just normally see that        18       Q.     We specifically requested his radiology, and
19   with somebody that's got ischemia or may have had a         19   none was available.
20   bypass. That was due to his asbestos disease.               20             And, so, what I would ask, to the extent that
21              I don't know what Becker read there. I'll        21   you have them elsewhere, other than CARD --
22   show you the x-rays, I'll show you the asbestos disease     22       A.     I don't have them elsewhere. All of my
23   and the interstitial disease.                               23   x-rays are at the CARD Clinic. I brought them all up
24              And that's a good example. Why would I tell      24   there. So, if they've lost them or whatever the case may
25   him that Dr. Becker read it as abnormal when he's got all   25   be, there is nothing that I can do about that.

                                                                                                         30 (Pages 114 to 117)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC             Doc 22766-8           Filed 08/13/09      Page 32 of 71

                                                      Page 118                                                         Page 120
 1       Q.     Okay. So, if it's not at the CARD Clinic,         1       Q.    Okay. But sitting here today, are you aware
 2   you wouldn't have it anywhere else?                          2   of any histological confirmation of Raymond Siefke's
 3       A.     No. I don't have it at home, or anything          3   asbestosis?
 4   like that.                                                   4       A.    I'm not aware of any.
 5       Q.     Okay.                                             5       Q.    Okay. Do you know if an autopsy was
 6       A.     I don't keep any x-rays at home. And it's         6   performed?
 7   possible they might be at the other, the rest of the         7       A.    I don't think it was. But I don't know that.
 8   pulmonary guys might still have it. But I doubt it.          8   It might have been, that I don't know about.
 9   Because they've culled everything.                           9       Q.    Okay. So, sitting here today, you're not
10             Well, that's been seven years. It might be        10   aware of whether there was any confirmation by histology,
11   there. If you can't find it, you'll have to let me know,    11   correct?
12   and I will ask them.                                        12       A.    Correct.
13       Q.     Okay. I am handing you what's been marked as     13       Q.    Histology could determine whether he actually
14   Exhibit 16. This is a March 15th, 1995 record by a          14   had asbestosis, correct?
15   cardiologist, Dr. Guy Katz.                                 15       A.    Oh, it could, sure. Possibly.
16       A.     Uh-huh.                                          16       Q.    Okay.
17       Q.     And this is a patient record for Raymond         17       A.    Possibly it could, and possibly it might not
18   Siefke. And under impression, number 3, "COPD with          18   either. It depends on where they look. Because
19   exacerbation of wheezing."                                  19   sometimes they do very limited autopsies.
20             What is COPD?                                     20       Q.    Who is "they"?
21       A.     COPD may be related to emphysema, it may be      21       A.    Well, in Libby, the mortician has been
22   related to -- it basically is obstructive airways           22   trained, and I don't think he was trained at this time,
23   disease. That is what the abbreviation is for.              23   so there probably wasn't an autopsy, he's been trained by
24       Q.     Could you say the abbreviation out for me,       24   Brad to take lung sampling.
25   what it is, what COPD stands for?                           25       Q.    So, Brad Black, who is a pediatrician,


                                                      Page 119                                                         Page 121
 1      A.     Chronic obstructive pulmonary disease.             1   trained the -- is he a coroner, or what was his position?
 2                MR. STANSBURY: Did you get that, sir?           2       A.    You know, you say that in a way, he's
 3                COURT REPORTER: Uh-huh.                         3   pediatrician, like, you know, it's something
 4       Q.    (BY MR. STANSBURY:) Can COPD be cured?             4   inappropriate.
 5       A.    No.                                                5            No. What he did was he went down and talked
 6       Q.    So, if somebody is diagnosed with COPD, they       6   to the fellow by the name of Schackenberg (phonetic
 7   have COPD, correct?                                          7   spelling) about how you can get -- how you sample lungs,
 8       A.    No.                                                8   which is very easy to do, but you have to do it in six
 9       Q.    Let me rephrase that. If somebody has COPD,        9   quadrants and things like that in order to get adequate
10   they will have it for life, it is not something that can    10   sampling.
11   go away over time, correct?                                 11            And we have a lot of people that already have
12       A.    No. That's true. If they actually have it.        12   given permission, their families have, for autopsies when
13       Q.    Okay. Do you doubt whether he actually had        13   they die with asbestos disease. So -- But I don't think
14   COPD?                                                       14   he had been trained in 2002 to do that, I don't think he
15       A.    I don't have the rest of the records here.        15   had gotten that far at that point.
16   But I know that, from looking at death charts in Libby, a   16       Q.     What kind of experience with autopsies does
17   large percentage of the people that die with asbestos       17   Dr. Black have to permit him to train another as to how
18   disease are called COPD, when there is absolutely no        18   to sample lungs?
19   evidence of it whatsoever in the chart.                     19       A.    You know, you missed the point again. Okay?
20            It is sort of a common nomenclature of family      20   The point is, he just showed him where to get six
21   docs and general physicians, that anything that anybody     21   quadrants of tissue out of the lungs and put them in Form
22   that has trouble with their breathing, they call it COPD.   22   1. That's all he has to do.
23            So, I don't know. You know, you haven't            23            It's no big deal. Anybody can do it. You
24   given me the rest of the chart or the pulmonary             24   could probably train a chimpanzee to do it.
25   functions. And I know you've got them.                      25       Q.     But they usually have a pathologist to do it,

                                                                                                         31 (Pages 118 to 121)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC            Doc 22766-8           Filed 08/13/09      Page 33 of 71

                                                      Page 122                                                        Page 124
 1   correct? Isn't a pathologist usually the person who          1   testified in the criminal case, and you talked about the
 2   would determine whether there was any asbestosis, based      2   fact that your views on pleural disease had changed over
 3   on histology?                                                3   time.
 4       A.    He might. But autopsies are very rarely            4             Is that correct?
 5   done, because the clinicians generally have far more         5       A.     That's correct.
 6   information about it than actually comes out from the        6       Q.     Additionally, you were not aware that there
 7   autopsy, which is strictly the anatomic part of it.          7   was an environmental-only disease in Libby until mid to
 8            The physician, the practicing physician, has        8   the late '90s, is that correct?
 9   the physiology.                                              9       A.     Yes.
10       Q.    So, a chimpanzee could do this?                   10       Q.     Through your work as a pulmonologist,
11       A.    Well, that was maybe a bad crack. But it          11   treating people from Libby, and taking occupational
12   doesn't require anybody very intelligent to get pieces of   12   histories, you've familiarized yourself with, to an
13   lung in the process of embalming a body.                    13   extent, the history of vermiculite operation in Libby,
14       Q.    Okay.                                             14   correct?
15       A.    It's very easy to do.                             15       A.     To some degree, yes.
16       Q.    And then examining that lung?                     16       Q.     Okay. You are aware of when it began?
17       A.    Well, that's up to a pathologist to do it, if     17       A.     Yes.
18   they were going to do it.                                   18       Q.     When did it begin?
19       Q.    So, it is certainly not a chimpanzee that         19       A.     In the 1920s.
20   would do that part?                                         20       Q.     Okay. And it continued to the '30s and '40s
21       A.    No.                                               21   and '50s, correct?
22       Q.    It would be a pathologist that would examine      22       A.     Yes.
23   the lung?                                                   23       Q.     What were the exposures like at that time?
24       A.    That's correct.                                   24       A.     I assume they were quite high.
25       Q.    And if someone were to examine Raymond            25       Q.     Okay. Very high, correct?

                                                      Page 123                                                        Page 125
 1   Siefke's lung and pleura, he or she could have determined    1        A.    Yeah.
 2   whether he had asbestosis, correct?                          2        Q.    And into the '60s, they were also high,
 3        A.    Probably so.                                      3   correct?
 4                 MR. HEBERLING: Objection, asked and            4                 MR. HEBERLING: Objection. Unclear as to
 5   answered.                                                    5   where these exposures are.
 6        Q.    (BY MR. STANSBURY:) Your answer was               6        Q.    (BY MR. STANSBURY:) So, Dr. Whitehouse,
 7   "probably so," sir?                                          7   let's talk about the dry mill, for example. Exposures in
 8        A.    Probably so. But I don't know. It depends         8   the dry mill in the '60s were very high, correct?
 9   on who did it, how much they knew about it.                  9        A.    They were.
10             It's frequent that when you look at the lung,     10        Q.    And it was in the '70s that the wet mill was
11   you cannot make a diagnosis of asbestos bodies or see       11   put in place, correct?
12   asbestos in the lung. That's not unusual at all.            12        A.    Right.
13             The same thing with the pleura. In fact,          13        Q.    And the exposures in the wet mill were far
14   more frequently in the pleura. It's more by visualizing     14   lower than the exposures in the dry mill, correct?
15   it than it is anything else.                                15        A.    I assume so, although I don't know that I've
16        Q.    What about Dr. Sam Hammar. Does he have the      16   seen all the data.
17   competence to make that examination?                        17        Q.    I'm handing you what has been marked as
18        A.    Sure, he does.                                   18   Exhibit 21.
19        Q.    What about Dr. Victor Roggli?                    19             Do you recognize this document?
20        A.    Roggli?                                          20        A.    Oh, yes.
21        Q.    Yes, sir.                                        21        Q.    What is this document?
22        A.    I would think so.                                22        A.    An article by Amandus.
23        Q.    I want to shift gears for a second to another    23        Q.    Okay. Who is Harlan Amandus?
24   issue.                                                      24        A.    Oh, he's somebody that works at NIOSH. He's
25             You know, I was in Missoula when you              25   a Ph.D.

                                                                                                        32 (Pages 122 to 125)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09       Page 34 of 71

                                                      Page 126                                                         Page 128
 1       Q.     Okay. And are you aware that he did a study       1        Q.   And that's --
 2   of the Libby workers in the 1980s?                           2        A.   Fibers per cc.
 3       A.    Yes.                                               3        Q.   And that's a high exposure, correct?
 4       Q.     You're very familiar with this?                   4        A.   Yes.
 5       A.    The '80s or the '70s?                              5        Q.   Somebody who was exposed to that day in and
 6       Q.     I believe he did a study in the '80s. I           6   day out for many years could develop asbestosis, correct?
 7   believe it was published -- This article, Exhibit 21,        7        A.   And did.
 8   which is entitled "The Morbidity and Mortality of            8        Q.   So, that -- Okay. Let's go down to the new
 9   Vermiculite Miners and Millers Exposed to                    9   wet mill (nonmillwright).
10   Tremolite-Actinolite: Part I, Exposure Estimates," was      10        A.   Right.
11   published in the American Journal of Industrial Medicine    11        Q.   And look at the post-1976 exposures. What
12   in 1987, is that correct?                                   12   are the averages there?
13       A.    That's right.                                     13        A.   2.0.
14       Q.     And just so I am clear, the American Journal     14        Q.   Post-'76. Not '75 through '76. Post-'76,
15   of Industrial Medicine, that's where your 2004 article      15   which is the one below that.
16   was published, is that correct?                             16        A.   Oh. 0.8.
17       A.    That's correct.                                   17        Q.   Okay. And how many samples was that based
18       Q.     Along with your 2008 case report on              18   on?
19   mesothelioma cases, is that right?                          19        A.   1200.
20       A.    Right.                                            20        Q.   Okay. So, that's a lot of data, correct,
21       Q.     I have often heard that journal referenced in    21   sir?
22   the same sentence as Dr. Selikoff. Is there a reason for    22        A.   Yes.
23   that?                                                       23        Q.   Okay. And this is, again, a NIOSH report,
24       A.    Well, Landrigan was the editor of the             24   correct?
25   American Journal who actually took over for Selikoff when   25        A.   Yes.

                                                      Page 127                                                         Page 129
 1   he died.                                                     1       Q.    Okay. Now, so, the exposures in the dry mill
 2        Q.    So, Selikoff was the editor of this journal       2   were substantially higher than the post-wet mill
 3   until he died?                                               3   exposures, correct?
 4        A.   I think he was.                                    4       A.    Yes.
 5        Q.    I think he was, too. But if you will turn to      5       Q.    And the dry mill was in operation in the '40s
 6   page 4.                                                      6   and '50s and '60s, correct?
 7                           (Pause in the proceedings).          7       A.    That's correct.
 8        A.   Uh-huh.                                            8       Q.    So, people were exposed in the 1940s to very
 9        Q.    Okay. This is a table, Table III, "The            9   high levels of asbestos, correct?
10   Average f/cc," which I believe is fibers per cubic          10       A.    Yes.
11   centimeter, is that correct?                                11       Q.    And in some cases they brought it home, and
12        A.   Uh-huh.                                           12   that asbestos was unfortunately spread to family members,
13        Q.    The average --                                   13   correct?
14        A.   Yes.                                              14       A.    That's correct.
15        Q.    Good. "The average f/cc Values Calculated        15       Q.    Okay. And people who were exposed at that
16   From Membrane Filter Samples Collected in 1967 through      16   time, the latency period for these diseases vary, but is
17   1982 by Location-Operation and Year."                       17   30 years a reasonable -- is 30 years a reasonable
18             And, so, what we have here is a table that        18   estimate of latency?
19   lists, you know, various exposure levels. And I'm not       19       A.    Oh, I think it's less than that.
20   looking to get too far in the weeds here. I just want to    20       Q.    20 years?
21   establish a couple things. If we look down to dry mill.     21       A.    Well, latency is a very difficult thing to
22        A.   Yes.                                              22   establish, because these people, and Grace's own data,
23        Q.    '67 through '71. What is the average             23   shows that a large number of these people had plaques on
24   exposure?                                                   24   their x-rays within five years.
25        A.   35.9.                                             25       Q.    So, people who are exposed in the 1950s,

                                                                                                         33 (Pages 126 to 129)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09      Page 35 of 71

                                                      Page 130                                                         Page 132
 1   their course of disease in some cases was beginning by       1       Q.    Okay. So, it took you the course of your
 2   the 1960s, correct?                                          2   career to identify the distinct pattern of pleural
 3       A.     Yes.                                              3   disease in Libby, correct?
 4       Q.     And they were going through this continuum we     4       A.    No, not the course of my career. No. I
 5   have discussed, correct?                                     5   identified it within about three or four years of
 6       A.     Right.                                            6   starting to see those people.
 7       Q.     So, if people would have been exposed in the      7       Q.    So, mid 1980s?
 8   '40s and '50s, developing diseases in the '60s and '70s      8       A.    Probably.
 9   and '80s, correct?                                           9       Q.    So, by the --
10       A.     Correct.                                         10       A.    Certainly by the mid-1980s I recognized that
11       Q.     However, and you had the opportunity to treat    11   there was significant pleural disease. You know, I don't
12   many of these people, correct?                              12   keep track of the dates and that sort of thing.
13       A.     Probably a fair number of them. Most of the      13       Q.    Let me make sure I'm clear when I say pleural
14   ones that I treated had started working there after 1960.   14   disease. The idea that the pleural disease in Libby was
15       Q.     Okay. But even those people who started          15   more severe than, say, chrysotile or other forms of
16   working, let's say, in 1960 --                              16   pleural disease, you didn't have that opinion in the
17       A.     Uh-huh.                                          17   1980s, did you?
18       Q.     -- the potential that this continuum, as you     18       A.    Oh, yeah, I did. I did by the end of the
19   call it, could have begun in 1965, correct?                 19   1980s, yeah. By 1990 I surely did.
20       A.     Could have.                                      20       Q.    You testified earlier, however, that it was
21       Q.     Okay. And then the progression occurs from       21   the late 1990s, I believe, at the criminal trial, it was
22   the onset of disease, correct?                              22   in the late 1990s when you started believing that pleural
23       A.     Yes.                                             23   disease in Libby was discussed.
24       Q.     However, these individuals whom you started      24       A.    No. That was then a misstatement, because I
25   seeing in the 1970, 1980, which one?                        25   had known before that that the pleural disease was a

                                                      Page 131                                                         Page 133
 1       A.    1980s.                                             1   different process.
 2       Q.     Okay. So, these people that had been              2            But it was all in miners at that point in
 3   progressing from 1960s who you treated in the 1980s, you     3   time. It was when the environmental cases and the family
 4   never attributed their obstructive disease to their          4   member cases started to become so prolific, that I
 5   asbestos exposure, did you?                                  5   started to look at it more critically.
 6       A.    Now, what time frame are you talking about?        6            I don't remember the exact dates. It might
 7   And specifically? We need to be more specific.               7   have been the early '90s for all I know.
 8       Q.     I will be very specific. My question deals        8            But I know that I saw -- I testified at trial
 9   with people who are exposed in the '50s and '60s.            9   in 1989 relative to pleural disease at that point in
10       A.    Yes.                                              10   time, and I was certainly becoming aware of the fact that
11       Q.     Began progressing soon thereafter, and you       11   there was something different going on.
12   said as soon as five years.                                 12       Q.     Now, you mentioned environmental cases. Were
13       A.    Uh-huh.                                           13   people being exposed to asbestos environmentally in the
14       Q.     And you began treating them in the early         14   1950s?
15   1980s, correct?                                             15       A.    Probably.
16       A.    Right.                                            16       Q.     Okay. Yet you did not see any of these cases
17       Q.     But you did not observe a distinct pleural       17   until the late 1990s?
18   pattern at that time, did you?                              18       A.    You know, I don't have explanations for all
19       A.    No. That was a matter of learning it, as          19   of that. I don't know the answer to that.
20   time went by.                                               20       Q.     Okay.
21       Q.     Okay.                                            21       A.    There is no way I can get the answer to it.
22       A.    In fact there's people, and you probably have     22       Q.     That was my question, was why you weren't
23   got the films, too, that I read as normal in 1980, and      23   seeing this environmental --
24   then I went back when I saw them in '85 and saw that I      24       A.    I have no idea.
25   missed the findings on it.                                  25       Q.     -- disease earlier.

                                                                                                         34 (Pages 130 to 133)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC            Doc 22766-8          Filed 08/13/09       Page 36 of 71

                                                    Page 134                                                         Page 136
 1       A.    I have no idea. Maybe they moved away. A         1       Q.     So, are you familiar with this table?
 2   lot of those people died and they were signed out on       2       A.    Oh, I'm very familiar with it, yes.
 3   their death certificates a COPD. We know that. But I       3       Q.     Now, are you familiar with confidence
 4   don't know the answer to that.                             4   intervals?
 5       Q.    Okay. Now, who is Aubrey Miller?                 5       A.    Yeah. And to begin with, it's a very flawed
 6       A.    He's a gentleman who worked for the EPA.         6   study. They have one case of asbestosis.
 7       Q.    And who is Dan Middleton?                        7            And this was a death certificate study.
 8       A.    He's a gentleman that works for ATSDR.           8   That's all. They didn't look at charts or anything else.
 9       Q.    And what is ATSDR?                               9       Q.     Okay. I understand, sir.
10       A.    What is it? It's toxic disease registry.        10       A.    And the doctors in Libby signed everybody out
11   What are the first two?                                   11   as COPD. I mean, it's garbage in, garbage out.
12       Q.    I think it's the agency for --                  12       Q.     Let's look at that COPD line within Table 8.
13       A.    Agency for toxic disease.                       13       A.    I know that. I know that.
14       Q.    Just so we have it clear.                       14       Q.     And against the Montana SMR and U.S.SMR, and
15       A.    Right.                                          15   in both incidents the confidence intervals include a
16       Q.    Agency for Toxic Substances and Disease         16   range of a value of less than 1, is that correct? Is
17   Registry, is that correct?                                17   that correct?
18       A.    That's right. You've got it.                    18       A.    You know, I'll stick to what I said. It's
19       Q.    And you are aware of the mortality analysis     19   garbage in, garbage out.
20   that they did for 1979 to 1998, is that correct?          20       Q.     Dr. Whitehouse, is that correct, though?
21       A.    Yes.                                            21       A.    Yes. For what it says, yeah, what it says
22       Q.    What is your opinion of that study?             22   there. But it's garbage.
23       A.    It's a very flawed study.                       23       Q.     It's garbage because they only looked at
24       Q.    Why is it flawed?                               24   death certificates?
25       A.    Well, if you show me the --                     25       A.    Yeah. And the way the death certificates

                                                    Page 135                                                         Page 137
 1      Q.     Sure.                                            1   were coded, which was mostly COPD. And I've looked at
 2      A.    -- the chart in there.                            2   those, and they are the same death certificates, and have
 3      Q.     Yeah. I'll give it to you right now.             3   the charts.
 4      A.    Where is mine?                                    4       Q.     And based on that notion, that they are
 5      Q.     Here is your copy right here.                    5   mostly COPD, we should probably see some of the
 6      A.    You've got mine.                                  6   asbestosis deaths classified as COPD, then, correct?
 7      Q.     Sure. Sure. I'll give this back to you.          7       A.     A huge number of them.
 8   No. I will hand you what has been marked as Exhibit 25,    8       Q.     Right. So we have 73 observed COPD deaths.
 9   which is mortality in Libby, Montana, 1979 to 1998.        9   Is that correct?
10      A.    Right.                                           10       A.     Yes.
11                           (Pause in the proceedings).       11       Q.     In the Montana expected was 86.1, is that
12               MR. HEBERLING: Does that have an Exhibit      12   correct?
13   Number?                                                   13       A.     Yes.
14               MR. STANSBURY: 25.                            14       Q.     The U.S. expected was 63.2, is that correct?
15               THE WITNESS: It's got the whole thing in      15       A.     That's what it says.
16   here. I will see where the one page I want is.            16       Q.     Now, the confidence intervals for the SMR's
17      Q.     (BY MR. STANSBURY:) Okay. You go to the         17   for both include a value of less than one, correct?
18   page you want and I'll go to the pages I want.            18       A.     Yes.
19      A.    Well, go ahead.                                  19       Q.     Okay. So, that suggests that there is no
20      Q.     Can you flip back, there are some tables in     20   statistically significant elevation in COP death rate
21   the --                                                    21   within the nonworking population in Libby from 1979 to
22      A.    It's on page 25, is probably what you're         22   1998, correct?
23   going to want me to look at.                              23       A.     No.
24      Q.     All right. Well, Table 8.                       24       Q.     Why?
25      A.    Yep.                                             25       A.     Because the study is so badly flawed that it

                                                                                                       35 (Pages 134 to 137)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC             Doc 22766-8           Filed 08/13/09      Page 37 of 71

                                                     Page 138                                                         Page 140
 1   should not have ever been published in here.                 1        A.   No. Maybe because of being in Libby and
 2       Q.     You said it was badly flawed in part because      2   maybe, these were environmental, excluding workers and
 3   they were sticking asbestos --                               3   all, maybe they were nonsmokers. Maybe the COPD death
 4       A.    No. Because all they did was death                 4   rate might have been very, very low.
 5   certificates.                                                5             Maybe 40 of those deaths are all asbestosis
 6       Q.     Let me finish my question, please.                6   deaths that were miscoded, then the COPD death rate is
 7       A.    Okay.                                              7   lower. I don't know the answer to that. I know the
 8       Q.     You said part of the flaw -- the big flaw of      8   study was badly flawed.
 9   this study was that asbestosis deaths were improperly        9             You mean, only one death from asbestosis?
10   classified as COPD.                                         10   That's ridiculous. I had a half a dozen in my own
11             Now, if that were the case, we should see an      11   practice.
12   elevated level of COPD deaths, were there elevated deaths   12        Q.    From environmental exposure?
13   of either asbestosis or COPD in the non-working             13        A.   Yeah. Not from environmental. I guess, it
14   population, correct?                                        14   excludes workers.
15                MR. HEBERLING: Objection, misstates the        15        Q.    Right. That's the whole point of this, Dr.
16   testimony. He didn't say that was the big flaw.             16   Whitehouse. I'm looking at environmental only. I'm
17                THE WITNESS: This study was done on            17   excluding the working population.
18   death certificates only. Charts weren't reviewed.           18             And I heard your earlier criticism that they
19             And you don't do studies concerning mortality     19   misclassified asbestosis as COPD. And I wanted to look
20   of diseases like this without having looked at the          20   at that a little bit more closely. However, I am not
21   charts.                                                     21   seeing a statistically elevated level of COPD, nor am I
22             Because if you rely on physicians who are not     22   seeing a significantly elevated level of combined causes
23   even aware of the problems that they've got in the          23   of death either. Which combines lung cancer,
24   community to code death certificates, they code most of     24   mesothelioma, COPD, asbestosis and other respiratory
25   them as COPD, or other respiratory things, you know, and    25   diseases.


                                                     Page 139                                                         Page 141
 1   then there's the combined cause, and God knows what that     1            Am I reading that correctly, combined causes?
 2   is. I know very well that it's flawed.                       2               MR. HEBERLING: Objection, asked and
 3       Q.     Dr. Whitehouse, I'm going to repeat the same      3   answered. He said it was crummy data. That's it.
 4   question. I don't think you answered it last time.           4               MR. STANSBURY: I'm going to ask you to
 5             If they were misclassifying asbestosis deaths      5   no longer direct the witness. You can lodge your
 6   as COPD, the deaths still would have showed up as COPD       6   objection, but they should be stated succinctly and not
 7   deaths, correct?                                             7   in a manner to try to steer the witness. Thank you.
 8       A.     Yes. But maybe the COPD rate was lower. I         8       Q.    Dr. Whitehouse, combined causes looks at
 9   don't know. You know, you are asking me to answer a          9   other respiratory, asbestosis, COPD, mesothelioma and
10   question, a hypothetical question, based upon crummy        10   lung cancer, correct?
11   data, and I'm not going to answer it anymore because        11       A.   Yes.
12   there is no way to do it.                                   12       Q.    And there is not a statistically significant
13       Q.     This is not a hypothetical question, Dr.         13   elevated level of death by those combined causes amongst
14   Whitehouse. You are the person who has introduced the       14   the non-working population in Libby from 1979 to 1998,
15   possibility of misclassification of asbestosis death as     15   correct?
16   COPD.                                                       16               MR. HEBERLING: Objection, asked and
17             You do agree that that happens, correct?          17   answered.
18       A.     Yes.                                             18               THE WITNESS: It's crummy data, and I'm
19       Q.     Okay. And if that happened, we would then        19   unable to deal with it anymore.
20   look at the COPD deaths to see if there was an elevated     20       Q.    (BY MR. STANSBURY:) Dr. Whitehouse --
21   level of COPD, correct?                                     21       A.   I know it's crummy data.
22                 MR. HEBERLING: Objection, asked and           22       Q.    Dr. Whitehouse?
23   answered.                                                   23       A.   Yes.
24       Q.     (BY MR. STANSBURY:) We are not seeing that,      24       Q.    I'm just asking what the table says and
25   are we?                                                     25   whether it's accurate. This is from the ATSDR, who you

                                                                                                        36 (Pages 138 to 141)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09       Page 38 of 71

                                                     Page 142                                                         Page 144
 1   have dealt with, working with on your pilot study. This     1        Q.    Well, because you are sitting here, trying to
 2   is a government agency. And I am asking about what they     2   not answer a question, based on --
 3   find based upon a review of death certificates.             3                MR. HEBERLING: Objection, argumentative.
 4               MR. HEBERLING: Objection, asked and             4                MR. SCHIAVONI: I would move on.
 5   answered. You're asking again if he thinks it's             5                MR. STANSBURY: May I finish the
 6   accurate. He's answered that --                             6   question?
 7       Q.    (BY MR. STANSBURY:) Dr. --                        7                MR. HEBERLING: No. You can't finish a
 8               MR. HEBERLING: -- three or four times.          8   question like that.
 9       Q.    (BY MR. STANSBURY:) Dr. Whitehouse, I'm not       9        Q.    (BY MR. STANSBURY:) Dr. Whitehouse, you have
10   asking you for anything other than what the table says.    10   criticized this data and are refusing to answer questions
11   And by combined causes of death, we see no statistically   11   about the data in this study, but you yourself have not
12   significant elevated level of death in the non-working     12   analyzed this data, have you?
13   population from 1979 to 1998, correct?                     13                MR. HEBERLING: Objection, argumentative.
14               MR. HEBERLING: Objection, asked and            14   He has not refused to answer your questions. Ask him a
15   answered.                                                  15   proper question.
16       Q.    (BY MR. STANSBURY:) Correct, sir?                16             Don't answer that question.
17               MR. HEBERLING: Objection. Asked and            17                MR. STANSBURY: Dr. -- Excuse me. Mr.
18   answered.                                                  18   Heberling --
19       Q.    (BY MR. STANSBURY:) Correct, sir?                19                MR. HEBERLING: Go ask a proper question.
20               MR. HEBERLING: Objection, asked and            20                MR. STANSBURY: -- please do not instruct
21   answered.                                                  21   your witness.
22       Q.    (BY MR. STANSBURY:) You may answer the           22                THE WITNESS: He has instructed me not
23   question.                                                  23   to answer the question. I am not going to answer.
24       A.    In reviewing very flawed deaths -- very          24        Q.    (BY MR. STANSBURY:) Is he your lawyer?
25   flawed data, that's what it says.                          25        A.    What?


                                                     Page 143                                                         Page 145
 1       Q.     Okay. We have come to agreement on that,         1       Q.    Does he represent you?
 2   then. You do not agree.                                     2       A.    He represents the Libby people.
 3             What analysis have you done to determine that     3       Q.    Okay. I am asking you a question. You are
 4   the data was flawed?                                        4   not answering questions about --
 5       A.     You know, I haven't done an analysis myself.     5            Did you refuse to answer any more questions
 6   But I'm very tuned to what goes on in Libby and what is     6   about this?
 7   said about this by a variety of people.                     7       A.    No, not about the other. But I am not going
 8             And I'm not even going to try to repeat or go     8   to answer that question.
 9   through everything. But I've been known -- I've known       9       Q.    About the table?
10   for a long time that this was flawed data.                 10       A.    Yeah. You are going to ask me whether or
11       Q.     Let me unpack what you've just said. You        11   not I reviewed the data myself.
12   haven't reviewed this data systematically to analyze       12            No, I didn't review the data myself. You
13   whether it's --                                            13   already know the answer to that.
14       A.     No.                                             14       Q.    Okay. Good. I just wanted to make sure we
15       Q.     -- valid, correct?                              15   are clear on that.
16       A.     No. That information came from people that      16       A.    So, why ask?
17   were in the know about the study and how it was done in    17       Q.    Because you were refusing to answer other
18   the first place.                                           18   questions --
19       Q.     Who were these people in the know?              19               MR. HEBERLING: Objection. He has not
20       A.     I don't know. I can't even remember who it      20   refused. The record will show that he has not refused to
21   was, it's been so darn long ago. This came about in        21   answer other questions.
22   meetings and things like that that I have been to.         22               MR. STANSBURY: Allow me to state my
23       Q.     But just so I am clear, you haven't analyzed    23   questions before stating your objections.
24   this data yourself, then?                                  24               MR. HEBERLING: It's not a proper
25       A.     No, I haven't. Why would I?                     25   question.

                                                                                                        37 (Pages 142 to 145)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09        Page 39 of 71

                                                     Page 146                                                        Page 148
 1       Q.     (BY MR. STANSBURY:) Dr. Whitehouse, you          1          Q.   Okay. Is that your signature at the bottom,
 2   didn't want to answer any more questions about Table 8,     2   sir?
 3   did you? And because, the reason you stated was, you        3       A.    Yes.
 4   didn't like the data in this study, correct? Garbage in,    4       Q.     Okay. Now, is this in any way related to the
 5   garbage out?                                                5   ATSDR pilot study?
 6       A.     That's correct.                                  6       A.    No, I don't think so.
 7       Q.     Okay. Garbage in, garbage out, but you never     7       Q.     Okay. This is about providing materials to
 8   analyzed the data yourself, did you?                        8   EPA.
 9       A.     I did not.                                       9       A.    Yes.
10       Q.     Okay. Thank you. I'm handing you what's         10       Q.     Was there ever a study that came from this?
11   been marked as Exhibit 26. And this is entitled Review     11       A.    I don't think so.
12   of Asbestos-Related Abnormalities Among a Group of         12       Q.     Did you provide any information to EPA?
13   Patients from Libby, Montana, A Pilot Study of             13       A.    I don't know. I don't think so. I doubt I
14   Environmental Cases, Final Report, August 2002.            14   did.
15       A.     I'm aware of this.                              15       Q.     Okay.
16       Q.     Okay. And in fact you weren't just aware of     16       A.    But I don't know.
17   this, you were involved in this, weren't you, sir?         17       Q.     Why would you be seeking Jon Heberling's
18       A.     Yeah. I provided the cases.                     18   permission to send patient records, your patients, to
19       Q.     And you worked with Dan Middleton on this,      19   EPA?
20   correct?                                                   20                MR. HEBERLING: Objection, misstates the
21       A.     Well, basically, I provided the cases that I    21   letter. It doesn't necessarily mean patient records.
22   thought were environmental cases.                          22                THE WITNESS: I'm not even -- I don't
23       Q.     Okay.                                           23   even recall what this was about.
24       A.     And then they took it from there.               24                         (Pause in the proceedings).
25       Q.     Okay. Did you have any involvement with them    25                THE WITNESS: I have no idea. I can't

                                                     Page 147                                                        Page 149
 1   after they took it from there, as you put it?               1   even recall.
 2       A.    No.                                               2       Q.     (BY MR. STANSBURY:) Okay. Well, I'm handing
 3       Q.    Okay.                                             3   you what has been marked as Exhibit 28. This is a
 4       A.    None at all.                                      4   deposition of Dan Middleton, taken in the cost recovery
 5       Q.    I hand you what has been marked as Exhibit        5   action.
 6   27. It is a letter dated March 21st, 2001, from you to      6             You mentioned that Dan Middleton was one of
 7   Jon Heberling, attorney.                                    7   the individuals you had worked with on the ATSDR pilot
 8            And that is Jon Heberling sitting next to          8   study. You provided him with cases, correct?
 9   you, correct?                                               9       A.    Yeah.
10       A.    Uh-huh.                                          10       Q.     Okay. I'd like to direct you to page 13 of
11       Q.    Yes, sir?                                        11   his sworn testimony. And if you look right here where my
12       A.    Yes.                                             12   finger is pointing, which doesn't have line numbers, but
13       Q.    And focusing on the second -- third              13   about a fourth of the way down the page.
14   paragraph, "The second issue that came up concerning,"     14                "QUESTION: When you made this request of
15   and this name has been redacted, "is that the EPA has      15   Dr. Whitehouse, how many people did he identify?
16   asked me about patients I might have that have asbestos    16                "ANSWER: 27.
17   only from insulation and having worked outside of Libby.   17                "QUESTION: 27? At any time did he tell
18   I guess this is of some importance to them as far as       18   you there were more than 27?
19   their getting funds for their continuing investigation.    19                "ANSWER: I think that there was a cutoff
20   I would wonder how you feel about releasing data on a      20   point. I think that he gave us -- I would have to go
21   confidential basis to the EPA concerning" blank. "It       21   back to the protocol, but I believe there were up
22   would be all right with" blank "to do so but I thought I   22   through -- well, I don't remember exactly what it was to
23   would check with you first."                               23   be honest with you, but it was sometime between when we
24            Do you remember writing this letter, sir?         24   started in 2000 and the report. But, there was a cutoff
25       A.    No.                                              25   point and he did indicate that there were more, but I

                                                                                                        38 (Pages 146 to 149)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC             Doc 22766-8           Filed 08/13/09      Page 40 of 71

                                                     Page 150                                                          Page 152
 1   believe he identified he had seen up to a certain point.     1               "QUESTION: And --
 2                "QUESTION: Certain point in time?               2               "ANSWER: Yes. He did call me at least
 3                "ANSWER: Yes.                                   3   once to discuss it.
 4                "QUESTION: But you believe that he told         4               "QUESTION: And can you" --
 5   you that there were actually more than 27?                   5            Answer, they're talking over each other.
 6                "ANSWER: Yes.                                   6               "ANSWER: Well, I can't recall if I
 7                "QUESTION: And what did you do with that        7   called him or he called me but we talked.
 8   information that there were more than 27, did you want to    8               "QUESTION: You had a conversation.
 9   get that information?                                        9               "ANSWER: Yes.
10                "ANSWER: We didn't pursue that. We had         10               "QUESTION: What was the nature of
11   to have some cutoff point, so we selected a cutoff          11   what -- what did he express to you about these findings?
12   point."                                                     12               "ANSWER: He was very upset that the
13            Did I read that correctly, sir?                    13   B-readers had not confirmed his reading of x-rays.
14       A.    Yes.                                              14               "QUESTION: And did he give you any
15       Q.    So, you had more than 27, but you only            15   opinion? What did he tell you about the B-readers
16   provided 27 to ATSDR, is that correct?                      16   results? What did he say about it?
17       A.    I provided all I had up to the cut-off point      17               "ANSWER: I don't remember specifically.
18   that they gave me.                                          18   He was upset that they had disagreed with him and
19       Q.    Okay.                                             19   certainly believed he was correct.
20       A.    And I don't know how many more I had after        20               "QUESTION: Did he ask you to redo the
21   that.                                                       21   study with respect to those people?
22       Q.    And how many of those individuals were            22               "ANSWER: I think he -- not redo the
23   determined to have only environmental exposure?             23   study, I think he was -- his first question -- what we do
24       A.    In that 27?                                       24   is a case series and he asked if we could just leave
25       Q.    Yes, sir.                                         25   those out.

                                                     Page 151                                                          Page 153
 1       A.    There were eight of them.                          1               "QUESTION: And you didn't leave them
 2       Q.     So, out of the 27, eight had environmental        2   out, though, right?
 3   exposure, correct?                                           3               "ANSWER: No.
 4       A.    Yeah. And basically what they did was they         4               "QUESTION: Why not?
 5   went through every little single detail about it, and        5               "ANSWER: It wouldn't have been a
 6   were able to find another exposure, and they were very,      6   complete -- it would have been inappropriate."
 7   very strict about the thing, to get down to those eight.     7            Did I read that correctly, sir?
 8       Q.     Okay. I'm going to ask you to turn to page        8       A.   Yes.
 9   18, please. Now, these x-rays for these individuals were     9       Q.    Do you recall this conversation of Mr.
10   classified by B-readers, correct?                           10   Middleton?
11       A.    I think they were, yeah.                          11       A.   I don't recall that conversation. And I want
12       Q.     Three B-readers, actually, right? I'm going      12   to go down about another line, too.
13   to read, and please follow along with me toward the top     13       Q.    Okay. Sure.
14   of the page.                                                14       A.   "QUESTION: Did he ever threaten to take his
15                "QUESTION: With respect to these four          15   name off your poster?
16   that the reviewers and your study had found did not have    16               "ANSWER: Yes."
17   lung changes consistent with asbestos-related disease,      17       Q.    Answer, yes. Okay. So, you were upset and
18   how did Dr. Whitehouse react to that?                       18   you threatened to take the name off the poster, is that
19                "ANSWER: He was upset.                         19   true?
20                "QUESTION: Did he tell you why he was          20       A.   No.
21   upset?                                                      21       Q.    You never threatened --
22                "ANSWER: I don't think so.                     22       A.   No. That's an absolute wrong.
23                "QUESTION: How did he express that state       23       Q.    So, you do not agree with what Mr. Middleton
24   of being upset, did he call you?                            24   has said under oath?
25                "ANSWER: Yes.                                  25       A.   No. I never talked to him about that at all.

                                                                                                         39 (Pages 150 to 153)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC            Doc 22766-8           Filed 08/13/09      Page 41 of 71

                                                      Page 154                                                         Page 156
 1   I never would have said that. You know --                    1   and that -- You laugh, but that is exactly what he
 2       Q.    Did you have a reaction --                         2   thought.
 3       A.    I didn't have this reaction about being upset      3       Q.    I spilled something on myself. That's why I
 4   either. I called him -- or he called me, one or the          4   laughed.
 5   other, to talk it over with him about what the               5       A.    But he had been writing about it and various
 6   B-readers --                                                 6   things, had been testifying on behalf of the Canadian
 7            These were people, some of whom had fairly          7   government. And it just felt pretty inappropriate to use
 8   subtle findings on their x-rays that I, you know, that I     8   him.
 9   gave him the names to. Perhaps maybe what we need to do      9       Q.    Okay. So, his opinions on the toxicity --
10   is go back and get all of those names out of there and      10       A.    I don't know anything about him, to tell you
11   then go back and look at the x-rays again and see what      11   the truth, other than that. That's about the total
12   happened subsequently to them.                              12   extent of my knowledge.
13       Q.    That would be great.                              13       Q.    Were you aware that he did a review of the
14       A.    Get the whole charts.                             14   ATSDR pilot study?
15       Q.    That would be great. If I requested that          15       A.    No.
16   through Mr. Heberling, would you be willing to give me      16       Q.    Okay. I'm going to hand you what has been
17   the names of the individuals who were in the ATSDR pilot    17   marked as Exhibit 31. And this is a letter to Donna
18   study?                                                      18   Rossie, ATSDR, from Bruce Case, and it is a "Review of
19       A.    I don't even have them anymore.                   19   the Asbestos-Related Abnormalities Among a Group of
20       Q.    You don't have them anymore?                      20   Patients from Libby, Montana: A Pilot Study of
21       A.    I don't. Dan Middleton has them. It was all       21   Environmental Cases."
22   confidential. He has the names, though, at this point.      22            And most specifically, I want to direct you
23       Q.    Okay.                                             23   to page 3, please.
24       A.    Or he has the numbers that would allow it to      24                         (Pause in the proceedings).
25   be found. It was a long time ago.                           25       A.    Page 3?

                                                      Page 155                                                         Page 157
 1       Q.    Okay. Okay. I'm handing you what's been            1       Q.     Yes, sir. The page number at the bottom of
 2   marked as Exhibit 30.                                        2   page 3 --
 3            First let me ask you, do you know who Bruce         3       A.    There is no number.
 4   Case is?                                                     4       Q.     Is there a Bates number on the far right?
 5       A.    Oh, yes.                                           5       A.    Yeah.
 6       Q.    Who is Bruce Case?                                 6       Q.     Okay. If you look at 2009_05840.
 7       A.    He is an investigator at McGill, I think.          7                MR. HEBERLING: I'll object. I think
 8       Q.    I'm handing you what's been marked as Exhibit      8   you're asking the witness to comment on a document that
 9   30, and it says, Libby Claimants' Disclosure of Potential    9   you haven't established that he's ever seen before.
10   Expert Witnesses, and at the bottom first page, Bruce       10       Q.     (BY MR. STANSBURY:) Have you ever seen this
11   Winston Case, M.D., M.Sc, Dipl. Occ. Hyg., F.R.C.P.(C.),    11   document before?
12   and he is at the Department of Pathology, Montreal          12       A.    I've never seen it before. I have no idea
13   General Hospital.                                           13   what it is.
14            Now, I understand that this individual is no       14       Q.     Okay. I'm going to read from the second
15   longer an expert witness for the Libby claimants. But it    15   paragraph. Tell me if I read there correctly, please.
16   appears that he was initially named as one. And if you      16   "The term 'disease' is misapplied, or perhaps just
17   look on the next page, so was Arthur Frank and yourself.    17   inadequately explained, to" --
18            Were you aware that Bruce Case was                 18       A.    Where are you?
19   potentially an expert witness on behalf of the Libby        19       Q.     Oh. I'm sorry. I am in the second to last
20   claimants?                                                  20   paragraph, the first sentence, "The term disease."
21       A.    At one time I do remember that, yes.              21       A.    Yes.
22       Q.    Do you remember why he was no longer included     22       Q.     "The term 'disease' is misapplied, or perhaps
23   as an expert witness?                                       23   just inadequately explained, to 'pleural plaques.' Most
24       A.    I think actually it was because of the fact       24   scientists in this area do not consider pleural plaques a
25   that he felt that chrysotile was not a toxic substance,     25   'disease,' but a marker of exposure. There also seems to

                                                                                                         40 (Pages 154 to 157)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09       Page 42 of 71

                                                      Page 158                                                         Page 160
 1   be an unclear separation in some of the tables between       1   they wound up selecting the whole thing.
 2   diffuse pleural fibrosis (which is a very serious            2       Q.    So, to what --
 3   disease) and pleural plaques."                               3       A.    I mean, because that was of something that
 4            Did I read that correctly, sir?                     4   had not been significantly described previously in Libby.
 5        A.   Uh-huh.                                            5   That was the only reason for the pilot study.
 6        Q.   Yes, sir?                                          6       Q.    You say "they." Are you talking about Aubrey
 7        A.   Yes.                                               7   Miller?
 8        Q.   Okay. Do you agree with that statement?            8       A.    I'm talking about Aubrey Miller and Dan
 9        A.   No. Because in fact the ATS in their 2004          9   Middleton. You know, we provided all the films and the
10   statement, they finally decided that pleural plaques are    10   charts and things. I got releases from all the patients
11   a disease.                                                  11   to do it.
12        Q.   We will look at that statement in a little        12       Q.    And, so, would you say that your conversation
13   bit.                                                        13   with them is what really informed them on the potential
14            Let's turn to page, I guess it's actually the      14   of environmental disease?
15   next page, 2009_05841, first paragraph. "Goals and          15       A.    Would you repeat that?
16   Objectives: These are clearly enough stated, but suffer     16       Q.    Was your conversation with them what informed
17   from the deficits inherent in the above comments. In        17   them about the potential for environmental disease?
18   addition, even accepting the validity of a search for       18       A.    Oh, basically --
19   so-called 'environmental' disease as a separate category,   19                MR. HEBERLING: Objection, lack of
20   the authors fail to verify whether or not their subjects    20   foundation, hearsay.
21   actually had exposure at the vermiculite mine."             21       Q.    (BY MR. STANSBURY:) You can answer, sir.
22            Do you agree with that statement?                  22       A.    I'm not sure how to answer that. I mean,
23               MR. HEBERLING: Objection. This is a             23   basically I told them that I thought that there was
24   document he said he's never seen before.                    24   environmental cases there of pleural disease. Okay?
25                         (Pause in the proceedings).           25       Q.    All right.

                                                      Page 159                                                         Page 161
 1                 THE WITNESS: "Exposure at the                  1       A.    And you're saying, well, they didn't have
 2   vermiculite mine." These are environmental cases.            2   disease. Well, according to the ATS, they do have
 3             This study came about because I had a number       3   disease, and at the time I thought they had disease, too.
 4   of cases that appeared to be just environmental              4       Q.    I'm not saying that. I'm handing you a
 5   exposures, and just people that lived in Libby.              5   document by Bruce Case who earlier was named as an
 6             So, they may or may not actually have had          6   expert.
 7   exposures to the mine. They probably did not. I didn't       7       A.    This is sort of garbage, too.
 8   think they did at the beginning. Now, maybe they did and     8       Q.    Well, look at 2009_05847.
 9   I didn't know about it.                                      9                          (Pause in the proceedings).
10             That's why the pilot study was done, was to       10       A.    Uh-huh.
11   look for that sort of stuff, that's the reason it was       11       Q.    At the very bottom, "Select the appropriate
12   done in the first place.                                    12   category below." He indicates that he did not recommend
13        Q.    Do you agree with this criticism?                13   this study. Correct?
14        A.   No. What's he criticizing, and for what           14       A.    "Recommended changes or reasons for not
15   reason?                                                     15   recommending." "Not recommended." What does that mean?
16                           (Pause in the proceedings).         16                           (Pause in the proceedings).
17        A.   I don't get it. It was a pilot study just to      17       Q.    You don't understand what he means by "not
18   demonstrate that there were a number of cases that truly    18   recommending"?
19   were environmental.                                         19       A.    No. I haven't the slightest idea what he
20             All the rest of the stuff that you've got         20   means.
21   here is just all sort of tangential.                        21       Q.    Okay.
22             That's the whole reason for doing it. That's      22       A.    I wish you would explain to me what that
23   the reason they came to my office, because they knew that   23   question means.
24   I had said that I had environmental cases, and provided     24       Q.    I believe it means that he's not recommending
25   all the x-rays and all the other stuff for them, and then   25   that they publish the study.


                                                                                                         41 (Pages 158 to 161)
                                      DR. ALAN WHITEHOUSE - by Mr. Stansbury
                          (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC             Doc 22766-8           Filed 08/13/09        Page 43 of 71

                                                      Page 162                                                         Page 164
 1       A.     It doesn't say that. It says "appropriate         1       Q.     And that was after Dr. Selikoff's work?
 2   category below (list recommended changes or reasons for      2       A.     Yeah. It says "Pleural plaques are usually
 3   not recommending)." He just says not recommending --         3   asymptomatic, and without clinically important findings."
 4   "Not Recommended."                                           4             Well, there's been numerous articles that
 5             What does that mean? He didn't recommend any       5   show that pleural plaques are associated with pulmonary
 6   changes. It doesn't say anything about whether to            6   function abnormalities, and they obviously go on and
 7   publish it or not.                                           7   develop it.
 8       Q.     Okay. Fair enough. Now, we've talked              8             You know, basically it's wrong, and the ATS
 9   earlier about this continuum disease and we've talked        9   finally recognized that it was wrong. So, regardless of
10   about pleural plaques and we've talked about diffuse        10   what they put out, it's wrong.
11   pleural thickening.                                         11       Q.     Let's turn to the last page of that document,
12             We haven't talked as much about asbestosis.       12   please.
13   Now, you've talked about this with individuals before.      13       A.     Okay.
14   You believe, if I understand correctly, that pleural        14       Q.     2009_04736.
15   changes can be classified as pleural asbestosis, is that    15       A.     Okay.
16   correct?                                                    16       Q.     On this page if you look at the beginning --
17       A.     That's correct.                                  17   the end of the previous page, you see the list of
18       Q.     And you cite as your basis for this, the work    18   participants.
19   of Dr. Irving Selikoff, correct?                            19       A.     Yeah. So?
20       A.     Well, part of it. Also, my own observations      20       Q.     Do you know John Dement, are you familiar
21   that it's all part of a continuum. You go from plaque to    21   with him?
22   pleural thickening to interstitial disease.                 22       A.     Well, where are you on this page?
23       Q.     But in terms of just the origin of the term,     23       Q.     Top of 2009_04736, top left, first line, John
24   that is a Selikoff term, correct?                           24   Dement. Do you see that, sir?
25       A.     Yeah. But it gets used more and more all the     25       A.     I'm familiar with the name.

                                                      Page 163                                                         Page 165
 1   time. I see it in the literature all the time now.           1         Q.   He used to work at NIOSH, correct?
 2       Q.     I hand you what has been marked as Exhibit        2         A.   He did.
 3   34. And this is entitled "Asbestos, asbestosis, and          3         Q.   He was a signatory to this document, wasn't
 4   Cancer: the Helsinki criteria for diagnosis and              4   he?
 5   attribution."                                                5       A.    He was.
 6             Are you familiar with this consensus report        6       Q.    At the bottom of that same column, John E.
 7   document?                                                    7   Parker (National Institute for Occupational Safety and
 8       A.    I've seen this report, yes.                        8   Health, United States)."
 9       Q.     Have you read it before?                          9            Are you familiar with Dr. Parker?
10       A.    A long time ago.                                  10       A.    Yes.
11       Q.     Okay. If you will turn to the second page,       11       Q.    Who is Dr. Parker?
12   2009_04732. Do you see that?                                12       A.    Wait a minute. That's a different Parker.
13       A.    Uh-huh.                                           13   I'm not familiar with him.
14       Q.     And on the second column under "Pleural          14       Q.    Okay. You're familiar with the Amandus
15   disorders," are you following me?                           15   study?
16       A.    Uh-huh.                                           16       A.    Right. He is one of the authors on that.
17       Q.     First paragraph, last sentence. Tell me if I     17       Q.    He was not. But are you aware that he was
18   read this properly. "Avoidance of the term 'pleural         18   one of the individuals who traveled with Harlan Amandus
19   asbestosis' is recommended. Pleural plaques are usually     19   to explain the findings of the study to the Libby
20   asymptomatic, and without clinically important findings."   20   workers?
21             Did I read that correctly, sir?                   21       A.    I was not aware of that.
22       A.    Yes.                                              22       Q.    Are you aware that he's also a pulmonologist,
23       Q.     And this is from the Scandinavian Journal of     23   such as yourself?
24   Organ Environmental Health, 1997, correct?                  24       A.    There is no way I would be aware of that.
25       A.    That's correct.                                   25       Q.    Are you familiar with the Peipins study? I

                                                                                                          42 (Pages 162 to 165)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC            Doc 22766-8           Filed 08/13/09      Page 44 of 71

                                                     Page 166                                                         Page 168
 1   believe Dr. Black --                                        1   correct?
 2       A.    I am.                                             2       A.     Well, why would he? This is in '97. This is
 3       Q.    And that was also part of the ATSDR screening     3   long before the whole business with Libby broke.
 4   study, correct?                                             4       Q.     Well, he was in --
 5       A.    Yes.                                              5       A.     And he wasn't looking -- There would be no
 6       Q.    Were you aware that Dr. Parker was the tie        6   reason for him to really do so when they were looking
 7   breaking B-reader in that study?                            7   strictly at miners when the Amandus study was done.
 8       A.    No, I was not.                                    8       Q.     But there is no mention by Dr. Parker that,
 9       Q.    You were aware that Dr. Lockey was a reader       9   having worked with Dr. Amandus, I see a different
10   in that study, correct?                                    10   experience with respect to pleural disease in Libby?
11       A.    Oh. You're talking -- This is not John           11       A.     I don't know. I haven't even talked to him.
12   Parker.                                                    12   I don't even know what his thoughts are on it. I have no
13       Q.    Jack Parker?                                     13   idea.
14       A.    Jack Parker. Okay. That's who we're talking      14       Q.     What about Dr. Victor Roggli?
15   about now. I know who that is.                             15       A.     I know who he is.
16       Q.    So, we're talking about, he goes by John, I      16       Q.     Okay. I am handing you what is marked as
17   guess, in his formal --                                    17   Exhibit 35. And this is "Asbestos-Related Disease
18       A.    No. He goes by Jack.                             18   Associated with Exposure to Abestiform Tremolite."
19       Q.    So, we're talking about John or Jack Parker.     19       A.     Uh-huh.
20       A.    We're talking about Jack Parker. We all know     20       Q.     And the authors are Sharon Srebro,
21   who Jack Parker is.                                        21   S-R-E-B-R-O, and Victor Roggli, R-O-G-G-L-I. And this
22       Q.    So, let me kind of ask you those previous        22   was published again in the American Journal of Industrial
23   questions then, just under this new understanding.         23   Medicine in 1994, is that correct, sir?
24            Were you aware that he travelled with Dr.         24       A.     That's right.
25   Amandus to Libby?                                          25       Q.     Are you familiar with this study?

                                                     Page 167                                                         Page 169
 1       A.     No, I was not aware of that.                     1        A.     I think I've read it sometime along the line.
 2       Q.     Okay. You are aware that he was the tie          2   I don't remember when, though.
 3   breaking B-reader?                                          3        Q.     But this isn't the first time you've laid
 4       A.     Yes.                                             4   eyes on this, correct?
 5       Q.     You are aware that he was a co-author of the     5        A.     No, I don't think so.
 6   ATSDR CT study, correct? The Muravov study?                 6        Q.     And, again, this was before the Helsinki
 7       A.     I am not aware of that. I don't remember         7   criteria document, correct?
 8   that for sure.                                              8        A.     Way before.
 9       Q.     Okay. Are you aware that he is currently         9        Q.     Well, not way before. Three years. If you
10   reading x-rays from Libby for ATSDR at this time?          10   would turn to page 2009_08079.
11       A.     I'm not sure whether he's reading them now or   11                             (Pause in the proceedings).
12   not.                                                       12        A.     All right.
13       Q.     You're aware that there's an ongoing ATSDR      13        Q.     At the top of the page, I guess it's the
14   analysis, correct?                                         14   first full sentence after the Roggli and Longo cite, "The
15       A.     Well, we have taken over the Massa study.       15   other (case 2) was a man who lived near a vermiculite
16   That is now to my knowledge all being done through the     16   processing plant during the first 20 years of his life
17   clinic, and they are being sent to Lynch and to Newell.    17   and, as a child, sometimes played in the piles of
18   And I don't know that there is other readings.             18   vermiculite tailings. The longest tremolite fibers
19             I have not seen Parker's name on a reading       19   detected in this study were in this patient, with many
20   for a long time.                                           20   greater than 100 microns in length. Representative
21       Q.     But you are aware that he was a reader in       21   scanning electron micrographs from this case are shown in
22   2000 and 2001?                                             22   Figure 1."
23       A.     Oh, he was back then, yeah.                     23              Did I read that correctly, sir?
24       Q.     Now, nowhere in this document does he carve     24        A.     Yeah.
25   out Libby from the description of pleural plaques,         25        Q.     So, clearly he has familiarity with tremolite

                                                                                                        43 (Pages 166 to 169)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09      Page 45 of 71

                                                     Page 170                                                         Page 172
 1   from vermiculite, correct?                                  1   definition for asbestosis. But it doesn't say anything
 2                MR. HEBERLING: Objection. Unclear as to        2   about anything else.
 3   who "he" might be.                                          3       Q.     That's right. There's no mention of pleural
 4       Q.     (BY MR. STANSBURY:) Dr. Roggli. Is that          4   asbestosis as a means of diagnosing asbestosis, correct?
 5   correct, sir?                                               5       A.     Why would there have to be?
 6       A.    Well, of course -- Okay. You're talking           6       Q.     Why would there be if it wasn't asbestosis?
 7   about tremolite. Are you talking about South Carolina,      7       A.     Well, you know, I have no idea why he
 8   vermiculite processing plant, or are you making the         8   selected that, why he doesn't deal with anything else at
 9   assumption it was Libby?                                    9   the time, except that at that time that was the same time
10             Because there is indeed two tremolite            10   people thought that plaques were not a disease and were
11   vermiculite processing plants that W.R. Grace owns in      11   pretty much ignoring pleural disease, and were also in
12   South Carolina to my knowledge. Is that where it came      12   this article talking about tremolite and not about what
13   from?                                                      13   was going on at Libby.
14             Because, you know, if they are analyzing all     14             So, I am not quite sure how this fits in.
15   of this stuff, they would have found that it wasn't        15       Q.     So, you are not aware of whether that
16   tremolite to begin with.                                   16   tremolite was from South Carolina or Libby?
17       Q.     And if you would turn to page 2009_08077, I     17       A.     I have no idea.
18   believe it is actually two pages earlier than where you    18       Q.     But that would be relevant to Dr. Roggli's
19   are now.                                                   19   understanding of disease from tremolite in Libby,
20       A.    Uh-huh.                                          20   correct?
21       Q.     The paragraph underneath the table, do you      21       A.     It might be. It might not be.
22   see where I am at?                                         22       Q.     Again, though, Dr. Roggli is signatory of the
23       A.    Uh-huh.                                          23   Helsinki criteria, who at least had experience with
24       Q.     Yes, sir?                                       24   asbestosis caused by exposure to tremolite, made no
25       A.    I see it.                                        25   reference in the Helsinki criteria to a different

                                                     Page 171                                                         Page 173
 1       Q.     I guess it's the second full sentence, "The      1   criteria for looking at pleural disease in Libby,
 2   diagnosis of asbestosis was confirmed by one of the         2   correct?
 3   authors using the histologic criteria set forth by the      3       A.     No.
 4   Pneumoconiosis Committee of the College of American         4       Q.     Okay. I'm handing you what's been marked as
 5   Pathologists and the National Institute for Occupational    5   Exhibit 36. Do you recognize this document, sir?
 6   Safety and Health, which defines the minimum criteria       6                            (Pause in the proceedings).
 7   permitting the diagnosis of asbestosis as 'demonstration    7       A.     Well, this is the old ATS one, I take it,
 8   of discrete foci of fibrosis in the wall of respiratory     8   isn't it?
 9   bronchioles associated with accumulations of asbestos       9       Q.     Yes, sir. The 1986 ATS statement. And if
10   bodies.'"                                                  10   you could turn to page 2, which is 2009_00054.
11             Do I have that correct, sir?                     11       A.     Uh-huh.
12       A.     Uh-huh.                                         12       Q.     On the far left column, second to last
13       Q.     Yes?                                            13   paragraph, under the heading "Pulmonary Asbestosis,
14       A.     Yes.                                            14   Definition." I am going to read, and please tell me if I
15       Q.     And the cite is the Craighead?                  15   read this correctly. "The term asbestosis should be
16       A.     What?                                           16   reserved for the interstitial fibrosis of the pulmonary
17       Q.     The cite is the Craighead?                      17   parenchyma in which asbestos bodies or fibers may be
18       A.     Yes.                                            18   demonstrated. While pleural abnormalities are commonly
19       Q.     That is defining asbestosis based on            19   associated with parenchymal disease, they should be
20   interstitial fibrosis, correct?                            20   separately classified as there are differences between
21       A.     Yeah. Basically, yes.                           21   pleural and parenchymal fibrosis in epidemiology,
22       Q.     Not fibrosis of the pleura, correct?            22   clinical features and prognosis."
23       A.     Well, all he's talking about right there is     23             Did I read that correctly?
24   defining diagnosis related to foci in the respiratory      24       A.     Yeah. You read it right. Except it has been
25   bronchioles. Yeah. That's fine. That's an okay             25   18 years until the next ATS study. Clinical thinking has

                                                                                                        44 (Pages 170 to 173)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09        Page 46 of 71

                                                     Page 174                                                           Page 176
 1   changed.                                                    1       A.     I've got it.
 2       Q.    Okay. But as of 1986, the 1986 study, based       2       Q.     Second paragraph. Tell me if I have read
 3   on the 1986 ATS statement, asbestosis was defined as        3   this correctly. "Asbestosis specifically refers to
 4   parenchymal disease, correct?                               4   interstitial fibrosis caused by the deposition of
 5       A.    Oh, yes. It had been for years before that.       5   asbestos fibers in the lung. It does not refer to
 6       Q.    Okay. And when you were examining people in       6   visceral pleural fibrosis, the subpleural extensions of
 7   Libby pre-2004, this was the most authoritative document    7   fibrosis into the interlobular septae or lesions of the
 8   by the American Thoracic Society on the diagnosis of        8   membranous bronchioles."
 9   asbestos disease, correct?                                  9             Did I read that correctly, sir?
10       A.    Yeah. Although I don't know that I had ever      10       A.     You did.
11   seen that at the time. I was following through with what   11       Q.     And you recognize this document, the 2004 ATS
12   Selikoff was saying.                                       12   statement, as being of great value in guiding your
13       Q.    So, while you were diagnosing people prior to    13   diagnostic practice, correct?
14   2004, you were not following the ATS guidelines for        14       A.     Well, not of great value. It is like all
15   diagnosing asbestos disease?                               15   other documents that are published. It produces
16       A.    I was using the term asbestosis for both,        16   guidelines for people, but that's all. I mean, it
17   because it was real clear, and Selikoff backed that up,    17   doesn't really change what you do.
18   that you could call it pleural asbestosis, but when you    18       Q.     But the American Thoracic Society, this is
19   became logical about the whole thing, they were all part   19   their authoritative statement as of 2004, correct?
20   of the same spectrum.                                      20       A.     Yeah, basically.
21       Q.    So, just so -- I think you said earlier, you     21       Q.     And in this statement it says that asbestosis
22   weren't familiar with this back then?                      22   specifically refers to interstitial fibrosis, correct?
23       A.    Oh, I may have seen it a long time ago. I        23       A.     It also says in here it refers to pleural
24   haven't looked at it for years, though, if I have. I'm     24   asbestosis, in another area in here, by the way.
25   not sure I ever looked at it. I know what was in it.       25       Q.     Where? Where does it say pleural asbestosis?

                                                     Page 175                                                           Page 177
 1       Q.    But this document, and the contents of this       1       A.     I'm not sure where it is. I would have to
 2   document, did not guide your diagnostic practices,          2   find it.
 3   correct?                                                    3       Q.     Take a second.
 4       A.   Not at all.                                        4                           (Pause in the proceedings).
 5       Q.    Okay. I am handing you what has been marked       5       A.     Well, it's going to be more than a second.
 6   as Exhibit 37. Do you recognize this document?              6                 MR. STANSBURY: We can go off the record.
 7       A.   Yeah. This is the 2004 statement.                  7   Let's go off the record and take a break. You can look
 8       Q.    This is the 2004 American Thoracic Society        8   for it. Then we will go back on the record.
 9   statement on "Diagnosis and Initial Management of           9                 THE VIDEOGRAPHER: We are going to go off
10   Nonmalignant Diseases Related to Asbestos."                10   the record. The time is approximately 11:33.
11       A.   That's right.                                     11                                    (Short recess).
12       Q.    Okay. And if you would turn to 2009_00667,       12                 THE VIDEOGRAPHER: We are going back on
13   and there's two columns. The right column, we have the     13   the record. The time is approximately 11:40.
14   heading halfway down the page, "Nonmalignant Disease       14                 THE WITNESS: I actually can't find that
15   Outcomes," and we have "Asbestosis."                       15   in this article. And I've been reading a bunch of other
16                         (Pause in the proceedings).          16   articles that I know it's in recently. And I suspect
17       A.   Where is this?                                    17   that's where I mixed it up.
18       Q.    Sure. 2009_00667. Are you there, sir?            18       Q.     (BY MR. STANSBURY:) So just so the record is
19       A.   667. Okay.                                        19   clear, the 2004 ATS statement says "Asbestosis
20       Q.    Okay. Good. Far right column.                    20   specifically refers to interstitial fibrosis caused by
21       A.   Uh-huh.                                           21   the deposition of asbestos fibers in the lungs," and it
22       Q.    Halfway down the page. "Nonmalignant Disease     22   does not use the term pleural asbestosis, is that
23   Outcomes."                                                 23   correct, sir?
24       A.   Uh-huh.                                           24       A.     That's correct.
25       Q.    "Asbestosis." Are you with me?                   25       Q.     Okay. Let's move on at this time. Well,

                                                                                                          45 (Pages 174 to 177)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09      Page 47 of 71

                                                      Page 178                                                         Page 180
 1   actually, before I do that, it's fair to say, isn't it,      1   discuss it in terms of pleural plaque.
 2   that numerous people that you have diagnosed, in whom you    2       Q.     But according to the 2004 statement, the '86
 3   have only seen pleural abnormalities, you've called them     3   statement, and the Helsinki criteria, it would not be
 4   asbestotic, is that correct?                                 4   correct to tell somebody like Cameron Foote that he has
 5       A.    Yes.                                               5   asbestosis, correct?
 6       Q.    Okay. So that is not an issue for debate           6       A.    I don't know that I told him that.
 7   right now, correct?                                          7       Q.     Okay. But he has testified to that. But you
 8       A.    No. In fact, I am referring to basically           8   are not sure if you told him that?
 9   the pleural asbestosis. Maybe I should have been more        9       A.    No. I'm not sure that I have told him that.
10   clear about the terminology.                                10             Most of the people that I have talked to,
11       Q.    Does that concern you, whether you may be         11   I've told them that they have -- Well, I will tell them
12   giving a patient the wrong idea as to what disease he or    12   that they have asbestosis, if they have fibrotic changes
13   she has, if you were to call it asbestosis, when they       13   on their chest x-ray, or subpleural fibrosis. But I will
14   only have pleural abnormalities?                            14   generally tell them that they have asbestos pleural
15       A.    No, not really. And, in fact, the people in       15   thickening.
16   Libby have generally called it that themselves. It's the    16       Q.     But it does not surprise you that he claims
17   general overall blanket for anything that they've got       17   that he has asbestosis, does it?
18   that's asbestos-related.                                    18       A.    No, it does not surprise me at all, because
19            But, you know, most of the time I talk to          19   of the climate in Libby.
20   them about asbestos-related pleural disease and don't use   20       Q.     Aren't you concerned that this is creating a
21   the term "asbestosis." And sometimes I do.                  21   climate where people believe that they have diseases that
22       Q.    Let's talk about an example. Someone like         22   they do not?
23   Cameron Foote.                                              23       A.    I think they have it all in perspective,
24       A.    Uh-huh.                                           24   frankly, in general. I don't think it's creating any
25       Q.    Believed that at the age of 41 -- Cameron         25   significant confusion or anything else, no matter what

                                                      Page 179                                                         Page 181
 1   Foote, for example, believes that he has asbestosis. He      1   they call it.
 2   has testified to that effect.                                2       Q.     Well, asbestosis is a very serious disease,
 3       A.     Hmm.                                              3   correct?
 4       Q.      I've looked through your records on him. He      4       A.     So is pleural thickening.
 5   has pleural plaques. Is that correct?                        5       Q.     Well, let's talk about asbestosis.
 6       A.     Yeah.                                             6   Interstitial fibrosis can cause loss of long function,
 7       Q.      Okay. So, he has pleural changes only, but       7   correct?
 8   he believes that he has asbestosis.                          8       A.     Yes.
 9              Correct?                                          9       Q.     It can lead to death, correct?
10       A.     Yeah. And I think that comes about just          10       A.     Yes.
11   because of the way people in Libby view all of this, a      11       Q.     According to the Helsinki criteria, pleural
12   lot of it.                                                  12   plaques alone are markers of exposure, correct?
13       Q.      How important is the precision of diagnostic    13       A.     Well, according to the -- That's true. They
14   labeling in the medical profession?                         14   are markers of exposure. But they also, after you get
15       A.     Well, generally, it is. But in this              15   experience with looking at CT-scans and things like that,
16   particular situation it probably doesn't make a whole lot   16   they are the harbinger of more disease, and they are also
17   of difference, because of the fact that this is a very      17   the harbinger of the progression of that over a period of
18   large community, many of whom have maybe, at least a        18   time.
19   third of whom have asbestos-related changes on their        19       Q.     The harbinger, meaning that when you see a
20   x-rays.                                                     20   pleural plaque, you will see interstitial fibrosis down
21              And, so, whatever they want to call it, it is    21   the road?
22   probably easier for them to relate that they have           22       A.     You may. Or you may see diffuse pleural
23   asbestosis to each other, than to say that they've got a    23   thickening, or subpleural fibrosis. You may see more on
24   pleural plaque or something like that.                      24   CT. It's not --
25              And the ones that are more knowledgeable will    25             And they recognize that in the ATS thing,

                                                                                                         46 (Pages 178 to 181)
                                      DR. ALAN WHITEHOUSE - by Mr. Stansbury
                          (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09      Page 48 of 71

                                                     Page 182                                                         Page 184
 1   that a pleural plaque is a disease, for the first time,     1   throughout the lungs from this fibrotic reaction to
 2   something that everybody that deals with this realized      2   asbestos bodies, that is asbestosis, correct?
 3   for a long while.                                           3       A.    Yes.
 4       Q.     Well, hold on. I thought you said there was      4       Q.    Okay. Fibrotic changes on the outside of the
 5   no pleural asbestosis. Have they used the term --           5   pleura, the parietal pleural, what are those called?
 6       A.     No. They do recognize that pleural plaque        6       A.    They are called either clots or diffuse
 7   is a disease.                                               7   pleural thickening.
 8       Q.     Do they use the term "disease" anywhere in       8       Q.    Would you say that diffuse pleural thickening
 9   this statement?                                             9   refers more to the fibrotic changes of the visceral
10       A.     I will have to take a look at it. But I         10   pleura?
11   think they do.                                             11       A.    They may refer to both.
12       Q.     Why don't we look at that at lunch, in the      12       Q.    But are pleural plaques more often involving
13   interest of time. I do not believe they refer to that as   13   the parietal pleura?
14   a disease. And it's hard to prove a negative.              14       A.    No. More often -- Most of the changes that
15             However, in the interest of time, I'd like to    15   you wind up seeing are on the visceral pleura, and you
16   move on at this point, away from that particular issue.    16   see pleural plaques on the parietal pleura very
17   We can revisit that if you like.                           17   frequently.
18       A.     Yeah. We will revisit it.                       18       Q.    So, pleural plaque on the parietal pleura,
19       Q.     You recognize that the interstitial fibrosis    19   that's the area, that's the outer area of the pleura,
20   is distinct from a parietal pleural fibrotic process,      20   right?
21   correct?                                                   21       A.    Right.
22       A.     It's all part of the same spectrum. That's      22       Q.    And, so, is it your view that the fibrosis
23   the point that I make. And mainly because of the fact      23   just migrates from the parietal pleura to the visceral
24   that we have watched so many people with pleural           24   pleura to the outer regions of the lungs and then to the
25   thickening develop subpleural fibrosis, and it becomes     25   base of the lungs?

                                                     Page 183                                                         Page 185
 1   evident throughout their whole lungs.                       1        A.    Well, think about it for a little bit. How
 2       Q.     But this is what I want to make clear. When      2   do you get a plaque on the parietal pleura if you don't
 3   you talk about this continuum, fibrotic process, that's     3   have it in the lung adjacent to it to get it there in the
 4   what's occurring with asbestosis, correct?                  4   first place? That's how the fibers got there. I mean,
 5       A.    Uh-huh.                                           5   they didn't come through the chest wall.
 6       Q.     Fibrosis, correct?                               6        Q.    I understand. But the fibrotic changes that
 7       A.    Right.                                            7   cause asbestosis are independent of the existence of the
 8       Q.     And it's caused by asbestos bodies within the    8   plaque. They are caused by the fibrotic changes of the
 9   air sacs, correct?                                          9   asbestos bodies within the air sacs, correct?
10       A.    Or against the pleural. It's the same cause      10        A.    Yeah. You can say that if you want to. But
11   for both of them.                                          11   that's like saying that, maybe a good example, I'll try
12       Q.     Well, what term do you use for the air sacs?    12   to come up with a decent example with pneumonia or
13       A.    Alveoli.                                         13   something, if I can come up with something quickly.
14       Q.     So, you have asbestos bodies lodged in the      14             You know, when you've got a pleural plaque,
15   alveoli, correct?                                          15   or you've got a pleural thickening, or asbestosis, you've
16       A.    Uh-huh.                                          16   got asbestos fibers throughout all those areas. Okay?
17       Q.     You have to say --                              17             And we have seen so many people with a
18       A.    Yes.                                             18   pleural plaque, Grace's own x-rays have shown this,
19       Q.     And that leads to an inflammatory process,      19   develop diffuse pleural thickening, develop pulmonary
20   correct?                                                   20   fibrosis, or asbestosis, over a period of 20 years.
21       A.    Yes.                                             21             And it's obvious that there's a sequence of
22       Q.     And that leads to fibrotic changes within the   22   events, and the pleural plaque doesn't exist as just a
23   lungs, correct?                                            23   beauty mark or a marker there that they had exposure.
24       A.    Yes.                                             24   It's part of the whole process. It's just that it's
25       Q.     And when you have diffuse fibrotic changes      25   early in the process.

                                                                                                        47 (Pages 182 to 185)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09       Page 49 of 71

                                                      Page 186                                                         Page 188
 1              So, it's like saying that you don't have          1        Q.    But this image that you're creating with this
 2   pneumonia until the whole lobe is involved, it's just a      2   language of continuum is one of just this migration of
 3   little infection over here that doesn't account for          3   fibrosis across to this subpleural region of the
 4   anything.                                                    4   interstitium, and then into the lower levels of the
 5        Q.     Something like gangrene.                         5   lungs. That is the image that your language is invoking,
 6        A.    Uh-huh.                                           6   at least in me.
 7        Q.     That literally spreads, correct, throughout      7        A.    You know, you're getting --
 8   the body?                                                    8                MR. HEBERLING: Objection. Misstatement
 9        A.    That's a bad example.                             9   of the testimony.
10        Q.     Okay. I'm talking about some type of process    10                THE WITNESS: You get plaques also on the
11   where the inflammation is actually just spreading.          11   visceral pleura. Okay? And most of the time on x-ray
12              That is not what you're describing with the      12   you can't tell where they are, whether they are on one or
13   pleural plaque asbestosis. You are talking about            13   the other. They may be on both, they may be only on one.
14   fibrotic changes on the outside of the pleura and then      14             You know, you're basically saying that
15   independent fibrotic changes that are occurring inside      15   somebody can, like somebody that has an infectious
16   the interstitium for those to develop asbestosis,           16   disease, that they can have a little bit of an infectious
17   correct?                                                    17   disease here, and the pneumonia develops out here, and
18        A.    I don't think it's independent. Because if       18   this has nothing to do with it (indicating). That's
19   you have seen on those x-rays, that there is a pleural      19   nonsense.
20   plaque, and it gets larger, and the plaque gets larger,     20             This is all part of the asbestos disease.
21   and the next thing you're seeing is extensive pleural       21   It's a continuum. It's a spectrum.
22   thickening. And the pleura becomes fused, both of the       22        Q.    Is there a causal continuum?
23   pleural surfaces, the visceral and the parietal pleura      23        A.    Yes, there is. It is called the asbestos
24   become fused at that point in many of the people that       24   finer.
25   have diffuse pleural thickening.                            25        Q.    No, no, no, no. I mean from between the


                                                      Page 187                                                         Page 189
 1              And how do you know? You really can't say         1   pleural plaque to the asbestosis.
 2   that that plaque doesn't have anything to do with it.        2        A.    It meets Koch's postulates. It's the same
 3   It's all part of a continuum that if you've got the          3   thing that you use for bacteriology. You have the
 4   plaque, it may develop into diffuse pleural thickening in    4   organism, it causes the infection, you give them back the
 5   that locale. Whether it's parietal or visceral pleura,       5   organism, it causes another infection, and then prove
 6   it's all part of the same sequence of events.                6   that they are related.
 7        Q.     I understand that.                               7             The same thing with asbestos fibers.
 8        A.     So, just because you say there's interstitial    8        Q.    Let me make sure I understand this, and I
 9   asbestos fibers present over here, that there's not the      9   will restate this, I want to make sure I'm clear.
10   same situation through the whole thing, does not make any   10             So, your contention is that if there is a
11   sense. It doesn't make sense from a medical standpoint,     11   fibrotic process of the parietal pleura, this may cause
12   a clinical sense, or even just a logic standpoint, that     12   interstitial fibrosis?
13   they would be all -- they'd be independent of each other.   13        A.    It may not. It may not directly. But it's
14   They aren't. There is no way they can be.                   14   all part of the continuum of the disease.
15        Q.     Why not?                                        15             And you say it's a marker of exposure. I say
16        A.     Why not?                                        16   it's a marker of disease.
17        Q.     Right.                                          17        Q.    But my question, though, is whether it is
18        A.     Because there are some that have gone on and    18   causal. You said earlier that it was causal. That a
19   progressed.                                                 19   plaque could cause asbestosis.
20        Q.     I recognize that these two independent          20        A.    How do you --
21   disease processes can develop. However, to suggest that,    21                 MR. HEBERLING: Objection. Misstatement
22   you know --                                                 22   of the testimony.
23              I hear what you are saying on the fusing of      23                 THE WITNESS: How do you know? You've
24   the parietal and visceral pleura.                           24   got fibers everywhere in here in large numbers.
25        A.     Okay.                                           25        Q.    (BY MR. STANSBURY:) Okay.

                                                                                                         48 (Pages 186 to 189)
                                      DR. ALAN WHITEHOUSE - by Mr. Stansbury
                          (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09       Page 50 of 71

                                                     Page 190                                                         Page 192
 1       A.    You're trying to say that asbestosis is a         1   with some of the other literature. But to the extent it
 2   different disease than a pleural plaque.                    2   exists, I would really like to know more about a study
 3            That's nonsense. The radiography, pathology,       3   coming out that would support it, because I would think
 4   fiber counts, everything, tells you, no, that isn't the     4   that would be highly relevant to this opinion, don't you?
 5   case. That's nonsense.                                      5        A.   I don't know whether it will be out this
 6            It's all part of a continuum.                      6   summer or not. It is still being reviewed by the
 7       Q.    I think to call it nonsense would be to fly       7   authors. It will be eventually. But when it is, I know
 8   in the face of the statements of the ATS guidelines in      8   it is about ready for publication.
 9   the Helsinki criteria. I don't consider what they say       9        Q.   Do you know which journal, by any chance?
10   nonsense.                                                  10        A.   Chest.
11            And they do call them distinct disease            11        Q.   Chest. So it is an article in Chest that is
12   processes.                                                 12   going to demonstrate this continuum of disease from
13                MR. HEBERLING: Objection, argumentative.      13   pleural plaque --
14       Q.    (BY MR. STANSBURY:) You are using the term       14        A.   Uh-huh.
15   nonsense, Dr. Whitehouse. That's a strong term of art.     15        Q.   -- to --
16   To say something is nonsense when the ATS criteria         16        A.   To interstitial disease.
17   recognized the distinct aspect of these disease            17        Q.   -- to interstitial disease.
18   processes, that's a strong statement.                      18        A.   And I've got two x-rays of patients of mine,
19       A.    Yeah. And you know what, they are ultimately     19   and I assume they are probably in this study, I would
20   probably going to eat their words, because there will be   20   guess.
21   a paper coming out that shows the continuum between        21        Q.   I am handing you what's been marked as
22   plaques, interstitial disease and a large number of        22   Exhibit 44. Do you recognize this document, sir?
23   people.                                                    23        A.   It's a paper that I wrote.
24       Q.    And that's the paper that we talked about at     24        Q.   Okay. And this is the 2004 paper we
25   the very beginning of this deposition, correct?            25   discussed earlier, correct?

                                                     Page 191                                                         Page 193
 1       A.    I don't think we've talked about that one         1       A.    Uh-huh.
 2   particularly very much.                                     2       Q.    Yes, sir?
 3       Q.    There is another one?                             3       A.    Yes.
 4       A.    You don't know about that one. It is not in       4       Q.    And this is one of the papers that is
 5   publication yet.                                            5   relevant, as you have said, to your opinions in this
 6       Q.    Are you involved in this paper?                   6   case, correct?
 7       A.    No.                                               7       A.    Correct.
 8       Q.    Okay. Who is involved?                            8       Q.    Okay. Can you look on page 221, upper right
 9       A.    Some radiologists, and I don't even remember      9   corner, of this document.
10   their names.                                               10       A.    221?
11       Q.    And does it involve Libby?                       11       Q.    Yes. The upper right corner.
12       A.    Uh-huh.                                          12       A.    I don't have any page numbers up there.
13       Q.    Yes?                                             13       Q.    You don't have page numbers? We can go off
14       A.    Oh, yes.                                         14   the Bates numbers. That's fine. But it's your paper. I
15       Q.    Do they work with you on this?                   15   thought you might be more familiar with the page numbers.
16       A.    No.                                              16       A.    The page numbers didn't come through on this.
17       Q.    Do they work with Dr. Black?                     17       Q.    Oh, how unfortunate. 2009_01098.
18       A.    To some degree, yes.                             18       A.    09 what?
19       Q.    Okay. And did Mr. Black facilitate the           19       Q.    8?
20   transfer of the radiographs to these individuals?          20       A.    8. Okay.
21       A.    I don't know whether he did or not. But the      21       Q.    It's the third page of the document. That
22   CARD Clinic cooperated.                                    22   may have been the easiest way to do that.
23       Q.    This is very important. Because you are          23       A.    Oh. This one does have a number on it. Some
24   talking about this continuum. And to the extent that       24   of the others don't.
25   this continuum exists, I do not think it's consistent      25       Q.    Good. So, we are looking at the left column.

                                                                                                        49 (Pages 190 to 193)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09       Page 51 of 71

                                                     Page 194                                                         Page 196
 1   It begins with "Two or more."                               1   read this correctly. "The statement at Whitehouse
 2       A.    Uh-huh.                                           2   (2004), page 221, is clarified to read as follows.
 3       Q.    I'm going to read, and tell me if I read this     3   'These subjects are representative of the Libby area
 4   correctly. "Two or more sets of pulmonary functions were    4   (asbestos disease) population and the practice group of
 5   available on 153 patients. These subjects are               5   491 patients.'"
 6   representative of the Libby area population and the         6             Did I read that correctly?
 7   practice group of 491 patients. All had lived in Libby      7       A.    Yes.
 8   the majority of their life prior to 1990."                  8       Q.     Do you agree with that statement?
 9       A.    Yes.                                              9       A.    Actually, I do. He put in here, I did, or
10       Q.    "The majority of the 123 patients were           10   Arthur did, the disease population in parentheses, and
11   ex-smokers with eight of 123 (7 percent) being current     11   that's for asbestos disease. And that's reasonable.
12   smokers."                                                  12       Q.     Okay. So, is it fair to say that what is in
13            Do I have that correct?                           13   your paper where it says that these people are
14       A.    Yes.                                             14   representative of the Libby area population, is not true?
15       Q.    I want to go back up to that first statement.    15   In fact, these people are representative of the people in
16   Second sentence I read. "These subjects are                16   Libby who have disease, is that correct?
17   representative of the Libby area population and the        17       A.    Well, that's a matter of splitting hairs.
18   practice group of 491 patients."                           18   But, yeah, it's probably true.
19            Is that correct?                                  19       Q.     Well, I think it's important. I think the
20       A.    Yes.                                             20   idea of something being representative is certainly an
21       Q.    Okay. Now, this is published in the American     21   important concept, correct, sir?
22   Journal of Industrial Medicine, correct?                   22       A.    Well, except that everything deals with the
23       A.    Correct.                                         23   491 patients in the practice who had changes. So, you
24       Q.    And if I go online and find this article in      24   can do it any way you want to.
25   that journal, I'm going to read this and it's going to     25       Q.     Well --

                                                     Page 195                                                         Page 197
 1   say, these subjects are representative of the Libby area    1       A.     It is representative of it. I think, you
 2   population, correct?                                        2   know, I think his criticism is wrong. I think it's
 3       A.    Correct.                                          3   overkill.
 4       Q.    Okay. I'm handing you what's marked as            4       Q.     Well, let's back up. Putting aside the issue
 5   Exhibit 46. This is the Libby expert response to the Dr.    5   of whether it's representative of the 491 people, you say
 6   Weill report by Dr. Alan C. Whitehouse, Dr. Arthur L.       6   in your paper, "These people are representative of the
 7   Frank, May 8, 2007.                                         7   Libby area population," meaning that what occurred in
 8       A.    Okay.                                             8   this cohort represents what's happening in the Libby area
 9       Q.    Do you recognize this report, sir?                9   population.
10                           (Pause in the proceedings).        10             Correct?
11       Q.    And specifically I wanted to direct you --       11       A.     Well, in a sense, it is certainly related to
12       A.    Where's the signature page?                      12   the asbestos disease population, which includes about now
13       Q.    You know, I don't see the signature page on      13   a third of the population. So, maybe I am splitting
14   this copy.                                                 14   hairs a little bit.
15       A.    I don't either.                                  15             But I don't think that's a big fault that's
16       Q.    Well, I'll ask you a question about it. If       16   in there. It may have been better written, but it's not
17   you don't agree with what I say here, and you question     17   worth arguing over.
18   the validity of the document, we can address that. But     18       Q.     But you are now recognizing it should have
19   if you look on 2009_01115, which is page 12 of the         19   read "asbestos disease population"?
20   document.                                                  20       A.     Yes. It might have been better to read it
21                           (Pause in the proceedings).        21   that way.
22       A.    Okay.                                            22       Q.     Did you alert the Journal of this change?
23       Q.    Halfway down the page, 10.4.                     23       A.     No, I didn't alert the Journal of the change.
24       A.    Uh-huh.                                          24   Why would I? You've come up with this long after this
25       Q.    I'm going to read from this. Tell me if I        25   thing was written, you know. People understand things

                                                                                                        50 (Pages 194 to 197)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09       Page 52 of 71

                                                     Page 198                                                         Page 200
 1   like that. There's minor errors a lot in papers like        1   of 123 --
 2   that.                                                       2                               (Cell phone ringing).
 3       Q.     This paper identifies rapid progressive loss     3      A.     Is that mine?
 4   of lung function --                                         4      Q.     I think that's the cell phone.
 5       A.    Right.                                            5                MR. HEBERLING: I think you need to
 6       Q.     -- in a patient population.                      6   clarify what you are reading from.
 7       A.    That's right. It does.                            7       Q.    (BY MR. STANSBURY:) The same page, bottom of
 8       Q.     And you say that is representative of the        8   the page, right above the chart.
 9   Libby area population.                                      9       A.    Yeah.
10       A.    You know, you're splitting hairs, again. It      10       Q.    "A total of 67 of 123 (55 percent) had no
11   is generally representative of it.                         11   evidence on chest x-ray or HRCT of interstitial changes."
12             But it's the asbestos, it is very clear from     12       A.    Right.
13   the rest of the paper, that that is what I was talking     13       Q.    "The remaining patients (56) had minimal
14   about. Okay? So, what you're doing, you're making an       14   radiographic evidence of irregular interstitial changes
15   issue out of something which is really probably not much   15   involving the bases at profusion category of 0/1 or 1/0."
16   of an issue.                                               16            Did I read that correctly, sir?
17       Q.     It is not an issue as to whether it is          17       A.    Yes.
18   representative or not?                                     18       Q.    So, if I understand this, some of these
19       A.    No. It's that the paper defines it much          19   people had interstitial changes, and some of these people
20   better as it goes through the whole thing. Okay?           20   did not.
21       Q.     Defines what?                                   21            Is that a correct characterization?
22       A.    What I just said. That it is representative      22       A.    No, no. They all had pleural changes.
23   of the asbestos group, of people that have asbestos        23       Q.    No. I said interstitial.
24   disease. Particularly the practice group, of all the       24       A.    Yeah. But a certain percentage of them did
25   patients that I had in the database at that time.          25   have interstitial -- minimal interstitial changes, as


                                                     Page 199                                                         Page 201
 1       Q.    Now, in this study you had the x-rays of          1   well.
 2   individuals and in some cases the HRCT's classified --      2                UNIDENTIFIED SPEAKER: Excuse me. There
 3       A.    Yes.                                              3   is a lot of beeping coming through.
 4       Q.    -- by a radiologist, correct?                     4                MR. SCHIAVONI: Is the battery dead?
 5       A.    Yes.                                              5                MS. LEE: No. I think somebody might
 6       Q.    And that was Dr. Gordon Teel?                     6   have put it on hold. I can turn the volume down.
 7       A.    Yes. Now, he looked at the first film, okay?      7                MR. STANSBURY: Yeah. Turn the volume
 8   That was deliberate, to have him look at the first film.    8   down.
 9   And then he had CT's to look at also to verify the first    9       Q.     This paper, taking a step back, identifies a
10   film. Because there were some of them that were truly      10   rapid decline in DLCO amongst individuals with pleural
11   negative or very critical --                               11   abnormalities, is that correct, sir?
12       Q.    Okay.                                            12       A.     That's correct.
13       A.    -- which were confirmed by CT.                   13       Q.     And I think it was above 3 percent, is that
14       Q.    But you didn't publish the individual            14   correct?
15   findings and corollate the individuals who had pleural     15       A.     Yeah, something like that, 3.0 or 3.2.
16   abnormalities with lung function loss, did you?            16       Q.     Okay. However --
17       A.    The degree, no. But that was done. Because       17       A.     3.0.
18   he and I looked at the extent of the pleural thickening,   18       Q.     -- some of the people had interstitial
19   and then I did the correlations statistically, and there   19   changes as well, correct?
20   wasn't any. And I think that may be in here. I'm not       20       A.     Yeah. Very minimal. A lot of them were
21   sure.                                                      21   0.1's, and a lot of them, Gordon didn't read those.
22       Q.    This is a different question.                    22       Q.     He didn't read them?
23       A.    That is in there.                                23       A.     He didn't -- the 0.1's, he didn't think they
24       Q.    And we can address that in a moment. The         24   were significant.
25   question, I'm reading from the same page, "A total of 67   25       Q.     Okay. We discussed earlier, however, that

                                                                                                        51 (Pages 198 to 201)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                       Case 01-01139-AMC         Doc 22766-8          Filed 08/13/09      Page 53 of 71

                                                      Page 202                                                        Page 204
 1   interstitial changes can cause decrements in DLCO's,         1        Q.     Yes, sir?
 2   correct?                                                     2        A.     Yes.
 3       A.     Yes.                                              3        Q.     Did I read that correctly?
 4       Q.     So, individuals who have interstitial changes     4        A.     You did.
 5   and pleural abnormalities, you can't tell whether it's       5        Q.     And I believe you were questioned about this
 6   the pleural change or the interstitial changes that's        6   in a previous deposition, about the issue of referral,
 7   causing the decline, correct?                                7   and I believe you testified as follows. I am happy to
 8       A.     Well, yes, you can, from a standpoint of the      8   provide this testimony if you want it.
 9   fact that ILO nomenclature is 0/1 or a 1/0 doesn't           9              "If there were people that the lawyers had
10   necessarily represent disease. And there's no certainty     10   told us to see, they still came on their own volition, so
11   of disease based on those two categories.                   11   I still consider that a self-referral. I didn't get
12       Q.     So, you're saying a 1/0 does not represent       12   referral letters from lawyers sending patients to me at
13   disease?                                                    13   all."
14       A.     Doesn't necessarily. It may very well. But       14              Could I have the deposition transcript,
15   you yourself, or the compensation committee or whatever     15   please? Let's look at this. Exhibit 56, which is the
16   they are called, has excluded anything other than 2/1.      16   October 18, 2007 deposition in this proceeding.
17   And, so, there's always that equivocal nature of a 1/0 or   17              Do you remember this deposition, sir?
18   a 0/1.                                                      18        A.     Yes.
19       Q.     But you didn't publish in this paper the         19        Q.     And you were under oath, correct?
20   number of people who have a greater 1/0, did you?           20        A.     Yes.
21       A.     No.                                              21        Q.     Okay. On page 204 of this transcript, which
22       Q.     And you only had one B-reader, correct?          22   is towards the back.
23       A.     I didn't have any B-reader.                      23                           (Pause in the proceedings).
24       Q.     No B-readers.                                    24        A.     Okay.
25       A.     Gordon Teel, although, is a pulmonary board      25        Q.     If you would look at line 10, and read from

                                                      Page 203                                                        Page 205
 1   of radiologist.                                           1      there to, say, line 18.
 2                    (Beeping on phone is continuing).        2                                (Pause in the proceedings).
 3               MR. GUY: This is Jonathan. I don't            3          A.    Yep.
 4   want to interrupt, but is there any way --                4          Q.     Out loud, please.
 5               MR. STANSBURY: Let's hang up and call         5          A.    Which one is that?
 6   back again. I am going to terminate the line, and call    6          Q.     Line 10 to line 18, out loud, please.
 7   back in.                                                  7          A.    Question. Okay.
 8            Let's go off the record momentarily.             8          Q.     Could you read that out loud?
 9               THE VIDEOGRAPHER: Yes. We are going to        9          A.    Okay.
10   go off the record. The time is approximately 12:07.      10                   "QUESTION: The patients were either
11                                  (Noon recess).            11      referred by internists and family practitioners or were
12               THE VIDEOGRAPHER: This is the beginning      12      self-referred. Correct?
13   of tape number 3 of the deposition of Dr. Alan C.        13                   "ANSWER: That's true. And if there were
14   Whitehouse. The date is March 19, 2009. The time is      14      people that the lawyers had told us to see, they still
15   approximately 12:41. We are back on the record.          15      came on their volition. So I still consider that a
16       Q.    (BY MR. STANSBURY:) Dr. Whitehouse, going      16      self-referral. I didn't get referral letters from
17   back to your study, if we could turn to page 2009_01097. 17      lawyers sending patients to me at all.
18                        (Pause in the proceedings).         18                   "QUESTION: This is a document that he
19       Q.    And looking in the left column, the paragraph  19      originally received from the CARD Clinic in connection
20   before Materials and Methods, halfway down there is a    20      with one of the first productions. We can mark that as
21   sentence that begins "They were examined." After that it 21      Exhibit -- wherever we are."
22   begins, "The patients were either referred by internists 22          Q.     So, it is fair to say that you said, with
23   and family practitioners or were self-referred."         23      respect to your study, "if there were people that the
24            Do you see that sentence, sir?                  24      lawyers had told us to see, they still came on their own
25       A.    Uh-huh.                                        25      volition. So I still consider that a self-referral. I

                                                                                                        52 (Pages 202 to 205)
                                       DR. ALAN WHITEHOUSE - by Mr. Stansbury
                           (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09      Page 54 of 71

                                                      Page 206                                                        Page 208
 1   didn't get referral letters from lawyers sending me          1   as Exhibit 59. And if you will compare this document to
 2   patients at all." That is your testimony?                    2   Exhibit 58, the patient identifier, 550-493.
 3       A.    I believe so. I don't recall getting any.          3                         (Pause in the proceedings).
 4       Q.     I'm handing you what has been marked as           4       Q.    And this is indeed, if I am not mistaken, a
 5   Exhibit 57. Actually, let me see that for one second,        5   letter from Mr. Heberling, referring this individual to
 6   please, if I could have that back. Sorry about that.         6   you, correct?
 7            I'm handing you what has been marked as             7       A.    And then on the bottom it says DNKA, did not
 8   Exhibit 57. This was a record produced to W.R. Grace in      8   keep his appointment.
 9   March of 2006 by the CARD Clinic under the direction of      9       Q.    Did not keep his appointment. But judging by
10   the U.S. Government in connection with the criminal case,   10   your letter here --
11   and these were the records for the individuals whose        11       A.    He must have later, yeah.
12   records were the basis of your published study.             12       Q.    All right.
13            And here we see a letter dated December 14th,      13       A.    He had an appointment in October, and he
14   1995, and it begins, "Thank you for referring" blank, and   14   didn't show.
15   the person's name is redacted, "for evaluation of           15       Q.    Okay. This was a person referred by Mr.
16   asbestosis."                                                16   Heberling, then, correct?
17            Did I read that correctly?                         17       A.    I assume it, yeah.
18       A.    Yes.                                              18       Q.    Which would be inconsistent with your earlier
19       Q.     And the recipient of this will is redacted,      19   testimony, correct?
20   correct?                                                    20       A.    Which would be what?
21       A.    Yes.                                              21       Q.    Inconsistent in your testimony in the
22       Q.     If you will turn to the next page, please.       22   previous deposition, in which you said there were no
23       A.    All right.                                        23   referrals and no letters.
24       Q.     Last line before "Sincerely yours."              24       A.    I guess you are right. Unfortunately, the
25       A.    Okay.                                             25   reason it got dropped is because the guy didn't show up

                                                      Page 207                                                        Page 209
 1       Q.     "Thank you for referring him for an               1   the first time.
 2   evaluation."                                                 2        Q.    Okay.
 3             Did I read that correctly?                         3        A.    And then did on his own.
 4       A.     Yes.                                              4        Q.    I'm handing you what has been marked as
 5       Q.     All right. Now I am going to hand you what        5   Exhibit 60. Do you recognize the handwriting on this
 6   has been marked as Exhibit 58. Keep this letter here,        6   piece of paper?
 7   please. This letter was produced to us a month later,        7        A.    No.
 8   redacted, by the U.S. Government, and I believe that you     8        Q.    This was a note given to me by Nurse Kimberly
 9   will see that Exhibits 57 and 58 are identical.              9   Rowse at the CARD Clinic. Is that Nurse Rowse's
10             Do you see that?                                  10   handwriting?
11       A.     Obviously I wrote a letter.                      11        A.    It probably is, yes.
12       Q.     Now, who was the recipient of the letter on      12        Q.    She's the head nurse at the CARD Clinic?
13   the December 14th, 1995 letter?                             13        A.    Yes, she is. Yeah. Well, she's sort of the
14       A.     Mr. Heberling.                                   14   manager there, yeah. I guess that is her handwriting.
15       Q.     Jon Heberling. So, this is an example of a       15   It is in pencil, isn't it.
16   referral from an attorney, correct?                         16        Q.    I am handing you what has been marked as
17       A.     I guess you would have to consider that, yes.    17   Exhibit 61, and this is a letter dated October 13 --
18   I made an error.                                            18   August 13, 1997. Once again, for LP055. Another
19       Q.     You said "Thank you for referring," correct?     19   individual from your study. This is produced in March of
20       A.     Yes.                                             20   2006 where the redactions were handled through the CARD
21       Q.     But you had also said that there were no         21   Clinic.
22   letters, correct?                                           22             What does it say above the addressee of this
23       A.     I didn't recall any at the time that I was       23   letter, which has been redacted?
24   deposed.                                                    24                 MR. HEBERLING: Objection. We don't know
25       Q.     Okay. I'm handing you what has been marked       25   that this person is from the study. I mean, you're

                                                                                                        53 (Pages 206 to 209)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09      Page 55 of 71

                                                      Page 210                                                         Page 212
 1   representing that. But the record does not so reflect as     1   workup to, and then I will send it with a cover letter.
 2   of yet.                                                      2   And this is a typical cover letter.
 3                THE WITNESS: I can't read it.                   3            When somebody refers it, I usually say, thank
 4       Q.     (BY MR. STANSBURY:) What about before "Thank      4   you for referring somebody. This one says, "Enclosed is
 5   you"? What does that say?                                    5   a copy of the workup."
 6       A.    "Referring M.D."                                   6            I don't know that he referred the patient at
 7       Q.     What does that mean?                              7   all. I have no idea.
 8       A.    I don't know.                                      8       Q.    If you will look at the bottom of Exhibit --
 9       Q.     What does "referring M.D." mean?                  9   I'm sorry. Which Exhibit Number is unredacted?
10       A.    It means that there was an M.D. that may have     10       A.    This one?
11   referred the patient. But it says, "Thank you for           11       Q.    Yeah. What Exhibit Number is that?
12   referring him," and there is something crossed out. It      12       A.    What is the number?
13   is very short. So, I don't know what it is.                 13       Q.    Yes. Exhibit Number.
14       Q.     Okay.                                            14       A.    Oh. 62.
15       A.    I have no idea whether it was anybody even in     15       Q.    At the bottom of Exhibit 62 does it not
16   this study.                                                 16   say, "Jon, thank you for referring him." Is that
17       Q.     But the doctor who referred this has been        17   correct?
18   redacted, correct?                                          18       A.    Well, I guess it does, yes.
19       A.    I guess. I'm sure it is, yeah.                    19       Q.    So, it sounds to me like this is again
20       Q.     Okay. I'm handing you what's been marked as      20   another referral.
21   Exhibit 62. If you will look, this is also a letter from    21       A.    It may very well be.
22   August 13th, 1997. This was produced in April of 2006.      22       Q.    Okay. So, once again, the prior testimony,
23   The redactions were handled by the U.S. Government at       23   about there being no referrals in this study, may not be
24   this time.                                                  24   accurate, correct?
25            Now we see under what was "referring M.D." on      25       A.    It may be.

                                                      Page 211                                                         Page 213
 1   the previous exhibit, the recipient of this letter was       1       Q.     Okay. I'm handing you what has been marked
 2   Jon Heberling, attorney.                                     2   as Exhibit 63, which is a medical record for LP076 dated
 3       A.    I see that. And again, who's the patient?          3   September 25th, 1996.
 4       Q.    The patient, the information has been              4             Once again, the recipient of the letter has
 5   redacted from us, is LP, if you look at the document. He     5   been redacted in this version produced in March of 2006,
 6   was LP055, was how it was produced to us in March of         6   but as it says, "Thank you for referring him."
 7   2006. We were not permitted to know the names, and           7             We do not know who the addressee is. Is that
 8   personal identifiable information was redacted.              8   correct?
 9            The broader patient records were produced to        9       A.     It's covered up here.
10   us in April of 2006, and we received this record, and       10       Q.     Right.
11   this 550 was from the 550 database that you referenced in   11       A.     I assume you have another copy of it.
12   your report.                                                12       Q.     You assume correctly. I'm handing you what
13       A.    Yeah. But that wasn't necessarily the ones        13   has been marked as Exhibit 64, which is the same letter,
14   that were in here either.                                   14   also dated September 25th, 1996, for 550-538. Again,
15       Q.    But that's the same person, isn't it? Look        15   this is produced under the direction and redaction of the
16   at those letters.                                           16   U.S. government, and once again, the recipient of the
17       A.    Oh, yeah. It's the same person, yeah.             17   letter is Jon Heberling, is it not?
18       Q.    So, the first letter, the LP055.                  18       A.     How do I know that any of these were in this
19       A.    Yeah.                                             19   study?
20       Q.    Okay. This is clearly a referral from Jon         20       Q.     Well, you produced those records in March of
21   Heberling, is it not?                                       21   2006.
22       A.    Well, it is or it is not. It says "Enclosed       22       A.     Yeah. But we produced 500 and some odd
23   is a copy of the workup I did." I write sometimes --        23   records.
24   what happens is I ask the patient about referring           24       Q.     In March of 2006 you produced 123.
25   physicians or anybody that they want me to send the         25                 MR. HEBERLING: Brian, you're going to

                                                                                                         54 (Pages 210 to 213)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09      Page 56 of 71

                                                     Page 214                                                         Page 216
 1   have to establish this in the record in another way. You    1   compare that to this letter right here, tell me if they
 2   can't ask him these questions.                              2   are the same letter, Exhibit 57. They should match.
 3       Q.    (BY MR. STANSBURY:) Dr. Whitehouse, you           3            This confusion over who is who is an issue of
 4   produced these records through the U.S. government, they    4   CARD's creation, not --
 5   were made available for use in the bankruptcy.              5                MR. HEBERLING: Objection, argumentative.
 6               MR. HEBERLING: Objection, misstates the         6       Q.    (BY MR. STANSBURY:) Is that the same person,
 7   record.                                                     7   Dr. Whitehouse?
 8               THE WITNESS: The government also has the        8                MR. HEBERLING: CARD --
 9   records on the whole database.                              9                THE WITNESS: It looks like it was. But,
10       Q.    (BY MR. STANSBURY:) Which whole database?        10   you know, I didn't create any -- If you have problems
11       A.    The 550 that were in my database.                11   with CARD, it's nothing that I had anything to do with.
12       Q.    That's exactly what that second record is.       12   Your people came in there, made copies of charts. The
13   It came from --                                            13   feds made copies of charts. I had nothing to do with any
14       A.    Yeah. But what does it have to do                14   of that.
15   necessarily with this paper?                               15       Q.    (BY MR. STANSBURY:) Well, clearly --
16       Q.    Because they are the same people.                16       A.    So, don't put it on me.
17               MR. HEBERLING: Objection, argumentative.       17                MR. HEBERLING: In the criminal case,
18   Ask him questions.                                         18   Grace obtained permission to go back to CARD in the two
19               THE WITNESS: Tell me that it's one of          19   or three weeks before the criminal case started on the
20   the ones in here, and prove to me that it's one of the     20   representation to the court that they had screwed up all
21   ones in here, not just one that's in the 550.              21   the identifications of the patient numbers, and they
22       Q.    (BY MR. STANSBURY:) Was Jay Swennes in your      22   didn't know what they had. So, they had to copy it all
23   study?                                                     23   over again.
24               COURT REPORTER: Say that again?                24       Q.    (BY MR. STANSBURY:) Is Jeff Swennes in your
25               MR. STANSBURY: Jay Swennes.                    25   study, sir?

                                                     Page 215                                                         Page 217
 1   S-W-E-N-N-E-S.                                              1                MR. HEBERLING: So, if you want to get
 2       A.    I think he was, yes.                              2   into an argument on the issues, I think that's a good
 3       Q.    All right.                                        3   one.
 4       A.    Jay Swennes -- There's two Swennes'. There's      4                THE WITNESS: I don't know. Because I
 5   a Jeff and a Jay.                                           5   don't have my computer here. He may be. He may very
 6       Q.    Excuse me. Jeff. Was Jeff Swennes in your         6   well be. I'm very familiar with Jeff.
 7   study?                                                      7       Q.     (BY MR. STANSBURY:) And is that the same
 8       A.    I believe he was.                                 8   letter as Exhibit 57?
 9                MR. STANSBURY: What Exhibit Number are         9                MR. HEBERLING: Objection, unclear as to
10   we on?                                                     10   what he is referring to.
11                THE WITNESS: This was long before that        11       Q.     (BY MR. STANSBURY:) Which exhibit do you
12   study was even thought about, five years before that.      12   have in your hand?
13                MR. STANSBURY: What exhibit number are        13       A.    Well, wait a minute. It is not. The typing
14   we on?                                                     14   is different. It's very different. Look at this. This
15                MS. LEE: 65.                                  15   thing is big, broad type. This is little tiny type.
16       Q.    (BY MR. STANSBURY:) I'm handing you Exhibit      16       Q.     I believe the copies are different. But if
17   65, which is another copy of the December 15th, 1995       17   you want to look word for word, Dr. Whitehouse, I believe
18   letter where you are thanking Jon Heberling for the        18   these are the exact same letters. If you can find any
19   referral. This letter was produced as part of a PIQ.       19   words that are different that are unredacted, please do
20   Again, we see that it is Jeff Swennes --                   20   so.
21                MR. HEBERLING: Objection. Argumentative       21             But one looks like it was copied in a much
22   and lack of foundation.                                    22   larger font than another. But these are the same
23            Just ask him questions. Don't argue with          23   letters. Jeff Swennes, as this letter indicates, was
24   him.                                                       24   referred by Mr. Heberling.
25       Q.    (BY MR. STANSBURY:) If you want to, you can      25                MR. HEBERLING: Objection, argument,

                                                                                                        55 (Pages 214 to 217)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09       Page 57 of 71

                                                     Page 218                                                         Page 220
 1   lack of foundation. None of this is in the record.          1   clients, is he not?
 2                          (Pause in the proceedings).          2        A.    No, he is not, particularly. He is bringing
 3                 THE WITNESS: Whose copy is this               3   them because he -- I think if he sent people to me, it is
 4   (indicating)?                                               4   because they trust me to make, you know, honest
 5        Q.    (BY MR. STANSBURY:) That was a copy I pulled     5   representations of what's wrong with them, make diagnoses
 6   out.                                                        6   appropriately. It had nothing to do with the study.
 7        A.    I see.                                           7        Q.    Is Jeff Swennes somebody who is a Libby
 8                 MR. SCHIAVONI: I've never in my career        8   claimant?
 9   seen someone intervene in a bankruptcy and not say who      9        A.    Yeah. I don't know that I knew that at the
10   they are as a client. And I have a standing objection to   10   time. How did I know that? I see all kinds of people
11   that process taking place here. None of the other --       11   that I don't know whether they are claimants or what they
12             I don't know what's happened with Grace, but     12   are.
13   no creditor in this case has consented to people           13        Q.    But this individual who you believe is in
14   appearing in the bankruptcy secretly.                      14   your study --
15             To the extent we can't cross-examine them        15        A.    Yes.
16   because their names are blotted out, I'm being             16        Q.    -- was referred by Mr. Heberling six years
17   substantially prejudiced.                                  17   before you wrote the study?
18        Q.    (BY MR. STANSBURY:) Just so the record is       18        A.    You know, what may have happened in some of
19   clear, Exhibit 57, a letter that was produced and marked   19   these things also is that the patient comes in and they
20   LP072, December 14, 1995, thanking Mr. Heberling for a     20   tell me that Mr. Heberling thought that he could come in,
21   referral, is the same letter as Exhibit 65, December 14,   21   or there's a guy in Great Falls that occasionally sends
22   1995, in which it's clear that the recipient of this       22   stuff over, too.
23   letter was Jon Heberling. It was redacted in Exhibit 57.   23             And, so, I ask him, "Do you want me to send a
24   It isn't here.                                             24   letter to your attorney about that?"
25             Do you still stand by your statement --          25             And they say, "Yes."


                                                     Page 219                                                         Page 221
 1              MR. HEBERLING: Objection.                      1               So, I send them a letter. So, some of them
 2              MR. STANSBURY: Allow me to finish my           2     may have been referred. Some of them may have just told
 3   yes.                                                      3     me that that was their attorney and they wanted me to
 4       Q.    Do you still stand by your previous statement   4     send a letter. And I'll send a letter, like it is a
 5   that none of the individuals in your study were referred 5      referral letter. It's just common decency in the medical
 6   to you by Mr. Heberling?                                  6     practice, you know. So, there may be a couple. So what?
 7               MR. HEBERLING: Objection, compound.           7         Q.     Is Mr. Heberling in the medical practice?
 8   There are three or four issues there. Misstates the       8         A.     No. He's not in the medical practice.
 9   record.                                                   9     You've missed the point. Okay? The point was, that I do
10               THE WITNESS: There may have been a           10     send referral letters to people, sometimes even if they
11   couple in there.                                         11     are not referred, as a common courtesy, if the patient
12       Q.    (BY MR. STANSBURY:) Okay.                      12     wants me to do it. Okay?
13       A.   And I may have made a mistake on that. So, 13              Q.     But you specifically say, thank you for
14   what?                                                    14     referring him for an evaluation, correct?
15       Q.    Well, you make a statement in your paper       15         A.     I just answered that. Okay? I said,
16   which is consistent.                                     16     sometimes I send referral letters to the doc's that
17       A.   Okay. But, you know, how many years is that 17         didn't refer it, as a common courtesy because the patient
18   before I even started to work on that paper? That's six 18      wants me to do it.
19   years before that.                                       19         Q.     But that's not Mr. Heberling, is it?
20       Q.    So, six years before Mr. Heberling is already  20         A.     Well, but it doesn't matter whether it's
21   bringing you the people who are going to be in this      21     doc's, lawyers, insurance companies, whatever. I mean,
22   study?                                                   22     that's just the way I dictate sometimes.
23       A.   He is not bringing me people because they are 23                 I don't know for sure that he had actually
24   going to be in the study.                                24     said -- Maybe he did. He might very well have sent him.
25       Q.    He is bringing you people because he wants     25               But, you know, you're making an issue out of

                                                                                                        56 (Pages 218 to 221)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09      Page 58 of 71

                                                      Page 222                                                         Page 224
 1   something that occurred probably, I would guess, six         1       A.    Sure.
 2   years before I even thought about doing this study, after    2       Q.    I'm reading from the report, if you want to
 3   I had enough data that all of a sudden it hit me that        3   follow along, just to make sure I'm clear.
 4   these people were getting a whole lot worse.                 4                           (Pause in the proceedings).
 5       Q.    But is it fair to say that one of the people       5       Q.    Actually, can I see it for a moment again,
 6   who may have assisted you in the introduction of the         6   please? I apologize, sir. I'm handing you -- This is
 7   patients who became the subject of this study was Mr.        7   an older one.
 8   Heberling?                                                   8                         (Pause in the proceedings).
 9       A.   Oh, he might have, he might not have. I             9       Q.    Do you have this? I am reading a statement
10   mean, I've been seeing patients in Libby since 1970.        10   from your 2006 expert report in the bankruptcy case.
11   I've seen a huge number of people with asbestos disease.    11   "Since 1980 I have evaluated or treated over 700 patients
12   The word is out. If you want to see somebody to make a      12   for asbestos disease from Libby asbestos. Since about
13   diagnosis, look at things critically, go see me. I          13   2000 patient data has been tracked on a database."
14   mean, that word has been out in Libby for the last 15 or    14            Is that an accurate statement?
15   20 years.                                                   15       A.    Where is this?
16       Q.    So, you're the person they would come to          16       Q.    This is in your previous record. I will show
17   anyways?                                                    17   you the page.
18       A.   They would come to me anyway.                      18       A.    Yes. You need to.
19       Q.    Because you're the person that will give          19       Q.    It is more as to whether that statement is
20   them, as you put it, the critical look?                     20   correct.
21       A.   Yes, that's right. And, you know, for all          21       A.    Yeah. That's correct.
22   the ones that you see here that have disease, there's       22       Q.    Okay. So, you are keeping this information
23   probably an equal number that I didn't find anything on,    23   on these people, then?
24   and told them so.                                           24       A.    You know I am. I don't do it anymore.
25       Q.    Do you have a list of people that you told --     25       Q.    Okay.

                                                      Page 223                                                         Page 225
 1       A.    No, I don't have a list of that. I don't           1       A.     There was 550, and you knew it, you made
 2   keep a list like that.                                       2   copies of everything, you made a big deal out of the
 3       Q.    Why is that?                                       3   whole thing. And it was basically garbage data because I
 4       A.    Because I'm a practicing physician. You            4   was trying to keep track of patients in my office, when
 5   know, I don't do all this work that I do with this, just     5   I'd see them in Libby and I would record their pulmonary
 6   because of lawyers, or keeping lists because I think that    6   function studies, so I would have some basis for
 7   some day somebody like yourself is going to be               7   comparison, so that I knew what I was dealing with with
 8   questioning me.                                              8   the patient.
 9            I don't do that. I practice because I take          9             That is the reason for the database. It had
10   care of people. That's my primary job. And to advise        10   nothing to do with anything else.
11   them and give them advice concerning what they have and     11       Q.     Do you still have it in electronic form?
12   what they might expect. And then to follow them up over     12       A.     Oh, I probably do. I don't know where it is.
13   the years and tell them what's going on. That's my job.     13       Q.     Is it included among the materials that you
14       Q.    But it might not necessarily entail advice as     14   produced?
15   to what people like Dr. Becker may say who disagrees with   15       A.     It was produced to you and the feds. way
16   you?                                                        16   earlier, I know that.
17       A.    I already answered that.                          17       Q.     When?
18                MR. HEBERLING: Objection. Asked and            18       A.     Oh, a long time ago. Whenever you made those
19   answered.                                                   19   copies. You made copies of all the charts.
20                THE WITNESS: I already answered that.          20       Q.     We copied the charts, yes. But this is
21   I'm not even going to answer it again. Okay?                21   talking about a database.
22       Q.    (BY MR. STANSBURY:) Okay. Could we look at        22       A.     Yeah. You have the database. It was made
23   your report for one moment, please?                         23   available to you.
24       A.    Which one?                                        24       Q.     When?
25       Q.    Your expert report.                               25       A.     It wasn't much of -- About the same time, I'm

                                                                                                         57 (Pages 222 to 225)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09       Page 59 of 71

                                                      Page 226                                                         Page 228
 1   sure. I don't know where it is or what you did with it.      1   exposures only."
 2        Q.    But you do remember producing the database?       2             Did I read that correctly, sir?
 3        A.    Oh, I know I did.                                 3       A.     You did.
 4        Q.    Okay. All right.                                  4       Q.     And that information is accurate, correct?
 5        A.    If you ask me to produce something, I produce     5       A.     Yes. But these were at the beginning. This
 6   it.                                                          6   491 --
 7        Q.    Unless it's a draft paper.                        7       Q.     Right.
 8                 MR. SCHIAVONI: Could we have a copy of         8       A.     -- is the number down the line when the thing
 9   it? Does he still have?                                      9   was finally finished.
10                 THE WITNESS: He's got it. He should           10       Q.     Right.
11   have it somewhere.                                          11       A.     And the number of environmental ones had
12                 MR. SCHIAVONI: Well, I don't. I don't.        12   increased, and the number of miners had relatively
13   Could I find out, where is it?                              13   decreased. Although in relative terms, they are not that
14                 MR. STANSBURY: Sure. We'll worry about        14   different.
15   where --                                                    15       Q.     Well, based on the -- the 123, it looks to me
16                 THE WITNESS: There's a whole lot of           16   like 70 percent were former employees. That's correct,
17   problems with it, because there's an awful lot of names     17   right?
18   in it that are not involved with lawsuits. All kinds of     18       A.     Yeah. And they were about 50 percent of the
19   HIPAA issues involved in this. Okay? And somebody went      19   overall 291. But there were a lot of other ones that
20   through, I know, and deleted names or crossed them out,     20   were added to that 429 after I did this study.
21   ones that were not involved in lawsuits or anything at      21       Q.     Well --
22   one time.                                                   22       A.     Just so we're clear, I believe -- or actually
23             But you have it. Okay? And I'm not going to       23   in the interim period of time, but didn't have two
24   go through and do all the deletions and everything again.   24   pulmonary function studies. Because that was one of the
25   I don't have time to do it. And you have it. So, you        25   criteria, was two of them.

                                                      Page 227                                                         Page 229
 1   find it. Okay?                                               1       Q.     It says here, 220 of the 491 were employees,
 2       Q.    (BY MR. STANSBURY:) I want to go back to           2   is that right?
 3   your study for a moment, please.                             3       A.     That's right.
 4       A.    Okay.                                              4       Q.     Less than 50 percent, correct?
 5       Q.    2009_01097. Bottom right, "Results." It            5       A.     It is less than 50 percent.
 6   begins, "Of the 491 subjects."                               6       Q.     So -- and then with respect to environmental
 7            Do you see where I am?                              7   cases, 150 were environmental exposures in the 491
 8       A.    Yes.                                               8   population, correct?
 9       Q.    "Of the 419 subjects, 220 were employees of        9       A.     Where is there? Okay. Yeah. They were.
10   the vermiculite facilities, 121 were family members, and    10   Yeah.
11   150 were environmental exposures."                          11       Q.     And what percentage is that? Is that about a
12            Did I read that correctly?                         12   third?
13       A.    Yes.                                              13       A.     Yeah. Roughly.
14       Q.    Okay. Now, with respect -- And this is the        14       Q.     Yeah.
15   population that you said the 123 patients was               15       A.     A little less than that. About 30 percent.
16   representative of, correct?                                 16       Q.     Okay. So, in one study 8 percent are
17       A.    Yep.                                              17   environmental exposures, whereas 31 percent are
18       Q.    Okay. Let's look at the 123 patients, on the      18   environmental cases, correct, in the other -- Strike
19   next page, well, you are on that page now, first full       19   that.
20   paragraph, "The majority of the 123 patients were           20                 MR. HEBERLING: Objection,
21   ex-smokers with eight of 123 (7 percent) being current      21   unintelligible.
22   smokers. Also, 27 (21 percent) never smoked. In total,      22       Q.     (BY MR. STANSBURY:) In the published study,
23   86 (70 percent) were former employees of W.R. Grace. 27     23   8 percent of the 123 individuals are environmental cases,
24   (22 percent) were family members of employees, and 10 of    24   whereas 31 percent of the larger 491 patient population
25   123 (8 percent) were characterized as Libby environmental   25   were alleged environmental disease cases, correct?

                                                                                                         58 (Pages 226 to 229)
                                      DR. ALAN WHITEHOUSE - by Mr. Stansbury
                          (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09      Page 60 of 71

                                                     Page 230                                                        Page 232
 1       A.     Yes.                                             1            I'm asking you whether you believe that it is
 2       Q.     Okay.                                            2   significant as to whether one is representative of the
 3       A.     That's true. Except that there's one thing       3   other.
 4   that you've forgotten about.                                4       A.    I don't think that that's a significant
 5       Q.     What is that?                                    5   difference.
 6       A.     And that is that they had to have two            6       Q.    So, you don't think that the nature of
 7   studies.                                                    7   exposure matters?
 8       Q.     Oh, I'm not talking about your selection         8       A.    Let's see what we wrote about this, since I'm
 9   criteria at this point. I'm talking about your statement    9   sure Weill is the one that --
10   that they are representative. Okay?                        10       Q.    Page 12.
11       A.     Miner difference. Okay?                         11       A.    You've got it right on the tip of your
12       Q.     No. I think it's a significant difference.      12   tongue, don't you.
13   One deals with who is in the study, the other deals with   13                         (Pause in the proceedings).
14   whether a sub-cohort represents the larger cohort.         14       A.    There's your answer right there, in the last
15   Correct?                                                   15   paragraph.
16       A.     Whatever.                                       16       Q.    What does it say? Would you hand it to me?
17       Q.     No, Dr. Whitehouse, not whatever. Is that       17       A.    It's been so long ago that I wrote this with
18   correct?                                                   18   Arthur, that I can't recall all of the answers to it,
19       A.     Well, you know, you're down to the point        19   unfortunately.
20   where you're really splitting hairs.                       20       Q.    May I see it, please?
21       Q.     Okay.                                           21       A.    Yes, you can. Let me clip it back together
22       A.     This is not very important.                     22   again. It's page 12, the last paragraph.
23       Q.     It's not?                                       23       Q.    Okay.
24       A.     It's not very important to the overall text     24       A.    Read it.
25   and context of what this study was about. Okay?            25       Q.    Will do. "Weill further criticizes the

                                                     Page 231                                                        Page 233
 1      Q.     It's not important that --                        1   study as not 'representative of the practice group of 491
 2      A.     No, it isn't. It really isn't important.          2   patients.' Again the criticism is misplaced. It is
 3      Q.     May I finish the question, please.                3   difficult to say that the 123 patients are not generally
 4            It's not important that 70 percent of the          4   representative of the 491 patients, where 123 is 25
 5   people were workers, 70 percent with occupational           5   percent of the total 491 patients at the time of the
 6   exposures, whereas less than half in the larger cohort      6   study in 2001. 123 patients is a large group. It is
 7   do, and that only 8 percent in this cohort have             7   fair to say that it is probable that if 123 patients with
 8   environmental exposures, whereas 31 percent in the large    8   pleural disease who have two lung function tests are
 9   cohort do? Do you not consider that to be significant       9   progressing, then the patients with only one lung
10   with respect to whether one is representative of the       10   function test are progressing as well. Scientifically,
11   other?                                                     11   this is a solid conclusion. Weill does not suppose that
12       A.    I clearly defined the percentage of people in    12   it is not. Clinical observation also supports that a
13   each group in this paper. I very clearly defined it. 86    13   majority of patients are progressing. This clinical
14   in one. 27 of the other. 10 of the other. I don't know     14   observation is what prompted the study in the first
15   how much more clearer I can be.                            15   place."
16       Q.    So, you have --                                  16              Did I read that correctly, sir?
17       A.    These all came out of a group of people that     17        A.    You did.
18   were seeing me on a regular basis. Now, it turns out       18        Q.     Your basic argument is because 123 is about
19   there were more.                                           19   25 percent 491, that what occurs in that smaller cohort,
20            But on the other hand, there was a lot more       20   I will use your exact words, "It is fair to say that it
21   miners originally. Now a lot of them have died off, at     21   is probable that if 123 patients with pleural disease who
22   that time.                                                 22   have two lung function tests are progressing, then the
23       Q.    I recognize that. I'm not questioning the        23   patients with only one lung function test are progressing
24   reason why there was a larger occupational group in the    24   as well."
25   sub-cohort as opposed to the larger cohort.                25              Correct?

                                                                                                        59 (Pages 230 to 233)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09      Page 61 of 71

                                                      Page 234                                                        Page 236
 1        A.   Uh-huh.                                            1   community, all at different times.
 2        Q.    Yes?                                              2            It would take a large study to categorize
 3        A.   And that was not only my opinion. That was         3   exactly when their exposures were and then put them into
 4   also Arthur Frank's, as well.                                4   groups and see what they look like.
 5        Q.    Arthur Frank's, as well. So, just because         5            They may all look alike. I don't know that.
 6   it's 25 percent, it doesn't make a difference to you of      6   I don't know the answer to that.
 7   whether the fundamental exposures of those individuals       7       Q.    So, you do not have a good criteria for
 8   differ?                                                      8   determining whether a certain subgroup is representative
 9        A.   We don't know that.                                9   of the larger group? Is that what you just said?
10        Q.    Well, you do know that. You know that 70         10                MR. HEBERLING: Objection, unclear as to
11   percent of the 123 were occupational, 22 percent were       11   the meaning of representative.
12   take home, and 8 percent were environmental, correct?       12                THE WITNESS: I don't know what you mean.
13                MR. HEBERLING: Objection. The questions        13       Q.    (BY MR. STANSBURY:) You used the word
14   and answers are not matching. Be very clear what your       14   representative, Dr. Whitehouse, in your paper. What did
15   question is so that he can answer it.                       15   you mean?
16                THE WITNESS: We have no idea what all          16       A.    Show me where --
17   exposure levels of all these family and environmental       17       Q.    It's on the --
18   cases are. We have ideas, but we don't know.                18       A.    Show it to me.
19             And we don't even know whether it makes a         19       Q.    Sure, sure. "These subjects are
20   difference whether you have 10 percent of that exposure     20   representative of the Libby area population, although now
21   level that the miners had or not. It may be just as bad     21   we know that means Libby area" --
22   as having, working in the dry mill. We don't know the       22       A.    Oh. You are talking about that original
23   answers to that.                                            23   statement?
24        Q.    (BY MR. STANSBURY:) So, you don't think it       24       Q.    Absolutely. You're making representations.
25   matters what the dose of the exposure was?                  25   You are saying that these are representative. That's a

                                                      Page 235                                                        Page 237
 1       A.    We don't know what dose it takes to get how        1   significant statement in epidemiology, and you are now
 2   much disease. Okay?                                          2   testifying that you don't have criteria to do that, and
 3       Q.    Okay.                                              3   you haven't explained to me how you determined one was
 4       A.    That's the point. I made that point in the         4   representative of the other.
 5   criminal trial, too. Okay?                                   5                MR. HEBERLING: Objection, argumentative,
 6            These people have disease. Okay? The family         6   and misstates the record. He explained it was pleural
 7   members have disease. We have the environmental cases.       7   disease that they have all have.
 8   And time has borne out, as we've gotten more and more and    8                MR. STANSBURY: Do not guide the witness.
 9   more environmental cases. It's just the matter of at         9   I object and move to strike.
10   what time frame they were exposed.                          10                MR. HEBERLING: If you're going to be
11       Q.    Do you believe these 123 individuals are          11   argumentative, I'm just going to have to object over and
12   representative of the larger 1800 patient population that   12   over again.
13   you have referenced earlier?                                13                MR. STANSBURY: You can state your
14       A.    There's more miners in there now obviously        14   objection succinctly in compliance with the Federal Rules
15   than there are now. But on the other hand, if you wait      15   of Civil Procedure.
16   20 years, it may be exactly representative. You don't       16                THE WITNESS: Repeat the question.
17   know. Because you've got different years of exposures       17       Q.     (BY MR. STANSBURY:) Sure. I'm trying to
18   in the groups.                                              18   understand what you mean when you say that these 123
19       Q.    What's your criteria for what's representa-       19   individuals are representative of the larger population.
20   tive?                                                       20   I mean, it's a term with meaning. I want to understand
21       A.    I don't have a good criteria. We don't have       21   what your meaning is.
22   a good criteria. There's no way to get a good criteria.     22       A.     They are representative of Libby area
23   Because we have people that were exposed in the mine, we    23   population, and I think it's clarified with the other
24   have family members, we have people that were exposed in    24   thing in asbestos disease. And the paper makes it clear
25   the lumber mill, people that were exposed in the            25   that that is what we're dealing with. Okay?

                                                                                                         60 (Pages 234 to 237)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09      Page 62 of 71

                                                      Page 238                                                        Page 240
 1       Q.    You did not report the amount of lung              1   significant difference concerning extent, which was just
 2   function lost based on exposure category, correct?           2   basically, includes the pleural plaques on the one end
 3       A.    No.                                                3   and the diffuse pleural thickening on the other end of
 4       Q.    So, we have a cohort of 123 people that are        4   that. And there wasn't a statistical difference between
 5   comprised of 86 workers, 70 percent of that population       5   the two.
 6   had occupational exposures, correct?                         6       Q.    And your classification of the x-rays was
 7       A.    That's right.                                      7   based on Gordon Teel, correct?
 8       Q.    And you don't report what level of lung            8       A.    Yeah.
 9   function occurred in those individuals compared to the 10    9       Q.    Okay. He was not a B-reader, correct?
10   people or 8 percent who only had alleged environmental      10       A.    He's about 10 steps ahead of any B-reader
11   exposures, correct?                                         11   you've ever seen.
12       A.    Actually all the statistics were done on all      12       Q.    Really? I've seen some pretty good B-readers
13   of those and there wasn't any difference in them.           13   in my day.
14            And when you are writing a paper like this,        14                MR. HEBERLING: Objection, argumentative.
15   and you're writing it for practicing physicians who may     15                THE WITNESS: That is argumentative, and
16   read this, as opposed to the academicians, maybe you        16   Gordon Teel's an extraordinarily good pulmonary
17   didn't understand this when you looked at this, I know      17   radiologist. And he's pulmonary trained. You don't have
18   you didn't, but I used percentage of predicted for          18   to be pulmonary trained to be a B-reader. You can be a
19   pulmonary functions. And that was criticized by the         19   general internist and still be a B-reader. Okay?
20   academicians.                                               20            So, you're making comparisons that are not
21            But it's not going to be criticized by the         21   fair.
22   practicing physicians, because they want the information    22       Q.    (BY MR. STANSBURY:) But he is using
23   in the form in which they use it, which is percentage of    23   B-reading classifications, is he not?
24   predicted.                                                  24       A.    No.
25            The same way, practicing physicians, they're       25       Q.    0/1 and 1/0, where do those --

                                                      Page 239                                                        Page 241
 1   not interested in all of that garbage, about all the         1        A.    I use those.
 2   other stuff, the semantics of this. They're interested       2        Q.    Are you a B-reader?
 3   in what happened to those 23 people and what the numbers     3        A.    I used to be. I'm not now.
 4   were.                                                        4        Q.    Okay.
 5            And, so, the paper, of necessity, doesn't           5        A.    I know what they mean. I know what they look
 6   have every single cottonpickin' detail in it, because it     6   like. And so does he. But he doesn't use them either.
 7   gets to be so full of details that nobody will read it.      7             There's only one B-reader in Washington, in
 8   The practicing doc won't read it, if there's the case. I     8   Seattle. There's none in Montana. I don't know about
 9   guarantee you of that.                                       9   Idaho. There's none in Northern Idaho. The reason why,
10       Q.    Do you think this paper is at all relevant to     10   it's not a useful tool.
11   determining whether the people in the Libby community who   11        Q.    When the ATSDR came to town to do the mass
12   only have environmental exposures may have disease?         12   screening that they did, who read the x-rays?
13       A.    No. I didn't say that.                            13        A.    Oh, they had B-readers to read them, yes.
14       Q.    Okay. Making sure we are clear on that.           14        Q.    Three B-readers, correct?
15            Moving on, did you report loss of lung             15        A.    Yes.
16   function, based on diffuse pleural thickening, as opposed   16        Q.    Which is what the Iowa guidelines recommend,
17   to pleural plaque?                                          17   correct?
18       A.    No, we did not. They were all grouped             18        A.    Yeah. But that was basically an
19   together.                                                   19   epidemiologic study. That's not a diagnostic study.
20       Q.    Okay. So, you did not differentiate               20        Q.    Okay. So, this is --
21   radiographic abnormalities?                                 21        A.    It's not a diagnostic study.
22       A.    No, I did not. In that regard. I did relate       22        Q.    Okay. Well, let me back up, then. Let's get
23   the matter of interstitial disease.                         23   it out --
24            And in fact, we did go over all of those           24        A.    It has epidemiological overtones, and there
25   numbers and determine that there really wasn't any          25   are epidemiologic fashions of the progression of things

                                                                                                        61 (Pages 238 to 241)
                                      DR. ALAN WHITEHOUSE - by Mr. Stansbury
                          (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC             Doc 22766-8           Filed 08/13/09       Page 63 of 71

                                                     Page 242                                                          Page 244
 1   with this. But it's also a study to document the             1   period of time to these people. Okay?
 2   severity of losses of lung function. It doesn't require      2        Q.   And this goes back to my previous question.
 3   a B-reader.                                                  3   The Iowa guidelines recommend using three independent
 4       Q.    So, this is not an epidemiologic study?            4   B-readers for epidemiological studies, correct?
 5       A.    Yeah, this is an epidemiologic study.              5        A.   Oh, come on. Okay? Where am I going to get
 6       Q.    You just said it wasn't.                           6   in Spokane, Washington, three independent B-readers?
 7               MR. HEBERLING: Objection. Misstating             7   Okay? Where do I get three B-readers?
 8   the record. Argumentative. That's enough.                    8            I don't want to deal with B-readers
 9               THE WITNESS: I did not say that.                 9   particularly, you know, for epidemiology. This is a
10               MR. STANSBURY: Lower your voice, please.        10   study that is a very simple study at heart. Okay? It
11               MR. HEBERLING: That's enough.                   11   took a lot of time to do it, but it was very simple in
12               MR. STANSBURY: Lower your voice.                12   its concept. It doesn't need B-readers to do it.
13               MR. HEBERLING: Do you hear me?                  13        Q.   But it's a study that does not report lung
14               MR. STANSBURY: Lower your voice.                14   function based on exposure category, correct?
15               MR. HEBERLING: Are you hearing me? Are          15        A.   It doesn't have to.
16   you hearing me?                                             16        Q.   But it doesn't?
17               MR. STANSBURY: I am hearing you. And I          17        A.   No, it doesn't.
18   am asking you to lower your voice.                          18        Q.   It does not report lung function based upon
19               MR. HEBERLING: That is enough. You need         19   the appearance of radiographic abnormality, does it?
20   to understand that.                                         20        A.   Yeah, actually, it did, because we had done
21               MR. STANSBURY: You need to lower your           21   that. We don't report it here, but we had done it.
22   voice.                                                      22        Q.   Well, let's go back to what's in the actual
23               MR. HEBERLING: You've been misstating           23   study. Let's focus on that. This is a published study.
24   the record and arguing with this witness all day long,      24            This published study does not report
25   and that's enough.                                          25   radiographic -- Strike that.

                                                     Page 243                                                          Page 245
 1      Q.      (BY MR. STANSBURY:) Dr. Whitehouse --             1            This published study does not report
 2                MR. HEBERLING: You're telling him he's          2   pulmonary impairment based upon specific radiographic
 3   testified that it was not an epidemiological study. I        3   abnormality, such as pleural plaque or diffuse pleural
 4   challenge you to find that anywhere in the record.           4   thickening, correct?
 5                MR. STANSBURY: I believe he said it's a         5       A.    No. Except in the process of doing this
 6   diagnostic study with epidemiological overtones.             6   thing, Gordon -- and I didn't do this. I just sat there
 7       Q.     Did you use that word, Dr. Whitehouse?            7   and acted as a scribe. He went through and described the
 8       A.     Yeah, I did.                                      8   percentage of the chest wall that was involved with this,
 9                MR. HEBERLING: That's right. But he             9   and then I did the statistics on it to see if it made a
10   didn't say it was not an epidemiological study. Then you    10   difference on the amount that they were losing. And it
11   asked him the question, and he answered that it is.         11   did not.
12                MR. STANSBURY: I will ask you to keep          12            And that would have included plaques at one
13   your objections within the guidelines of the Federal        13   end of it, as I said earlier, versus somebody that had
14   Rules of Civil Procedure.                                   14   diffuse pleural thickening in the entire thoracic space.
15                MR. HEBERLING: You have abused this            15            So it was done. It just wasn't worth
16   proceeding all day long, and this is where we're drawing    16   presenting here.
17   the line, Brian.                                            17       Q.    Dr. Whitehouse, I asked you a yes or no
18       Q.     (BY MR. STANSBURY:) Dr. Whitehouse, there        18   question, okay, and we can talk about your explanation.
19   seems to be some confusion on the record as to what this    19            But the yes or no question, the answer to
20   study is. Let's clarify that right now.                     20   that, does this study report pulmonary impairment based
21             Okay?                                             21   on radiographic abnormalities such as diffuse pleural
22       A.     The study started out to be a study at           22   thickening or pleural plaque?
23   looking at what happened to these people diagnostically     23            The answer to that question is?
24   with their pulmonary function. It is an epidemiologic       24       A.    No.
25   study in the sense that describes what happened over that   25       Q.    Okay. Thank you, sir.

                                                                                                         62 (Pages 242 to 245)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09       Page 64 of 71

                                                      Page 246                                                         Page 248
 1      A.       May we have a break for a minute?                1       A.    Bypasses.
 2      Q.       Sure.                                            2       Q.    Bypasses. So, again, fair to say, then, that
 3                 MR. STANSBURY: We can go off the record.       3   people with previous thoracic surgery may have been in
 4                 THE VIDEOGRAPHER: We are going off the         4   the study after all?
 5   record. The time is approximately 1:23.                      5       A.    Well, not people that have resections or
 6                                     (Short recess).            6   anything like that. But people, there could have been
 7                 THE VIDEOGRAPHER: We are going back on         7   somebody that had something miner done in the distant
 8   the record. The time is approximately 1:31.                  8   pass, or a bypass. Nothing that would have affected the
 9        Q.     (BY MR. STANSBURY:) Dr. Whitehouse, if we        9   things in the middle.
10   could look at your study on page 220, please, and the tag   10            And if somebody had any kind of thoracic
11   at the bottom is 2009_01097. The second column. The         11   procedure in the middle of the study, they weren't used.
12   first full paragraph beginning with "Normal values."        12       Q.    Okay. So, let me unpack this. That is not
13   About seven or eight lines down, that is discussion about   13   obviously what that paragraph reads.
14   30 patients who were excluded.                              14       A.    It doesn't say that, but that's what was
15        A.     Yes.                                            15   done.
16        Q.     I am going to read this outloud, and tell me    16       Q.    Do you think it is important for the paper to
17   if I get this correct, sir. "In total, 30 patients were     17   accurately reflect what was done?
18   removed from the study for the following reasons:           18       A.    Not necessarily -- well, I don't know that --
19   Chronic obstructive pulmonary disease with elevated         19   You know, I guess I could have clarified it, but I
20   residual volumes (14)," I think that's a comma, "previous   20   didn't. So . . .
21   thoracic surgery (1), unacceptable pulmonary function       21       Q.    Is that something you would ever notify the
22   tests because of patient unreliability and inability to     22   Journal about?
23   meet ATS acceptability criteria (9), and/or the presence    23       A.    No, I'm not going to notify the Journal about
24   of a significant non-asbestos related condition such as     24   it. This thing was published a long time ago, and the
25   sarcoidosis or congestive heart failure (9)."               25   data is accurate.

                                                      Page 247                                                         Page 249
 1             Dr. Whitehouse, would it be fair to say that       1       Q.     Okay.
 2   this is a portion of your selection criteria for your        2       A.    I'm not going to notify the Journal about
 3   study?                                                       3   something unless -- The end results of this were very
 4       A.     I don't understand what you mean, a portion.      4   accurate.
 5       Q.     Well, you have criteria for who is and is not     5       Q.     But this portion of the selection criteria as
 6   in the study, correct?                                       6   stated does not reflect what was done, correct?
 7       A.     Well, basically, everybody was in the study       7       A.    Well, it does, basically. It probably should
 8   until I excluded them.                                       8   have said previous interim thoracic surgery, is what it
 9       Q.     Everybody who had two or more PFT's, correct?     9   really should have said.
10       A.     And then I excluded the ones which shouldn't     10       Q.     Okay. I'm handing you Exhibit 66. It is for
11   be in there.                                                11   LP098. It is dated 2-4 -- Excuse me. It is dated
12       Q.     I am referring to the selection criteria as,     12   February 14th, 2001. This was among the records produced
13   you know, the method by which you determined who is and     13   in March of 2006.
14   is not in the study.                                        14            Under "Exam," I guess the second paragraph,
15       A.     All right.                                       15   could you read -- Well, I will read it. "His chest x-ray
16       Q.     If I understand that correctly, people with      16   shows only the changes of a lobectomy and some
17   two or more PFT's, and excluding people with other          17   irregularity of the diaphragm related to some fluid but
18   conditions which may affect pulmonary function, is that a   18   there is no pneumothorax and the fluid around the apex is
19   fair statement?                                             19   also involved."
20       A.     Yeah. There's one other thing that I             20            Did I read that correctly, sir?
21   probably should have clarified, when I said previous        21       A.    Yes. I was also referring to the post-
22   thoracic surgery, because we did not throw out the people   22   operative care, is what I was referring to.
23   with cabbages.                                              23       Q.     What is a lobectomy?
24       Q.     Could you explain what that term means,          24       A.    Removal of a lobe.
25   cabbages?                                                   25       Q.     So this individual had a portion of a lobe of

                                                                                                         63 (Pages 246 to 249)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                  Case 01-01139-AMC            Doc 22766-8          Filed 08/13/09       Page 65 of 71

                                                    Page 250                                                         Page 252
 1   his lung removed?                                          1   the numbering lines up. This is a CD, 123 patients for
 2       A.     Yeah. But this was not in -- this was either    2   Whitehouse 2004.
 3   after -- this was probably after the second pulmonary      3                MR. HEBERLING: We don't use your
 4   function that I use, and before anything was done with     4   numbering system. We use names or initials. So, if
 5   the lobe.                                                  5   you've got the name, then we can find the person.
 6             Who is this? I don't know who this is.           6                MR. STANSBURY: So, you don't use
 7       Q.     You tell me, Dr. Whitehouse. It was             7   numbering, do you?
 8   redacted. It is LP098.                                     8                MR. HEBERLING: No. We've seen several
 9                 MR. HEBERLING: Objection, argumentative.     9   numbering systems.
10       Q.     (BY MR. STANSBURY:) I don't know who it is.    10            And for the record, also, we don't have
11   It was redacted.                                          11   everything that was given in the criminal case. We don't
12       A.     I don't even know whether it was somebody in   12   even know what discovery was in the criminal case.
13   the study.                                                13            So, these numbering systems may or may not
14       Q.     Well, the only reason I know is because it     14   relate to anything that we know about.
15   was produced by the government from CARD in March of      15       Q.    (BY MR. STANSBURY:) I'm going to call out
16   2006, represented as the patients who underlie your       16   some names. And if you would, let me know if any of
17   study.                                                    17   these people have ever had a lobectomy.
18       A.     You'll have to do something better than that   18       A.    How am I supposed to know this?
19   in follow-up, in identification of this, because I have   19       Q.    These are your patients.
20   no idea. I know darn well that I didn't have anybody in   20       A.    36 of them are dead. And they are long dead.
21   the interim that had surgery on this study.               21   And this study was done eight years ago.
22       Q.     Well, Dr. Whitehouse, you may be in a better   22       Q.    Miles Rightmire.
23   position than I am to do that follow-up, seeing as how    23       A.    I don't know.
24   these are your patients.                                  24       Q.    All right.
25             Would you be willing to do so, so that we can   25       A.    I don't think so.

                                                    Page 251                                                         Page 253
 1   come back and discuss this?                                1                           (Pause in the proceedings).
 2       A.    Well, actually, I am not willing to do it,       2        Q.   Well, we'll revisit that issue on him. But
 3   because I've got a lot of other things to do. You know.    3   you don't know whether this person was in your study.
 4   I'm getting older. I've got a trial to go through.         4   But if somebody had had a lobectomy, should they have
 5   Another trial with a bankruptcy.                           5   been removed from your study?
 6             And I don't want to spend time rooting           6                MR. HEBERLING: Objection, unclear as to
 7   through records, trying to find out who this is.           7   the meaning of "this person."
 8       Q.     What is the other trial than the bankruptcy     8        Q.   (BY MR. STANSBURY:) If a person had a
 9   that you are going to go through?                          9   lobectomy, should they have --
10                MR. HEBERLING: We delivered to you in        10        A.   Not if it was done after the study was
11   December the medical records on the 121 of the 123        11   concluded, I wouldn't have, no. Why would I have?
12   patients. You have them.                                  12        Q.   All right.
13                MR. STANSBURY: They're right here,           13        A.   It wouldn't have been germane to it.
14   aren't they (indicating)?                                 14        Q.   What about asthma? Did any of these people
15                MR. HEBERLING: You don't have to use         15   have a diagnosis of asthma?
16   redacted ones.                                            16        A.   They don't have clinical asthma. They at one
17                MR. STANSBURY: No, no, no. They're in        17   time or another may have had a suspicion of asthma. Some
18   this binder, aren't they?                                 18   of them had some bronchospasm. But insofar as actually
19                MR. HEBERLING: I think so. Most of them      19   having clinical asthma, no.
20   are in there.                                             20        Q.   All right.
21                MR. STANSBURY: Let's pop this up and         21        A.   Because that's something I did eliminate them
22   we'll test this out.                                      22   from. At the time I did the study, that was either
23                MR. HEBERLING: But how do you know who       23   totally controlled, if they had it in the past, or it was
24   to look for?                                              24   bronchospasm that occasionally -- not occasionally -- it
25                MR. STANSBURY: Well, I'm going to see if     25   is frequently associated with this disease.

                                                                                                       64 (Pages 250 to 253)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC            Doc 22766-8           Filed 08/13/09       Page 66 of 71

                                                      Page 254                                                         Page 256
 1       Q.    Again, we will have to revisit it to see           1       A.    Yep.
 2   whether it is the actual person, but LP029, I am reading     2       Q.    Let's look at table 12 on the bottom right.
 3   from a medical record, this is Exhibit Number 69, and it     3   "Reported significant changes in forced vital capacity
 4   says as follows -- Well, actually why don't you read,        4   (FVC), forced expiratory volume in one second (FEV1),
 5   where it says, under 4-24-89.                                5   mid-expiratory flow (MEF 25 to 75 percent) and carbon
 6                          (Pause in the proceedings).           6   monoxide diffusing capacity (DLCO) over time."
 7       A.    Oh. This is the one that had a positive            7            Did I read that correctly, sir?
 8   methacholine challenge very distantly in the past.           8       A.    Uh-huh.
 9       Q.    Uh-huh.                                            9       Q.    Yes, sir?
10       A.    And then probably was, by the time it was         10       A.    Yeah.
11   actually in the study, had it totally controlled.           11       Q.    And if you look at year-to-year on that
12       Q.    So, I am going to read this. Let me know if       12   table, and, again, this is reporting significant changes,
13   I have read this correctly. "The methacholine results       13   greater than 15 percent for FVC, is that correct?
14   were returned and it is apparent that the patient does      14       A.    Reported significant changes, year-to-year.
15   indeed have severe asthma, which is manifested as a         15   Whose numbers are those, under what circumstances?
16   refractory restrictive defect."                             16       Q.    Well, this would be the ATS and the ERS's
17            Did I read that correctly?                         17   numbers.
18       A.    Uh-huh.                                           18       A.    What do they mean?
19       Q.    Yes, sir?                                         19       Q.    Well, I believe that would be 15 percent loss
20       A.    Yeah.                                             20   of lung function.
21       Q.    Okay. Was this person in your study?              21       A.    Not necessarily. You lose 30 cc's a year.
22       A.    I don't know. I think probably actually it        22   Are those absolute numbers or percentage of predicted?
23   may have been, but I think it was many, many years later,   23       Q.    Well, let's see here. Hopefully they have
24   after the asthma was no longer a factor.                    24   explained that.
25       Q.    Okay. Let's deal with some more unredacted        25       A.    It doesn't look like.

                                                      Page 255                                                         Page 257
 1   records. How's that sound?                                   1                          (Pause in the proceedings).
 2       A.    Whatever you want to do.                           2        Q.    Have you reviewed this document before, sir?
 3       Q.     Okay. Well, first, ultimately you find a          3        A.    Oh, I have seen it. I don't know that I
 4   loss of lung function of 3 percent annually in DLCO          4   have read it very carefully before.
 5   across the cohort, correct?                                  5        Q.    You are not aware of whether that is
 6       A.    Uh-huh.                                            6   referring to absolute numbers, 4 percent?
 7       Q.     Yes, sir?                                         7        A.    I haven't really paid that much attention to
 8       A.    Yes.                                               8   it. And it's way out of line with what I know is the
 9       Q.     Okay. And what was the measurement for FVC?       9   case.
10       A.    2.2.                                              10        Q.    You know, you've mentioned earlier that
11       Q.     Okay. And what was the measurement for TLC?      11   people have had to have two or more PFT's to be in this
12       A.    2.3.                                              12   study, correct?
13       Q.     Okay. I'm handing you what's been marked as      13        A.    Yes.
14   Exhibit 70. Here you go. And it is the "2005 ATS/ERS        14        Q.    And you used the first and last PFT, correct?
15   Task Force: Standardisation of Lung Function Testing.       15        A.    Randomly used the first and last study that I
16   Interpretive Strategies for Lung Function Tests."           16   had available.
17             Are you familiar with this document, sir?         17        Q.    So, you used two data points per person,
18       A.    Yes, sir, I am.                                   18   correct?
19       Q.     And again this is an ATS statement, correct,     19        A.    Right.
20   along with the European Respiratory Society?                20        Q.    Okay. Let's look at, right above that table,
21       A.    Yes.                                              21   the text that begins, "It is more." I will read this.
22       Q.     If you would look, and let's look at the 2009    22   "It is more likely that a real change has occurred when
23   numbers at the bottom right, 2009_08404.                    23   more than two measurements are performed over time. As
24                          (Pause in the proceedings).          24   shown in table 12, significant changes, whether
25       Q.     Are you there, sir?                              25   statistical or biological, vary by parameter, time period

                                                                                                         65 (Pages 254 to 257)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09      Page 67 of 71

                                                      Page 258                                                         Page 260
 1   and the type of patient. When there are only two tests       1   give you a more accurate picture of what this person's
 2   available to evaluate change, the large variability          2   lung function is over time, correct?
 3   necessities relatively large changes to be confident that    3       A.    I'm not doing this on an individual. This is
 4   a significant change has occurred over -- has in fact        4   group. And you are wrong, flat wrong in your discussion
 5   occurred."                                                   5   of it. And you don't understand the fact that when
 6             Do you see that, sir?                              6   you've got a large group, like 123, you eliminate those
 7       A.     Now, you are talking about a single               7   various errors.
 8   individual patient. When you have 123 patients, you have     8       Q.    So, you think that it is not the right
 9   such a large number of people in there that you've           9   approach, when you're dealing with a large group, to use
10   eliminated a great deal of the variability. The             10   as many data points as possible for each person?
11   statisticians will tell you that.                           11       A.    This is a satisfactory approach to it, and it
12       Q.     They recommend using more than two data          12   was checked by -- it was thought to be by the Journal, by
13   points, don't they?                                         13   the peer reviewers of the Journal, and the peer reviewers
14       A.     No. They are talking about for a single          14   that I had peer review it here.
15   person. They are not talking about a group of people.       15       Q.    Putting aside the time constraints,
16   They are talking about a single person.                     16   recognizing that, would it have produced a more robust
17       Q.     I don't believe it says that.                    17   data set to use all available data points?
18       A.     Well, I know they do, because that is exactly    18       A.    No, it probably wouldn't. It probably
19   what I do when I am looking at a single person. I see       19   wouldn't have been any better than to do it this way. I
20   one study, and then I see another one, and if it's          20   doubt it.
21   changed a lot, I don't really make a big thing out of it    21       Q.    Do you have any literature, are you aware of
22   until I see it changed a lot the next time.                 22   any study in which they specifically stated it is better
23       Q.     Let's go down --                                 23   to use first and last, rather than all data points?
24       A.     But on a study like this, some of these          24       A.    I don't. But I'm sure I'll find one.
25   people had eight or 10, but it's arbitrarily the first      25       Q.    Okay. Let's move down on this same document.

                                                      Page 259                                                         Page 261
 1   one, and the last one, and that's a very highly thought      1   We're on page 2009_08405.
 2   of statistical way to deal with something like that,         2       A.    Okay.
 3   because it is a random selection in a large number of        3       Q.    I guess it's this paragraph that begins with
 4   people.                                                      4   "Test variability." Do you see that, sir?
 5             And that's why I did it that way. And it was       5       A.    Uh-huh.
 6   checked out with some of the people that were my peer        6       Q.    Continuing in that paragraph, last
 7   reviewers.                                                   7   sentence, "However, establishing an accelerated rate of
 8       Q.     But if you had more data points, clearly that     8   loss in an individual is very difficult, and requires
 9   could be better, correct?                                    9   many measurements over several years with meticulous
10       A.     No.                                              10   quality control of the measurements."
11       Q.     No?                                              11            Did I read that correctly?
12       A.     No. Not when you are doing first and last.       12       A.    Yes. Except this was not an individual.
13   No. Which one do you take? Do you take the one that         13   This was 123 individuals.
14   shows what you want it to show?                             14       Q.    I understand. But do you recognize it is
15       Q.     Why not use all the data points?                 15   better just to have more data points when doing this?
16       A.     Oh, come on. You are talking about a huge        16       A.    No. I already explained that to you, and I
17   study, if you do all of the data points. Do you know        17   already answered that.
18   what the statistics are like in that sort of thing?         18       Q.    Let's move on, in the same document, "DLCO
19       Q.     It's a lot of work.                              19   Interpretation." And this speaks to what we were
20       A.     Yeah. You're right. I was trying to              20   discussing earlier. I want to make sure we are on the
21   practice medicine.                                          21   same page. Second column. First full paragraph,
22       Q.     I understand.                                    22   beginning with "Interpreting."
23       A.     Okay.                                            23       A.    Yes.
24       Q.     However, you would agree, though, if you have    24       Q.    "Interpreting the DLCO, in conjunction with
25   the time, using five, six, all available data points will   25   spirometry and lung volumes assessment, may assist in

                                                                                                         66 (Pages 258 to 261)
                                     DR. ALAN WHITEHOUSE - by Mr. Stansbury
                         (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09       Page 68 of 71

                                                      Page 262                                                         Page 264
 1   diagnosing the underlying disease. For instance, normal      1   boxes? Are they using nitrogen? What are they using for
 2   spirometry and lung volumes associated with decreased        2   the studies? None of that is mentioned in here.
 3   DLCO may suggest anaemia, pulmonary vascular disorders,      3       Q.    My question was, is the ATS/ERS statement a
 4   early ILD or early emphysema."                               4   smoke screen?
 5              Did I read that correctly, sir?                   5       A.   I didn't say it was a smoke screen. This is
 6        A.    Yes.                                              6   European, by the way.
 7        Q.     So, that would suggest that when somebody has    7       Q.    ATS/ERS, correct?
 8   abnormal DLCO but normal lung volumes and spirometry, it     8       A.   Yes. ATS/ERS.
 9   would suggest anaemia, pulmonary vascular disease, early     9       Q.    That's the American Thoracic Society?
10   ILD, or early emphysema.                                    10       A.   Done with the European Respiratory Society.
11              Did I read that correctly?                       11       Q.    Oh, it is a joint ATS/ERS statement, correct?
12        A.    You read it correctly. And you know what,        12       A.   Yeah. I assume so.
13   it's just off of the wall as far as all the things that     13       Q.    Okay. That's not a smoke screen. That's an
14   can cause abnormal DLCO's I could add 30 things to that.    14   authoritative document, correct?
15        Q.     Oh, I agree with you on that, sir.              15       A.   You know, I haven't read there enough to even
16        A.    You know, it's not something that has any        16   say very much about it. I know I'm on very solid ground
17   bearing on what we're doing here, okay?                     17   concerning pulmonary function testing. I know I'm on
18        Q.     I think it does, though.                        18   solid ground about it.
19        A.    No, it doesn't. Because we have enough           19       Q.    Could we move back to 2009_08400, because I
20   documentary evidence over a long period of time of people   20   think we're going to clarify an earlier point now.
21   with isolated DLCO decreases with reasonable spirometry     21       A.   08400?
22   over very, very long periods of time now, for eight         22       Q.    Yes, sir.
23   years, that we really are very well aware of the fact       23                         (Pause in the proceedings).
24   that a decreased diffusion capacity and isolation is a      24       A.   All right.
25   manifestation of asbestos pleural disease. And it's in      25       Q.    The table in the bottom left corner, and it

                                                      Page 263                                                         Page 265
 1   the literature and it's been written up that way in the      1   says, "percent predicted," "percent predicted," do you
 2   literature. So, all you're doing is producing a smoke        2   see that, sir?
 3   screen here.                                                 3       A.     Yes.
 4        Q.    Well, this is actually not a smoke screen,        4       Q.     And then if you go back to 2009_08404 --
 5   but rather an ATS --                                         5       A.     What are you referring to here? Severity
 6                MR. HEBERLING: Objection. Argumenta-            6   classification?
 7   tive.                                                        7       Q.     Well, I am answering your question about what
 8        Q.    (BY MR. STANSBURY:) Dr. Whitehouse, is this       8   the measurements were earlier. I think the answer is
 9   not --                                                       9   that it is percent predicted. Because as we see the
10                MR. HEBERLING: Just ask him the                10   variables that they are using here are percent predicted.
11   question.                                                   11   And if you look --
12        Q.    (BY MR. STANSBURY:) Is this not an ATS/ERS       12       A.     No. They are using percent FEV1 over -- Oh.
13   statement on lung function testing?                         13   I guest it is FEV1, percent predicted.
14        A.    You know, you could probably quote and find      14       Q.     That's my point. If you go back to table 12,
15   anything you want to out of these studies.                  15   it mentions in the text, the variables are the same as in
16             I really am an expert in pulmonary function       16   tables 6 and 8.
17   testing. Starting in 1965 when I was in the Air Force       17       A.     You know, those numbers don't even make
18   and set up my own diffusion laboratory. I really            18   sense. That doesn't happen in our lab in Libby. And I
19   understand this stuff. And I understand how to do it        19   don't think it's ever happened in any lab I've ever been
20   right. And I understand -- I understand what it means       20   involved with.
21   under these circumstances.                                  21       Q.     I just wanted to clarify that table 12 does
22             You can find whatever you want to, quotes in      22   in fact refer to percent predicted, and in order for it
23   here.                                                       23   to be considered significant for an FVC, according to the
24             You haven't told me what kind of spirometers      24   ATS/ERS statement, it must be greater than 15 percent per
25   they are using. Are they using computerized stuff, body     25   year, and for DLCO, greater than 10 percent, that's my

                                                                                                         67 (Pages 262 to 265)
                                      DR. ALAN WHITEHOUSE - by Mr. Stansbury
                          (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                   Case 01-01139-AMC             Doc 22766-8          Filed 08/13/09      Page 69 of 71

                                                      Page 266                                                        Page 268
 1   point. Is that correct, sir?                                 1   disease causes DLCO, that you did not take into account
 2        A.    It still do not know. It doesn't say.             2   the statements in this ATS statement, this ATS/ERS
 3        Q.     That is what the document says, but you don't    3   statement regarding lung function?
 4   agree with it, correct?                                      4       A.    No. Do you want me to take into account
 5        A.    No. It doesn't say. Because I don't know          5   every statement that you've come up relative to this?
 6   what you're talking -- I don't know what the percentage      6             This is something that I'm not intimately
 7   is. Percentage of what? Absolute number of the FEV1?         7   familiar with. So, you can read a statement out of that
 8   FEV1 percentage? FEV1, FVC predicted? Or FEV1 -- FVC         8   and I'm supposed to agree or disagree with it, when I've
 9   over FEV1 percentage? It is not real clear.                  9   got another statement that may be contrary with that.
10        Q.     But going back to the page we were just on,     10   And that's basically what you're doing here.
11   we were looking at the DLCO issue.                          11       Q.     Well, let's continue with the rest of this
12        A.    The other thing is, they were talking about      12   paragraph.
13   six units, and the Europeans do some things differently     13       A.    And, you know, I'm tired, and I don't feel
14   with DLCO than we do in this country, and I don't know      14   very well, and I'm going to end this deposition now.
15   what six units are. It should be identified if it's         15   Okay.
16   milliliters per minute per millimeter of mercury, which     16       Q.     Dr. Whitehouse, we have not gotten through
17   it is not identified as such. None of it's identified.      17   all of the material. I still have more time.
18        Q.     So, as you stated earlier, you didn't           18       A.    I don't care whether you have or not. You
19   necessarily agree with the statement on 2009_08405          19   are going to have another chance, another crack at me.
20   regarding what low DLCO in connection with normal FVC and   20   I'm done. Okay?
21   lung volumes mean, correct? You did not agree with that     21       Q.     Dr. Whitehouse --
22   statement?                                                  22                MR. HEBERLING: I'm sorry, Brian --
23        A.    Oh, I don't disagree with it. It's just that     23       Q.     (BY MR. STANSBURY:) -- let's take a break.
24   it's pretty small. I mean, it's such a narrow amount of     24   Are you walking out of this deposition?
25   diseases, because there are so many diseases that cause     25       A.    I'm walking out.

                                                      Page 267                                                        Page 269
 1   this --                                                      1                MR. HEBERLING: He's already gone beyond
 2       Q.     Well, ILD, that means --                          2   probably what he should have. Now, he's not been well.
 3       A.    -- that have pulmonary function otherwise.         3                MR. STANSBURY: This is not what we
 4       Q.     Well, ILD is interstitial lung disease,           4   agreed to.
 5   right?                                                       5                MR. HEBERLING: You can't agree on what
 6       A.    That's correct.                                    6   his condition's going to be at the time of deposition.
 7       Q.     And there are numerous types of interstitial      7                MR. STANSBURY: We will depose you again.
 8   lung disease, correct?                                       8                MR. HEBERLING: Oh, yes. You may do
 9       A.    150 or so, that's right.                           9   that.
10       Q.     Although that's just a sentence, that's well     10                THE WITNESS: You'll get your other crack
11   over a hundred potential conditions in which you could      11   at me. But we're done for today. That's all there is
12   see normal FVC, normal TLC, and a decrement in DLCO. But    12   to it.
13   you do not see pleural abnormalities listed here,           13                MR. HEBERLING: When you're 71 years old,
14   correct?                                                    14   maybe you will understand this. I mean, you've been at
15       A.    No, they do not, but they are in many other       15   him since 8:30 this morning.
16   articles. You're just sort of cherry picking things that    16                THE VIDEOGRAPHER: Are we going --
17   you can use to give me problems with this.                  17                MR. STANSBURY: Stay on the record.
18       Q.     Okay.                                            18                MR. SCHIAVONI: John, I don't need to go
19       A.    Suggest anaemia, requires very severe             19   on. I will just reserve my rights. Is that acceptable?
20   anaemia. I would disagree with the DLCO being decreased     20                MR. HEBERLING: Certainly you may reserve
21   in early emphysema. In early emphysema, the FEV1/FVC        21   your rights. You'll get another chance. But, you know,
22   ratio is decreased long before the DLCO goes down.          22   I'll bet we've gone farther than we should have gone
23       Q.     So, is it fair to say that in formulating the    23   already.
24   opinions that you will offer at the confirmation hearing,   24                MR. STANSBURY: And what is the time,
25   particularly with respect to DLCO and whether pleural       25   sir?

                                                                                                        68 (Pages 266 to 269)
                                      DR. ALAN WHITEHOUSE - by Mr. Stansbury
                          (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                     Case 01-01139-AMC             Doc 22766-8        Filed 08/13/09       Page 70 of 71

                                                      Page 270                                                          Page 272
 1                 THE VIDEOGRAPHER: The time is --              1    STATE OF WASHINGTON        )
 2                 MR. HEBERLING: Two o'clock.                                       ) ss.
 3                 MR. STANSBURY: No, no, the time of the    2        County of Spokane    )
                                                             3
 4   deposition.                                             4                  I, William J. Bridges, do hereby certify that
 5                THE VIDEOGRAPHER: Oh. The total time. 5             at the time and place heretofore mentioned in the caption
 6                THE WITNESS: Six hours.                    6        of the foregoing matter, I was a Certified Shorthand
 7                MR. STANSBURY: No, it is not.              7        Reporter and Notary Public for Washington; that at said
 8                THE WITNESS: Well, five hours. Excuse      8        time and place I reported in stenotype all testimony
 9   me. We had a half an hour for lunch.                    9        adduced and proceedings had in the foregoing matter; that
                                                            10        thereafter my notes were reduced to typewriting and that
10                           (Pause in the proceedings).
                                                            11        the foregoing transcript consisting of 271 typewritten
11                THE VIDEOGRAPHER: It is four hours 24     12        pages is a true and correct transcript of all such
12   minutes.                                               13        testimony adduced and proceedings had and of the whole
13                MR. HEBERLING: Okay. Brian, off the       14        thereof.
14   record. Do you really need a copy of that? You've got 15                  I further certify that I am herewith securely
15   one. I mean, there's nothing, I will represent to you, 16        sealing the said original deposition transcript and
                                                            17        promptly delivering the same to Attorney Brian T.
16   that that is the thing that -- the same thing that we
                                                            18        Stansbury.
17   delivered to everybody in December.                    19                 Witness my hand at Spokane, Washington, on
18                MR. STANSBURY: You didn't deliver it to 20          this ______ day of March, 2009.
19   Tanc. We will copy it. Tanc will get a copy. And then 21
20   we will send the original back to you.                 22
21               MR. SCHIAVONI: Is that all right?                                    _____________________________
22               MR. HEBERLING: Sure. I mean, he's got           23                   William J. Bridges
                                                                                      CSR NO. 2421
23   several others. I've got others.                            24                   Certified Shorthand Reporter
24            Doctor, this is formal proceeding, and that's                           Notary Public for Washington
25   the way it's going to be.                                   25                   My commission expires: 11-1-11

                                                      Page 271                                                          Page 273
 1                 THE WITNESS: All right. Bye.                  1              CERTIFICATE OF WITNESS
 2                 MR. HEBERLING: Okay. We'll get it back        2
 3   to you.                                                     3    STATE OF WASHINGTON )
 4                MR. SCHIAVONI: Thank you, Doctor.                                )
                                                                  4   COUNTY OF SPOKANE  )
 5                MR. STANSBURY: Do we have the time clear
                                                                  5
 6   on the record?                                               6           I, ALAN WHITEHOUSE, declare under penalty of
 7                THE VIDEOGRAPHER: Yes.                          7   perjury under the laws of the State of Washington, that I
 8                MR. STANSBURY: Okay. We are off the             8   am the witness named in the foregoing deposition and that
 9   record.                                                      9   I have read the questions and answers thereon as
10                THE VIDEOGRAPHER: This ends the                10   contained in the foregoing deposition, consisting of
11   deposition of Dr. Alan C. Whitehouse. The date is March     11   pages 12 through 271; that the answers are true and
12   19, 2009. The time is approximately 1:59. There is a        12   correct as given by me at the time of taking the
                                                                 13   deposition, except as indicated on the correction sheet.
13   total of three tapes. The case is in regarding W.R.
                                                                 14
14   Grace & Company, et al. The tapes will reside with Greg     15
15   Glover, videographer at Bridges Reporting and Legal         16                     ______________________________
16   Video.                                                                             ALAN WHITEHOUSE
17             Thank you. We are off the record.                 17
18                                                               18
19                                   (2:00 p.m.)                 19          Executed on the _________ day of ___________,
20                                                               20   2009, at _________________, __________________.
                                                                              (City)         (State)
21             *        *       *
                                                                 21
22
                                                                 22
23                                                               23
24                                                               24   In Re: W.R. GRACE & CO., et al
25                                                               25   3/19/09 - WJB

                                                                                                          69 (Pages 270 to 273)
                                        DR. ALAN WHITEHOUSE - by Mr. Stansbury
                            (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
                Case 01-01139-AMC       Doc 22766-8         Filed 08/13/09   Page 71 of 71

                                            Page 274                                                    Page 276
 1   Page: _______, Line: _______;                      1   Page: _______, Line: _______;
 2                                                      2
 3   Page: _______, Line: _______;                      3   Page: _______, Line: _______;
 4                                                      4
 5   Page: _______, Line: _______;                      5   Page: _______, Line: _______;
 6                                                      6
 7   Page: _______, Line: _______;                      7   Page: _______, Line: _______;
 8                                                      8
 9   Page: _______, Line: _______;                      9   Page: _______, Line: _______;
10                                                     10
11   Page: _______, Line: _______;                     11   Page: _______, Line: _______;
12                                                     12
13   Page: _______, Line: _______;                     13   Page: _______, Line: _______;
14                                                     14
15   Page: _______, Line: _______;                     15   Page: _______, Line: _______;
16                                                     16
17   Page: _______, Line: _______;                     17   Page: _______, Line: _______;
18                                                     18
19   Page: _______, Line: _______;                     19   Page: _______, Line: _______;
20                                                     20
21   Page: _______, Line: _______;                     21   Page: _______, Line: _______;
22                                                     22
23   Page: _______, Line: _______;                     23   Page: _______, Line: _______;
24                                                     24
25   Page: _______, Line: _______;                     25   Page: _______, Line: _______;

                                            Page 275                                                    Page 277
 1   Page: _______, Line: _______;                      1   Page: _______, Line: _______;
 2                                                      2
 3   Page: _______, Line: _______;                      3   Page: _______, Line: _______;
 4                                                      4
 5   Page: _______, Line: _______;                      5   Page: _______, Line: _______;
 6                                                      6
 7   Page: _______, Line: _______;                      7   Page: _______, Line: _______;
 8                                                      8
 9   Page: _______, Line: _______;                      9   Page: _______, Line: _______;
10                                                     10
                                                       11   Page: _______, Line: _______;
11   Page: _______, Line: _______;
                                                       12
12
                                                       13   Page: _______, Line: _______;
13   Page: _______, Line: _______;
                                                       14
14
                                                       15   Page: _______, Line: _______;
15   Page: _______, Line: _______;                     16
16                                                     17   Page: _______, Line: _______;
17   Page: _______, Line: _______;                     18
18                                                     19   Page: _______, Line: _______;
19   Page: _______, Line: _______;                     20
20                                                     21   Page: _______, Line: _______;
21   Page: _______, Line: _______;                     22
22                                                     23
23   Page: _______, Line: _______;                     24
24                                                                           __________________________
25   Page: _______, Line: _______;                     25                    ALAN WHITEHOUSE

                                                                                            70 (Pages 274 to 277)
                      (509)456-0586 BRIDGES REPORTING & LEGAL VIDEO (800)358-2345
